                                      EXHIBIT C

                             Declaration of David Greenblatt




DOCS_DE:240640.3 75015/003
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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :          Chapter 11
                                                               :
ROCHESTER DRUG                                                 :          Case No. 20-20230 (PRW)
CO-OPERATIVE, INC.                                             :
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x


      DECLARATION OF DAVID GREENBLATT IN SUPPORT OF LIQUIDATING
       TRUSTEE’S OBJECTION TO CLAIM 282 ASSERTED BY SHAREHOLDER
                         KLEIN PHARMACY, INC.


        I, David Greenblatt, declare under penalty of perjury as follows, pursuant to the

provisions of 28 U.S.C. § 1746:

                 1.          I am a director of B.Riley Advisory Services (“B.Riley”), financial advisor

to the Advisory Trust Group, LLC (the “Liquidating Trustee”), trustee of the RDC Liquidating

Trust. I submit this declaration in support of the Liquidating Trustee’s Objection to Claim 282

Asserted by Shareholder Klein Pharmacy, Inc. (the “Objection”).

                 2.          On February 26, 2021, the Bankruptcy Court entered an order (the

“Confirmation Order”) confirming the Second Amended Chapter 11 Plan of Liquidation (the

“Plan of Liquidation”) of Rochester Drug Co-operative, Inc. (the “Debtor”) or “RDC”). Pursuant

to the Confirmation Order, the Plan of Liquidation and that certain Liquidating Trust Agreement

and Declaration of Trust (the “Trust Agreement”), RDC’s Assets were transferred to the RDC

Liquidating Trust which was empowered, among other things, to: (i) collect and administer the

Debtor’s Assets (including Causes of Action) and (ii) resolve Claims against the Debtor and its

estate. The Effective Date of the Plan of Liquidation occurred on March 19, 2021. As of the



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Effective Date, Advisory Trust Group, LLC was appointed to act as trustee of the RDC

Liquidating Trust. Shortly thereafter, the Liquidating Trustee retained B.Riley to act as its

financial advisor.

                 3.          As part of my current position in assisting with the Liquidating Trustee’s

responsibilities under the Plan of Liquidation, I am responsible for certain claims management

and reconciliation matters. I have read the Objection and am directly, or by and through the

Liquidating Trustee’s advisors and, in some cases, the Debtor’s former personnel who are

available to support the Liquidating Trustee (the “Transition Personnel”), familiar with the

information contained therein and the exhibits attached thereto.

                 4.          I am authorized to submit this declaration (the “Declaration”) in support of

the Objection. All matters set forth in this Declaration are based on: (a) my personal knowledge;

(b) my review of relevant documents; (c) information supplied to me by the Debtor and its

professionals, the Liquidating Trustee and its professionals, and/or the Transition Personal; or

(d) as to matters involving United States bankruptcy law or rules or other applicable laws, my

reliance upon the advice of counsel or other advisors to the Liquidating Trustee. If called upon

to testify, I could and would testify competently to the facts set forth herein.

                 5.          Prior to its liquidation under chapter 11 of the United States Bankruptcy

Code (the “Bankruptcy Code”), RDC was a New York cooperative corporation owned by

approximately 307 stockholding pharmacists and pharmacies (the “Shareholder Pharmacies”).

                 6.          RDC sold pharmaceutical products to many (if not all) of its Shareholder

Pharmacies and, as of the Petition Date, many Shareholder Pharmacies had accounts receivable

owing to RDC (collectively, the “Shareholder Receivables”) which were in default.




                                                      2
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                 7.          For many years, RDC distributed profits to the Shareholder Pharmacies, if

available and at the discretion of the Board of Directors, in the form of a patronage dividend

(“Patronage Dividends”).

                 8.          Each Shareholder Pharmacy was required to make minimum yearly

purchases from RDC to remain in good standing, and Patronage Dividends were distributed

based on each shareholder’s total sales volume.

                 9.          RDC’s board of directors last declared a Patronage Dividend

(approximately $22.1 million) for the fiscal year ending March 31, 2017, which was paid in June

of 2017 (the “2017 Patronage Dividend”).

                 10.         Shareholder Pharmacies filed thirty-two proofs of claim against RDC (the

“Shareholder Claimants”) pursuant to which they assert claims for (a) undeclared patronage

dividends (the “Dividend Claims”), (b) the value of their stock (the “Stock Claims”), and/or

(c) breach of fiduciary duty or other corporate malfeasance (the “Bad Faith Claims”).              (The

Dividend Claims, the Stock Claims and the Bad Faith Claims are collectively, the “Shareholder

Claims”).1

                 11.         On or about July 30, 2020, Klein Pharmacy, Inc. (“Claimant”) filed a

proof of claim (docketed as claim 282) in the amount of $95,106.13 (the “Claim”). A copy of

the Claim is attached as Exhibit A to the Objection.

                 12.         Claimant is a shareholder in the Debtor. According to the Debtor’s books

and records, Claimant owns two shares of common stock in RDC (the “RDC Stock”),2 one of

which it acquired on or about November 19, 2010 for $26,500 pursuant to that certain



1
  Approximately 18 of the Shareholder Claims include a combination of Stock Claims, Dividend Claims and/or Bad
Faith Claims; 9 assert only Stock Claims; 2 assert only Dividend Claims; 3 are amended or duplicate claims.
2
  Ownership is according to the Debtor’s List of Equity Security Holders [Doc. No. 105-1].

                                                      3
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Subscription Agreement Under Confidential Summary Offering Statement Dated September 21,

2010 (the “Subscription Agreement”).3

                 13.         A true and correct copy of the Subscription Agreement is attached hereto

as Exhibit 1.

                 14.         A true and correct copy of the A copy of the Confidential Summary

Offering Statement Dated September 21, 2010 (the “Offering Statement”) is attached hereto as

Exhibit 2.

                 15.         Claimant has represented that it has (or had) an interest in two retail

pharmacies that did business with the Debtor: (i) one located at 123 Fifth Avenue, Pelham, NY

(operated under the name of Klein Pharmacy) and (ii) one located at 7035 Parsons Blvd,

Flushing NY operated under the name of Jewel Pharmacy RX) that purchased inventory (the

“Goods”) from the Debtor pre-petition (the “Pharmacies”).4 The Debtor extended credit to

Claimant to finance the sale of the Goods (the “RDC Obligations”), which were personally

guaranteed by Nadeem Kausar (“Kausar”).

                 16.         Prior to the Petition Date, Claimant defaulted on the RDC Obligations by

failing to pay for the Goods when and as due. Accordingly, on or about June 2, 2020, the

Liquidating Trustee filed a Verified Complaint against Claimant and Guarantor and, in the

Supreme Court of the State of New York County of Westchester (the “State Court”) (Index

No. 55664/2020) (the “Collection Action”).5 The Collection Action was ultimately settled and on

July 15, 2022, case was dismissed as to all defendants with prejudice. The settlement did not,

however, address or otherwise resolve the Claim.


3
  It is not clear from the Debtor’s books & records when Claimant acquired its second share of common stock.
4
  The Liquidating Trustee is informed and believes that Jewel Pharmacy RX is or was owned and operated by Jewel
of Flushing Rx Inc. (“Jewel, Inc.”) in which Kausar also has an interest.
5
  The Collection Action was also filed against Jewel Inc. and Syed J. Rizvi.

                                                       4
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                 17.         The Liquidating Trustee is informed and believes that the Claimant has

been paid in full for any Patronage Dividends that were declared by the BOD through and

including the FYE March 31, 2017.

                 18.         According to the Debtor’s books and records, the Debtor paid Claimant a

total of $233,697 in Patronage Dividends in 2017 ($22,973 related to Klein Pharmacy and

$210,724 related Jewel RX Pharmacy).

                 19.         The Liquidating Trustee is informed and believes that BOD decided, in its

discretion, not to issue Patronage Dividends following Fiscal Year ending March 31, 2017.

                 20.         Accordingly, no Patronage Dividends are owing to the Claimant.

                 21.         On or about March 8, 2022, the Liquidating Trustee, on behalf of the

estate, filed a suit against the Debtor’s Board of Directors (the “Board Action”) 6 in connection

with the 2017 Patronage Dividend.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: New York, New York
       September 21, 2022

                                                             /s/ David Greenblatt
                                                             David Greenblatt




6
 See Complaint for Breach of Fiduciary Duties and Recovery of Wrongful Declaration of Dividends (the “BOD
Complaint”) filed by the Liquidating Trustee against Donald Arthur, Christopher Casey, Laurence F. Doud III,
Stephen Giroux, Sherwood Klein, Richard Klenk, Joe Lech, Boris Mantell, Joseph Scott Miskovsky, Garry Mrozek,
Paul Pagnotta, which is pending in the United States Bankrutpcy Court for the Western District of New York as 22-
AP-02073. A trial in the action against the Director Defendants is set for April 2024.

                                                        5
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                                    EXHIBIT 1

                              Subscription Agreement




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         SUBSCRIBER



         FEDERAL EMPLOYER IDENTIFICATION NUMBER



                                     ROCHESTER DRUG CO-OPERATIVE, INC,



                                           SUBSCRIPTION AGREEMENT



                                 Under Confidential Summary Offering Statement
                                           Dated September 21, 2010



         Rochester Drug Co-operative, Inc.
         50 Jet View Drive
         Rochester, New York 14624

         Attention: Board of Directors

         Ladies and Gentlemen:

                1.    The undersigned has received and read the Confidential Summary Offering
         Statement dated September 21, 2010 and all,ofthe Exhibits thereto (collectively, the "Offering
         Documents"), concerning the offering made by Rochester Drug Co-operative, Inc. (the
         "Company"), of thirty seven (37) shares of its Voting Common Stock, par value $5.00 per share,
         (the "Shares"). The undersigned, intending to be legally bound, hereby subscribes for the Shares
         described on page 6 hereof, and as payment therefor hereby tenders herewith either (i) cash or a
         check backed by good, negotiable funds, in the amount set forth on page 6 hereof representing
         the full payment of the subscription price, or (ii) (a) cash or a check backed by good, negotiable
         funds, in the amount of $10,000, representing partial payment of the subscription price, and (b) a
         fully executed and delivered Promissory Note (in the original principal amount of $16,500,
         representing the balance of the subscription price) and Pledge Agreement (with Stock Power
         attached) in the forms attached hereto as Annexes 1 and 2.

               2.     This subscription is irrevocable by the Subscriber, except as otherwise set forth
         herein. The Company shall have the right to reject this subscription in its sole discretion for any
         reason. Upon such rejection, all funds tendered shall be returned to the undersigned, without
         interest or deductions of any kind.



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           3.    The undersigned acknowledges that: (a) he has read the Offering Documents and
     has evaluated the risks of investing in the Shares; (b) he is able to bear the economic risk of such
     investment; and (c) the Shares have not been and will not be registered under the Securities Act
     of 1933, as amended (the "1933 Act"). The undersigned represents that he has had the
     opportunity to ask questions of, and receive answers from, representatives of the Company
     concerning the terms and· conditions of this transaction and the information presented in the
     Offering Documents. Any questions raised have been answered to the satisfaction of the
     undersigned. The undersigned's decision to purchase Shares is based solely on the information
     in the Offering Documents and on the written answers to such questions as the undersigned has
     raised concerning the transaction.

           4.   By executing this Agreement, the undersigned agrees to be bound by and comply
     with the By-laws, the Certificate of Incorporation and the rules and regulations of the Company,
     as each may be amended from time to time. Without limiting the generality of the foregoing, the
     undersigned specifically agrees and acknowledges that:

                  (a) In accordance with the Company's By-laws and Certificate of Incorporation,
           shares of Voting Common Stock owned by a shareholder which does not own a licensed
           pharmacy or which fails to make purchases from the Company of at least $500,000 (as
           such amount may be amended from time to time) during the preceding fiscal year (or a
           pro-rated portion of $500,000, as such amount may be amended from time to time, for any
           partial fiscal year in which the undersigned is a shareholder of the Company) are subject to
           redemption at the option of the Company, at net book value per share (as defined in the
           Company's Certificate of Incorporation and By-laws), plus previously declared and unpaid
           dividends, less amounts owed by the shareholder to the Company.

                 (b) In accordance with the Company's By-laws and Certificate of Incorporation,
           the Company is granted a first right to purchase any shares of Voting Common Stock
           presented to the Company for transfer. · Any such purchase shall be at net book value per
           share (as defined in the Company's Certificate of Incorporation and By-laws) of Voting
           Common Stock plus previously declared and unpaid dividends, less amounts owed to the
           Company by the shareholder.

                  (c) In accordance with the Company's By-laws and Certificate of Incorporation,
           the Company may refuse to consent to the transfer of Shares if a transferring shareholder is
           indebted to the Company, for purchases of inventory or otherwise, until such indebtedness
           is paid.

            5.    The undersigned acknowledges and understands that the purchase price pursuant to
     the Offering of the Company's Shares is $26,500 per share, which is less than the net book value
     per share of the Company's Shares as of March 31, 2010, the conclusion of the Company's most
     recently completed fiscal year. The undersigned agrees and acknowledges that the Company's
     net book value per share as of the date of this Subscription Agreement, or as of March 31, 2011,
     the last day of the Company's current fiscal year, may be higher or lower than the net book value
     per share as of March 3 1, 2010, and may be higher or lower than the purchase price for the
     Shares.
                                                      2

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                  6.    The undersigned represents to the Company that it is purchasing Shares for its own
            account, for investment, and not with a view to, or for resale in connection with, any distribution
            thereof. The undersigned does not have any present intention of selling or otherwise transferring
            the Shares subscribed for or any interest therein. The undersigned acknowledges and agrees that
            such Shares may not be sold, transferred, pledged or otherwise disposed of without registration
            under the 1933 Act and applicable state securities laws or in accordance with applicable
            exemptions therefrom. If the undersigned is a resident of the Commonwealth of Pennsylvania,
            the undersigned agrees that it may not sell the Shares for a period of 12 months from the date of
            this Subscription Agreement except in accordance with Regulation 204.011 of the Pennsylvania
            Securities Act of 1972.                                                                       ·

                   7.    The undersigned acknowledges that no representations or promises have been made
             concerning the marketability or value of the Shares. Except as otherwise set forth in this
             Agreement, the Company has not agreed with or represented to the undersigned that the Shares
             will be purchased or redeemed from the undersigned at any time in the future. Further, there
             have been no representations, promises or agreements that the Shares will be registered under the
             1933 Act at any time in the future or otherwise qualified for sale under applicable securities
           . laws. The Company does not now file reports with the Securities and Exchange Commission
             (the "Commission") or otherwise make available to the public such information concerning itself
             as would permit its shareholders to use Rule 144 of the Rules and Regulations promulgated
             under the 1933 Act ("Rule 144") for transfer of the Shares, and there is no requirement that the
             Company do so in the future or take any other action to make available any other exemption
             from the registration requirements of the 193 3 Act.

                  8.    The undersigned understands and agrees that the Shares may not be sold, transferred,
            pledged or otherwise disposed of in the absence of either an effective registration statement
            covering the Shares under the 1933 Act and relevant state securities laws, or an exemption from
            such registration requirements. The undersigned acknowledges that: (a) a notation will be made
            on the appropriate records of the Company so that transfers of the Shares will not be effected on
            those records without compliance with those restrictions; and (b) the Commission has taken the
            position in various releases that persons who offer to sell restricted securities such as the Shares
            without reliance on Rule 144 are to be· on notice that, in view of the broad remedial purposes of
            the 1933 Act and of public policy which supports registration, they will have a substantial burden
            of proof establishing that an exemption from registration is available for such offers or sales. In
            view of the foregoing restrictions, the undersigned understands and acknowledges that it must
            continue to bear the economic risk of its investment in the Shares for an indefinite period of time.

                  9.    The rights and duties of the undersigned under this Subscription Agreement are not
            assignable without the written consent of the Company. The provisions of this Subscription
            Agreement shall be binding upon the successors, permitted assigns and legal representatives of
            the undersigned.

                  10. The representations and warranties made by the undersigned herein are made with
            the intent that they be relied upon by the Company in determining the suitability of the
            undersigned as a purchaser of the Shares. In addition, the undersigned undertakes to notify the
                                                             3

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Company immediately of any change in any representation, warranty or other information
relating to the undersigned set forth herein. The undersigned hereby agrees that such
representations and warranties and any agreements, undertakings and acknowledgments herein
shall survive the purchase of the Shares, and hereby indemnifies the Company and its officers
and directors and holds them harmless from and against any and all loss, damage, liability or
expense, including costs and reasonable attorneys' fees, which they may incur by reason of or in
connection with the undersigned's misrepresentation or breach of representation, warranty or
covenant set forth herein.

      11. The undersigned represents that: (a) if it is a corporation or other entity, it is duly
organized, validly existing and in good standing under the laws of the state in which it was
formed and has all the requisite power and authority to invest in the Shares as provided herein;
(b) such investment does not result in any violation of, or conflict with, any term of any,
instrument to which the undersigned is bound or any laws or regulations applicable to it; (c) such
investment has been duly authorized by all necessary action on behalf of the undersigned; (d)
this Subscription Agreement has been duly executed and delivered on behalf of the undersigned
and constitutes.a legal, valid and binding agreement of the undersigned; and (e) the undersigned
has not been formed for the specific purpose of acquiring the Shares.

      12. Whenever used herein, the masculine pronoun shall include the feminine and neuter,
as appropriate in the context.

       13. If the undersigned has elected to deliver partial payment for the Shares subscribed
for hereby by delivery to the Company of a Promissory Note in the form attached hereto as
Annex 1 (the "Promissory Note"), the undersigned acknowledges and understands that he will
be deemed to.be a shareholder of the Company upon delivery to the Company of the Promissory
Note and the related Pledge Agreement and Irrevocable Proxy (with Stock Power attached) in the
form attached hereto as Annex 2 (the "Pledge Agreement") and this Subscription Agreement,
and as such wiH be entitled to receive patronage dividends to the extent declared and paid by the
Company prior to the repayment in full of the Promissory Note, in an amount determined pro-
rata, based upon the undersigned's purchases from the Company after becoming a shareholder of
the Company. However, in the event the Promissory Note is not repaid in full by the subscriber
on or prior to March 18, 2011, or in the event of certain other events of default as set forth in the
Promissory Note, the undersigned will forfeit any patronage dividend previously paid or payable
with respect to periods on or prior to March 31, 201 l, and the Company will have certain rights
as a secured creditor pursuant to the Pledge Agreement. Without limiting the generality of the
foregoing, if the Promissory Note is not paid in full by March 18, 2011, the undersigned hereby
grants to the Company the right to repurchase the Shares subscribed for hereby by re-paying to
the undersigned the principal amount paid by the undersigned to the Company prior to the
delivery by the Company of notice of its intent to exercise its re-purchase rights hereunder.
Upon such repurchase by the Company, all of the undersigned's rights in and to the Shares shall
be cancelled, and the undersigned hereby forfeits and agrees to repay to the Company any
patronage dividend previously paid or payable to the undersigned by the Company with respect
to periods on or prior to March 31, 2011.


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            FOR PENNSYLVANIA RESIDENTS ONLY

            IF YOU HA VE ACCEPTED AN OFFER TO PURCHASE THESE SECURITIES MADE
            PURSUANT TO A PROSPECTUS WHICH CONTAINS A WRITTEN NOTICE
            EXPLAINING YOUR RIGHT TO WITHDRAW YOUR ACCEPTANCE PURSUANT TO
            SECTION 207(M)(l) OF THE PENNSYLVANIA SECURITIES ACT OF 1972, YOU
            MAY ELECT, WITHIN TWO BUSINESS DAYS AFTER THE FIRST TIME YOU HA VE
            RECEIVED THIS NOTICE AND A PROSPECTUS (WHICH IS NOT MATERIALLY
            DIFFERENT FROM THE FINAL PROSPECTUS) TO WITHDRAW FROM YOUR
            PURCHASE AGREEMENT AND RECEIVE A FULL REFUND OF ALL MONIES PAID
            BY YOU. YOUR WITHDRAWAL WILL BE WITHOUTANY FURTHER LIABILITY
            TO ANY PERSON. TO ACCOMPLISH THIS WITHDRAWAL, YOU NEED ONLY
            SEND A WRITTEN NOTICE (INCLUDING A NOTICE BY FACSIMILE OR
            ELECTRONIC MAIL) TO THE ISSUER (OR UNDERWRITER IF ONE IS LISTED ON
            THE FRONT PAGE OF THE PROSPECTUS) INDICATING YOUR INTENTION TO
            WITHDRAW.

            IF YOU HA VE ACCEPTED AN OFFER TO PURCHASE THESE SECURITIES AND
            HA VE RECEIVED A WRITTEN NOTICE EXPLAINING YOUR RIGHT TO
            WITHDRAW YOUR ACCEPTANCE PURSUANT TO SECTION 207(M)(2) OF THE
            PENNSYLVANIA SECURITIES ACT OF 1972, YOU MAY ELECT, WITHIN TWO
            BUSINESS DAYS FROM THE DATE OF RECEIPT BY THE ISSUER OF YOUR
            BINDING CONTRACT OF PURCHASE OR, IN THE CASE OF A TRANSACTION IN
            WHICH THERE IS NO BINDING CONTRACT OF PURCHASE, WITHIN TWO
            BUSINESS DAYS AFTER YOU MAKE THE INITIAL PAYMENT FOR THE
            SECURITIES BEING OFFERED, TO WITHDRAW YOUR ACCEPTANCE AND
            RECEIVE A FULL REFUND OF ALL MONIES PAID BY YOU. YOUR
            WITHDRAW AL OF ACCEPTANCE WILL BE WITHOUT ANY FURTHER
            LIABILITY TO ANY PERSON. TO ACCOMPLISH THIS WITHDRAWAL, YOU NEED
            ONLY SEND A WRITTEN NOTICE (INCLUDING A NOTICE BY FACSIMILE OR
            ELECTRONIC MAIL) TO THE ISSUER (OR PLACEMENT AGENT IF ONE IS
            LISTED ON THE FRONT PAGE OF THE OFFERING MEMORANDUM)
            INDICATING YOUR INTENTION TO WITHDRAW.




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,I (   •




                                       Number of Shares and Purchase Price
                                         (to be completed by Subscriber):


           One share of Voting Common Stock at $26,500 per share.


           Total Purchase Price = $26,500


                                                    Dated: _ _1_1_.J_!_,_?_ ,   zo_J_o

                                                    SUBSCRIBER:




                                                    By:
                                                    Title:

                                                    ADDRESS OF SUBSCRIBER:

                                                             I2    3 ,   f-/://ti   A·~


                                                     DEA IDENTIFICATION NUMBER:



                                                    TAX IDENTIFICATION NUMBER:




           Accepted this _ _ day of



           Rochester Drug Co-operative, Inc.


           By:
                  Laurence F. Doud, III, Chief Executive Officer


                                                             6

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                                   ANNEX 1

                          FORM OF PROMISSORY NOTE




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                                   ANNEX2

 FORM OF PLEDGE AGREEMENT AND IRREVOCABLE PROXY WITH STOCKPOWER
                            ATTACHED




                                       8

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                                    EXHIBIT 2

                                 Offering Statement




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 Offeree:
            - - - - - -- -- -                          Number:   _     ' /3
                                                                     __.:.__..:._   __

                   Confidential Summary Offering Statement




                               September 21, 2010


                  ROCHESTER DRUG CO-OPERATIVE, INC.




                         37 Shares of.Voting Common Stock
                                 $26,500 Per Share




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        Description: Exhibit C - Declaration of David Greenblatt, Page 17 of 176
 FOR PENNSYLVANIA RESIDENTS ONLY

 IF YOU HA VE ACCEPTED AN OFFER TO PURCHASE THESE SECURITIES MADE
 PURSUANT TO A PROSPECTUS WHICH CONTAINS A WRIITEN . NOTICE
 EXPLAINING YOUR RIGHT TO WITHDRAW YOUR ACCEPTANCE PURSUANT TO
 SECTION 207(M)(l) OF THE PENNSYLVANIA SECURITIES ACT OF 1972, YOU
 MAY ELECT, WITHJN TWO BUSJNESS DAYS AFTER THE FIRST TIME YOU HAVE
 RECEIVED THIS NOTICE AND A PROSPECTUS (WHICH IS NOT MATERIALLY
 DIFFERENT FROM THE FINAL PROSPECTUS) TO WITHDRAW FROM YOUR
 PURCHASE AGREEMENT AND RECEIVE A FULL REFUND OF ALL MONIES PAID
 BY YOU. YOUR WITHDRAW AL WILL BE WJTHOUT ANY FURTHER LIABILITY
 TO ANY PERSON. TO ACCOMPLISH THIS WITHDRAWAL, YOU NEED ONLY
 SEND A WRITTEN NOTICE (INCLUDING A NOTICE BY FACSIMILE OR
 ELECTRONIC MAIL) TO THE ISSUER (OR UNDERWRITER IF ONE IS LISTED ON
 THE FRONT PAGE OF THE PROSPECTUS) INDICATING YOUR INTENTION TO
 WITHDRAW.

IF YOU HAVE ACCEPTED AN OFFER TO PURCHASE THESE SECURITIES AND
HA VE RECEIVED A WRITTEN NOTICE EXPLAlNING YOUR RIGHT TO
WITHDRAW YOUR ACCEPTANCE PURSUANT TO SECTION 207(M)(2) OF THE
PENNSYLVANIA SECURITIES ACT OF 1972, YOU MAY ELECT, WITHIN TWO
BUSINESS DAYS FROM THE DATE OF RECEIPT BY THE ISSUER OF YOUR
BINDING CONTRACT OF PURCHASE 0~ IN THE CASE OF A TRANSACTION IN
WHICH THERE IS NO BINDING CONTRACT OF PURCHASE, WITHIN TWO
BUSINESS DAYS AFTER YOU· MAKE THE INIT~L PAYMENT FOR THE
SECURITIES BEING OFFEREDj TO WITHDRAW YOUR ACCEPTAl~CE AND
RECEIVE A FULL REFUND OF ALL MONIES PAID BY YOU. YOUR
WITHDRAWAL OF ACCEPTANCE WILL BE WITHOUT ANY FURTHER
LIABILITY TO ANY PERSON. TO ACCOMPLISH THIS WITHDRAWAL, YOU NEED
ONLY SEND A WRITTEN NOTICE (INCLUDING A NOTICE BY FACSIMILE OR
ELECTRONIC MAIL) TO THE ISSUER (OR PLACEMENT AGENT IF ONE· IS
LISTED ON THE FRONT PAGE OF THE OFFERING MEMORANDUM)
INDICATING YOUR INTENTION TO WITHDRAW.




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                                CONFIDENTIAL

 THE SECURITIES OFFERED HEREBY ARE BEING OFFERED PURSUANT TO AN
 EXEMPTION FROM REGISTRATION UNDER THE SECURITIES ACT OF 1933.
 THIS CONFIDENTIAL SUMMARY OFFERJNG STATEMENT HAS NOT BEEN
 SUBMITTED TO, REVIEWED OR APPROVED BY THE UNITED STA TES
 SECURITIES AND EXCHANGE COMMISSION, THE ATTORNEY GENERAL OF
 THE STATE OF NE\.V YORK OR ANY OTHER STATE SECURITIES COMMISSION
 NOR HAVE ANY OF THE FOREGOING PASSED UPON OR ENDORSED THE
 MERJTS OF THIS OFFERING NOR lS IT INTENDED THAT ANY SUCH AGENCY
 WILL DO SO. ANY REPRESENTATION TO THE CONTRARY IS UNLAWFUL.
 THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT DOES NOT
 CONSTITUTE AN OFFER OR SOLICITATION TO ANYONE IN ANY JURISDICTION
 IN WHICH SUCH AN OFFER OR SOLICITATION MAY NOT LAWFULLY BE
 MADE.



 UNDER CERTAIN EXEMPTIONS PROVIDED FOR BY FEDERAL AND STATE
 SECURlTIES LAWS APPLICABLE TO THIS OFFERING, THE COMPANY IS NOT
 REQUIRED TO PROVIDE AND HAS NOT UNDERTAKEN TO PROVIDE IN THIS
 CONFIDENTIAL SUMMARY OFFERING STATEMENT THE TYPE AND KIND OF
 INFORMATION THAT WOULD BE AVAILABLE TO AN INVESTOR IF THIS
 INVESTMENT WERE SUBJECT TO THE REGISTRATION REQUIREMENTS OF
 THE SECURITIES ACT OF 1933.



THE SECURITIES ARE OFFERED SUBJECT TO PRJOR SALE, TO WITHDRAW AL,
CANCELLATION OR MODIFICATION OF THE OFFER WITHOUT NOTICE, TO
THE COMPANY'S RIGHT TO REJECT ANY SUBSCRIPTION IN WHOLE OR IN
PART AND TO APPROVAL OF CERTAIN LEGAL MATTERS BY COUNSEL TO THE
COMPANY.



THIS INVESTMENT INVOLVES A HIGH DEGREE OF RISK.



THIS INVESTMENT IS SUITABLE ONLY FOR PERSONS WHO HAVE ADEQUATE
FINANCIAL RESOURCES, WHO DO NOT ANTICIPATE THAT THEY WILL BE
REQUJRED TO LIQUIDATE AN INVESTMENT ACQUIRED HEREUNDER IN THE
FORESEEABLE FUTURE, AND WHO CAN AFFORD A TOTAL LOSS OF THEIR
INVESTMENT.




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 THE COMPANY HEREBY EXTENDS TO EACH OFFEREE THE OPPORTUNITY,
 PRIOR TO THE CONSUMMATION OFA SALE OF ANY SECURITIES TO SUCH
 OFFEREE, TO ASK QUESTIONS OF AND RECEIVE ANSWERS FROM THE
 COMPANY TO THE EXTENT THE COMPANY POSSESSES THE SAME OR CAN
 ACQUIRE IT WITHOUT UNREASONABLE EFFORT OR EXPENSE, IN ORDER TO
 VERIFY THE ACCURACY OF THE INFORMATION SET FORTH HEREIN.
 HOWEVER, ALL SUCH REQUESTS FO.R ADDITIONAL INFORMATION MUST BE
 IN WRITING AND THE RESPONSES THERETO IDENTIFIED AS SUCH BY THE
 COMPANY. SEE "ADDITIONAL INFORMATION". NO PERSON JS AUTHORIZED
 BY THE COMPANY TO GIVE ANY INFORMATION OR MAKE ANY
 REPRESENTATION IN CONNECTION WITH THIS OFFERING OTHER THAN AS
 CONTAINED IN THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT. NO
 PERSON HAS BEEN AUTHORIZED TO MAKE REPRESENTATIONS, OR GIVE ANY
 INFORMATION, WITH RESPECT TO THE SECURITIES OFFERED HEREBY,
 EXCEPT THE INFORMATION CONTAINED HEREIN. PROSPECTIVE INVESTORS
 SHOULD NOT RELY ON INFORMATJON NOT. CONTAINED HEREIN. NEITHER
 THE DELIVERY OF THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT
 AT ANY TIME NOR ANY SALE MADE HEREUNDER SHALL IMPLY THAT
 INFORMATION CONTAINED HEREIN IS CORRECT AS OF ANY TIME
 SUBSEQUENT TO ITS DATE.



THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT AND THE
INFORMATION CONTAINED HEREIN MAY NOT BE REPRODUCED OR USED IN
ANY OTHER MANNER WITHOUT THE EXPRESS WRITTEN CONSENT OF THE
COMPANY. BY ACCEPTING DELIVERY HEREOFt EACH OFFEREE AGREES TO
RETURN THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT IF HE DOES
NOT PURCHASE THE SECURITIES OFFERED HEREBY.



THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT HAS BEEN
PREPARED SOLELY FOR THE BENEFIT OF INVESTORS INTERESTED IN THE
PRIVATE PLACEMENT OF THE SECURITIES OF THE COMPANY AND
CONSTITUTES AN OFFER ONLY TO THE PERSON TO WHOM THE COMPANY
HAS DELIVERED THIS CONFIDENTIAL SUMMARY OFFERING STATEMENT.




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                                           SUMMARY

       Rochester Drug Co-operative, Inc. ("RDC'' or the "Company") is offering 37 shares of its
 Voting Common Stock (the "Voting Common Stock") at a purchase price of $26,500 per share.
 This Offering shall expire on March 18, 2011, unless the Company at its option elects to extend
 the offering period. This Offering has no minimum aggregate subscription amount. If all of the
 shares of Voting Common Stock off~red hereby are not sold prior to March 18, 2011, the
 Company will not refund amounts subscribed for and tendered. If all 37 shares offered hereby
 are sold, the gross proceeds to the Company, prior to the payment of offering expenses, will be
 $980,500.

       The· following summary highlights certain information contained in this Confidential
 Summary Offering Statement. It does not purport to be complete. Please refer to the remainder
 of the Confidential Summary Offering Statement and the Exhibits hereto for more detailed
 information regarding the matters referred to in this summary. Summaries of documents or
 agreements do not purport to be complete. Exhibit B sets forth a list of certain material
 documents or agreements to which the Company is a party, copies of which will be provided to
 prospective investors on written request.



        Rochester Drug Co-operative, Inc. is a New York Cooperative Corporation fonned in 1905
 and incorporated in 1948. Its principal business is to warehouse, merchandise and then
 distribute, on a co-operative basis, drugs, phannaceutical supplies and other merchandise
 commonly sold in drug stores, phannacies and health and beauty stores, together with equipment
 and supplies commonly used in the maintenance and operation of drug stores, phannacies, health
 and beauty stores and durable medical equipment businesses.

        RDC distributes pharmaceutical and other products, principally to phannacies in New
York, Pennsylvania, New Jersey, Coruiecticut and Ohio. The Company operates a distribution
center, located at 50 Jet View Drive, Rochester, New York 14624. RDC's administrative
operations are aJso conducted from this location. The Rochester distribution center was
constructed in 2001 to RDC's specifications. See, "PROPERTIES". RDC's telephone number is
(585) 271-7220.

      RDC's sales for the fiscal year end~ March 31, 2010 were $634,528,666. RDC'.s sales for
the preceding fiscal year ended March 31, 2009 were $563,047,439. The increase in sales for
RDC's last fiscal year was due to various factors, including expanding geographic markets,
increased purchases by new shareholders of the Company, and increases in sales in generic
phannaceuticals (with corresponding reductions in sales of higher priced, branded
pharmaceuticals): See, ·'BUSINESS; THE COMPANY" for a more complete discussion of these
factors and their effect on the Company's sales.

    RDC has three classes of capital stock authorized: Voting Common Stock, Non-Voting
Common Stock and Preferred Stock. The Company has outstanding 174 shares of Voting
Common Stock. 204 shares of Non.Voting Common Stock and 208,670 shares of Preferred


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 Stock. See, "DESCRIPTION OF SECURITIES" for a more complete description of the three classes
 of stock and their rights and preferences.

       Shareholders are eligible to receive distributions when, as, and if declared by the Board of
 Directors of RDC. in amounts related to the shareholder's purchases of phannaceutical and other
 products from RDC and payments to RDC for other services. The amoW1ts received by
 shareholders pursuant to these distributions, known as «patronage dividends'\ totaled $5,200,000
 for the fiscal year ended March 31, 2010, with no single shareholder receiving more than
 $435,088 for such fiscal year.

 Recent Events

       RDC's sales for the four months ended July 31, 2010 were $231,229,412 compared to
 $203,832,326 for the four months ended July 31, 2009. For the four-month period ended July
 31, 2010, 65% of RDC's sales were to holders of its Voting Common Stock. For the fiscal year
 ended March 31, 2010, 62.6% ofRDC's sales were to holders of its Voting Common Stock.


 The Offering

       Voting Common Stock. The Company is offering to sell 37 shares ofits Voting Common
Stock at a purchase price of $26)500 per share, for aggregate gross proceeds of $980,500. The
offering price per share is less than the net. book value per share of the Company>s Voting
Common Stock. The book value per share of the Company's Voting Common Stock as of
March 3 I, 20 t O was $27,459. Prospective investors are cautioned that the Company's net book
value per share as of the date of this Confidential Summary Offering Statement or as of March
31, 2011 (the conclusion of the Company's current fiscal year) may be higher or lower than the
net book value per share as of March 3 t, 2010, and may be higher or lower than the purchase
price for the shares of Voting Common Stock, The shares of Voting Common St<.1ck will have
the terms described below, all of which should be read in conjunction with, and are qualified in
their entirety by, the Company's Certificate of Incorporation, By-laws, and by the Subscription
Agreement, a fonn of which is attached hereto as Exhibit C. Investors are also encouraged to
review the infonnation regarding the Company's other classes of capital stock, set forth herein
under the heading "DESCRIPTION OF SECURITIES."

        Pavment for Subscription. Any subscription tendered by a prospective subscriber must
be accompanied by payment of the purchase price therefor, which may be paid either (i) in full
by cash or check, or (ii) $10,000 by cash or check, with the balance of $16,500 by delivery to the
Company of a promissory note and related pledge agreement and stock power, in the forms
attached hereto as Exhibits D and E. The Company shaH have the right to reject any subscription
in its sole discretion for any reason. Upon such rejection, all funds tendered by a subscriber shall
be returned, without interest or deductions of any kind.

     Rights as Subscriber; Right to Receive Patronage Dividend. If a subscriber elects to
pay for a portion of the purchase price of the Voting Common Stock by delivering to the
Company a promissory note in the form attached hereto as Exhibit D, the subscriber will be
deemed to be a shareholder of the Company upon delivery to the Company of payment in the

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amount of $10,000 together with the Promissory Note, the related pledge agreement and stock
power (in the fonns attached hereto as Exhibit E), and the Subscription Agreement (in the fonn
attached as Exhibit C), and as such will be entitled to receive a pro-rata portion of patronage
dividends to the extent declared and paid by the Company, with the amount thereof detennined
based upon the subscriber's purchases from the Company after becoming a shareholder. In the
event the promissory note is not repaid in full by the subscriber on or prior to Friday, March 18,
201 I, the subscriber shall not be deemed to have earned any patronage dividend previously paid
or payable with respect to periods on or prior to March 31, 2011, and will waive any rights with
respect thereto. The Company will have certain rights as a secured creditor pursuant to the
pledge agreement.

Use of Proceeds

      The proceeds of this offering, net of legal fees, accounting fees and other expenses
estimated to be approximately $35,000 in the aggregate, are estimated to be $945,500 (assuming
all of the shares of Voting Common Stock offered hereby are sold) and will be used for general
working capital purposes in the discretion of the Company's Board of Directors.

                                         RISK FACTORS

    THERE ARE SIGNIFICANT RISKS ASSOCIATED WITH AN INVESTMENT IN
THE VOTING COMMON STOCK.       AN INVESTMENT IN THE SECURITIES
OFFERED HEREBY IS SUITABLE ONLY BY PERSONS WHO CAN AFFORD THE
LOSS OF THEIR ENTIRE INVESTMENT. PROSPECTIVE INVESTORS SHOULD
CAREFULLY CONSIDER, AMONG OTHER THINGS, THE FOLLOWING RISK
FACTORS:

      Competition. The Company engages in a very competitive business. Its principal
customers are independent pharmacies. Larger and better-capitalized competitors may offer the
Company's customers prices or ancillary service, which the Company cannot afford to meet.
The trend in the industry is toward increasing consolidation of pharmacies in large drug or food
store chains. The Company believes that independent phannacies have recently been gaining
increased popularity. However, if the trend toward consolidation continues, it could result in a
decline in the number of independent pharmacies, which comprises the Company's primary
market. See, "BUSINESS"; ''THE COMPANY,'; "COMPETITION'\

      No Registration; Restrictions on Transferability. The shares of Voting Common Stock
being offered hereby are not registered under the Securities Act of 1933, as amended, or under
any state securities Jaws. None of such shares may be sold, transferred or assigned except
pursuant to valid registration statements filed under these statutes, or exemptions therefrom.

      Other restrictions on the transferability of the Company's stock exist in the Company's
Certificate of Incorporation and By-laws, including a provision pennitting the Company's Board
of Directors to refuse to consent to a transfer of any shares of Common Stock if the holder is
indebted to the Company. The Company has a right to purchase certain shares of its capital
stock which a holder desires to transfer upon certain tenns more fully set forth herein under the
heading "DESCRIPTION OF SECURITIES". There can be no assurance, however, that the price

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 required to be paid by the Company will equal or exceed the price at which a wilJing buyer
 would purchase such shares. There also can be no assurance that the Board of Directors will
 detennine that it is in the best interests of the Company to repurchase shares at any particular
 time. In addition, New York law prohibits a repurchase of shares except from surplus or if a
 corporation is or would thereby be rendered insolvent. See, "DESCRIPTION OF SECURITlES".

        Voting Common Stock Subject to Redemption. Shares of Voting Common Stock which
 are held by persons or entities who do not own a licensed phannacy or who have not made
 purchases of at least $500,000 during the preceding fiscal year may have their shares redeemed,
 at the option of the Company at a price determined in accordance with the Company's By-laws
 and Certificate of Incorporation, and generally e9ual to the net book value per share, less
 amounts owed to the Company, plus declared and unpaid dividends. A subscriber in this
 offering will be subject to this requirement for the Company's current fiscal year, pro-rated to
 reflect the portion of the Company's fiscal year during which a subscriber is a shareholder of the
 Company. Although the net book value per share of the Company's capital stock has increased
 over the past ten years, there can be no assurance that net book value will continue to increase.
 The Company's Board of Directors is not required to cause the Company to repurchase the
 shares     of
             Common Stock at any time. Investors should not expect to have their shares of
 Common Stock repurchased at any time. See, "DESCRIPTION OF SECURITJES...

       Patronage Dividends Uncertain. As a cooperative corporation, the Company may, at the
discretion of the Board of Directors, pay pro-rata patronage dividends to its shareholders based
on their purchases from the Company during a given period. A prospective investor is unlikely
to receive significant return on his investment unless such investor oonducts substantial business
with the Company. In addition, if the Company's retained earnings in any year ~re not sufficient
to establish adequate reserves, the Board of Directors may determine not to pay any patronage
dividends. Patronage dividends have been paid annually since 1986, but were not paid for a
nwnber of years before that time. There can be no assurance that patronage dividends will be
paid at any time in the future or, if paid, will be at levels similar to those previously paid. In
addition, if a subscriber elects to pay for a portion of his subscription by the delivery of a
promissory note in the fonn attached hereto as Exhibit D, and the promissory note is not repaid
in full by the subscriber on or prior to Friday, March 18, 201 I, the subscriber will not be deemed
to have earned any patronage dividend payable with respect to periods on or prior to March 31,
2011, and wiU waive any rights with respect thereto. See, "BUSINESS"; ''THE COMPANY";
"DIVJDEND POLICY".

       Dependence on Certain Suppliers and Increase in Gt!neric Pharmaceutics. The
 Company purchases its phannaceutica1 and other products from a number of manufacturers.
 Manufacturers generally offer drugs to all wholesale distributors on substantially similar tenns
 with discounts for larger volume orders. A number of patented pharmaceutical products are only
 available from one manufacturer, the loss of any one of which might adversely affect the
 Company's business. The Company does not, however, anticipate that it will be unable to
purchase any pharmaceutical product, since the Company may purchase such products from
other wholesalers. See, "BUSINESS"; "THE COMPANY". In addition, the increased availability of
generic pharmaceuticals has reduced the Company's revenues on branded pharmaceuticals, as
patent protection expires and lower-priced generic versions of those products are introduced to
the market. The expiration of patent protection increases the competition by vendors of generic

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pharmaceuticals, which can result in retailers purchasing from multiple sources, thus reducing
the loyalty of the Company's customer base.          The Company believes it has implemented
effective strategies to deal with the increasing availability of generic pharmaceuticals, there can
be no assurance that those strategies will he fully effective to counter the reduced revenue and
increased competition that results from increasing availability of generic pharmaceuticals. See,
"BUSINESS"; WHOLESALE DRUG INDUSTRY,,; "THE COMPANY".

      Dependence on Certain Customers. For the four month period ended July 31, 2010,
approximately 15% of the Company's sales were to its 15 largest customers. Further,
approximately 35% of the Company's total sales were to customers who were not also
shareholders of the Company. During its fiscal year ended March 31, 2010, approximately 16%
of the Company's sales were to its 15 largest customers, including approximately 5.2% of the
Company's sales to its single largest customer.         In addition, during such fiscal year
approximately 37% of the Company's total sales were to customers who were not also
shareholders of the Company. The loss of any significant customer could have a material
adverse effect on the Company's business and results of operations.

      Regulatory Compliance. Wholesale drug distributors are subject to licensing and
regulatory requirements by federal and state government agencies. Failure to obtain proper
licenses or to comply with applicable regulations could result in fines to the Company or loss of
licenses. Although the Company has a compliance program with strict record keeping to
monitor ongoing compliance, any failure of compliance would have a material adverse effect on
the Company and its operations. See, "BUSINESS"; "TuE COMPANY"; "REGULATORY MATTERS".

      No Minimum Aggregate Subscription Amount. This Offering has no minimum
aggregate subscription amount. Accordingly, if subscriptions for less than the full amounts
offered hereby are received, the Company will not refund amounts subscribed for or tendered. In
that event, the Company may need to seek alternative methods of financing and there can be no
assurance that such financing would be available or, if available, would be on tenns acceptable
to the Company. In addition, if subscriptions for less than the aggregate amount offered are
received, expenses of the Offering will not decrease. As such, the percentage of gross proceeds
of the Offering used to pay the expenses of the Offering will increase. See, "DESCRIPTION OF
SECURITIES".

      Broad Discretion in Application of Proceeds. All of the net proceeds of this Offering
will be used for general working capital purposes. Accordingly, the Company's management
will have broad discretion as to the application of such proceeds. See, "USE OF PROCEEDS".


                                             BUSINESS

Wholesale Drug Industry Generally

      Total wholesale drug industry revenues in the United States have increased steadily, from
an estimated $11.9 billion in 1981 to approximately $263 billion in 2009, according to the
director of the Healthcare Distribution Management Association. This growth has occurred
principally due to the aging of the nation's population, escalation of hospital costs with resultant

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 emphasis on outpatient treatment and the proliferation of both phannaceutical products and retail
 outlets for such products. The Company believes that the wholesale drug business js not
 significantly affected by general economic cycles.

        Wholesale drug distributors have increased their share of the total sales of pharmaceutical
 products. Industry sources estimate that the wholesale distributors' share of the phannaceutical
 market increased from approximately 45% in 1974 to 85.5% in 2009. The Company has
 benefited from this trend as manufacturers and customers increasingly have relied upon the
 distribution capabilities of drug wholesalers to make a consistent supply of products available to
 retail outlets. By doing so, manufacturers reduce costs by relying on distributors rather than
 shipping small quantities to many customers.

       Drug stores, hospitals and other pharmaceutical retailers have a continuing need for the
 immediate availability of a wide variety of health care products without the high cost of carrying
 large inventories. Many of these retailers have been turning to wholesale distributors to take
 advantage of rapid delivery, more support services and competitive prices. Customers can
 generally place smaller orders and receive more rapid delivery from wholesale distributors than
 from manufacturers, thereby reducing the customer's inventory carrying costs. The industry
 trend toward increased automation and computerization have led drug wholesalers to develop a
 variety of infonnation processing services. Furthermore, full service distributors such as the
 Company offer a broad range of products from many manufacturers and a variety of marketing
 and management services generally not available from manufacturers.

      In recent years, there has been a trend toward consolidation in the wholesale drug industry,
as evidenced by the purchase of smaller distributors by major wholesalers. In addition, the
growth of hospital buying groups, proprietary hospital chains, mass merchandisers and drugstore
chains has created a demand for wholesalers with wide geographic distribution capabilities to
serve various locations. Smaller wholesalers, like the Company, must compete with larger
wholesalers to offer competitive prices and services, operating efficiencies and marketing
programs. At present, the Company's primary competition includes three national wholesale
drug companies, each of which has sales in excess of $70 billion annually. The Company
competes against each of these competitors in all of the markets it serves.

       The wholesale drug industry general1y, and the Company in particular, have been
significantly impacted by the increasing availability of generic pharmaceuticals. Upon
expiration of patent protection on branded phannaceuticals, generic versions of those products
are introduced to the market, at substantially reduced prices. This results in an immediate
decrease in the dollar volume of sales by phannaceutical wholesalers. In addition, while there is
little price differential among suppliers of branded pharmaceuticals) there is substantial
variability in the price at which generic pharmaceuticals can be purchased from competing
vendors. This variability in price can cause retailers to purchase generic phannaceutica]s from
multiple sources.

The Company

     The Company is a wholesale distributor of pharmaceutical and other products, principally
to independent phannacies and drug stores. Over 21.000 different products, including

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 prescription and over-the-cotn1ter drugs, health and beauty aids, sundries and home health care
 equipment are distributed from the Company's distribution center located in Rochester, New
 York. The Company serves over 800 independent pharmacies in New York, Pennsylvania, New
 Jersey, Connecticut and Ohio.

        The Company purchases from and distributes the merchandise of about 650 suppliers
 including every major manufacturer in the industry. The Company's largest suppliers are Pfizer,
 Glaxo-SmithKline, Eli Lilly, Merck, and Bristol-Myers. For the four months ended July 31,
 2010, non.:shareholder customers accounted for 35% of the Company>s net sales. During the
 fiscal year ended March 31, 2010 non-shareholder customers accounted for an aggregate of
 approximately 37% of the Company's net sales. See, "RISK FACTORS - DEPENDENCE ON
 CERTAIN CUSTOMERS". No single customer (including affiliates of customers) accounted for
 more than 5.2% of the Company's net sales during the fiscal year ended March 31, 2010.

       In 2005, the Company acquired for its Rochester distribution center a new IBM AS-400
 eServer computer system to handle inventory, order entry, billing, accounts receivable, accounts
 payable and other financial and administrative information processing requirements. This
 system processes aJI data for the Company's distribution center. The Company has continuously
 upgraded its computer hardware and software to maintain state of the art operating systems. In
 July 2010, the Company replaced its IBM AS-400 system with an IBM Power 6 Plus system,
 which increased the Company's capacity, to accommodate the Companyts increased sales
 volume.

           Approximately 98% of the Company's orders are placed by means of electronic order
entry, with most of the balance placed by telephone or facsimile. AU orders are received at the
Rochester distribution center, which has the centralized infonnation technology and customer
service personnel. The Company believes that the electronic order entry system contributes to its
ability to compete by providing better service through reduced order time and increased
accuracy. As of March 3 J, 2010, the Company had completed the installation of a state.of.the~
art voice directed warehousing and picking system to maximize the productivity, speed, quality
control and accuracy of its warehouse operations including stocking inventory and filling
customer orders. The Company continues to explore hardware and software technologies that
provide for greater speed, accuracy and efficiency in picking, packing and shipping orders to its
customers. The Company has also developed a proprietary in store, on~Hne computer system,
which allows customers to access sales information and purchasing history on-line.

      In May 2010, the Company began offering to its customers a hand held ordering device, to
increase their speed, mobility and convenience in placing orders. These devices are provided to
customers for a nominal monthly charge. As of July 31, 2010, approximately 5% of the
Company's customers were using this new technology.              The Company estimates that
approximately 25-30% of its customers will ultimately elect to use this technology. The
Company has aJso developed a web-based ordering system that provides. customers with more
complete best pricing and ordering information than previously available, which has proved to be
succesful. The Company provides customers with hardware and software for electronic order
entry and assists in converting a new customer's inventory scheme to that used by RDC. The
Company also has the ability to communicate with its customers with point of sale ("POS")


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 systems. Although industry groups are encouraging the establislunent of standard inventory
 identification infonnation, currently each wholesaler has a proprietary inventory coding system.

      At July 31, 2010, the Company employed approximately 113 persons in a variety of skilled
 and unskilled positions. RDC considers its relations with employees to be good.

        The Company sponsors a defined contribution 40I(k) Retirement Plan for the benefit of its
 full-time employees. Employees are eligible to participate in the Plan after one year of service
 with the Company. This Plan allows the participating employee to defer a portion of their
 compensation, subject to Internal Revenue Code limitations. The Company's policy is to match
 employee contributions at l 00 percent, up to a maximwn of 5% of eligible compensation.

     ln addition, the Company has in prior years voluntarily distributed bonuses to its
 employees based upon Company profits. The Company is not obligated to continue such
 payments by any fonnal agreement, and can modify or discontinue such payments at any time.

      The Company's force of 12 regular sales persons maintains frequent personal customer
contacts. · The Company owns one delivery van and owns approximately 20 cars, used for
deliveries, by its sales force and members of management. The majority of the Company's
deliveries are accomplished through contract carriers. The Company's distribution center is
located to enable RDC to fill substantially an orders at night, and deliver the next business
morning, allowing customers to replenish pharmacy inventory on a daily basis.

            Additional time is spent by Company personnel converting inventory records to
allow the use of the Company's web-based ordering system, labeling of phannacy customers to
parallel the coding system employed by the Company, remerchandising stores and other
value-added services, such as assistance with market surveys and store layout/design and
remodeling.

       In addition to supplying pharmaceutical and over-the-counter products to its customers, the
Company also provides both shareholder and non-shareholder customers with merchandising
assistance, store management computer programs, advice and assistance as to store layouts,
promotions, store opening programs, durable medical equipment programs and cooperative
advertising programs, pricing and marketing strategies.

      The Board of Directors has authorized the Company to make loans to independent
phannacies· for a variety of needs, to encourage the success of independent pharmacies. Over the
past ten years, the Company has loaned funds to approximately 156 pharmacies to provide
assistance ranging from computerization of inventory and records, covering cash flow shortfalls,
promoting store openings and renovation and stocking of new phannacies. As of July 31, 2010
the Company had outstanding loans in an aggregate amount of $5,996,843 to 51 pharmacies,
which loans are due to be repaid in one to three years with interest at interest rates per year equal
in most cases to the prime rate plus up to 2%. As collateral for these loans, the Company
generally takes a security interest in personal property of the borrowing phannacies and receives
personal guarantees from its principals.



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      The Company is a member of OptiSource, LLC, an industry buying group that focuses on
generic pharmaceuticals. There are currently 13 members of OptiSource. RDC and other
members of OptiSource make purchases from suppliers, based upon pricing and other terms
(incJuding supply levels, payment terms, and return policies) negotiated by OptiSource for the
benefit of its members. The suppliers pay to OptiSource a fee based on the sales made to
OptiSource members by the generic pharmaceutical supplier, and OptiSource has historically
made distributions to its members from time to time. The business and affairs of OptiSourcc are
managed by a Manager in consultation with a five (5) member Operating Committee. Laurence
Doud, the Company's Chief Executive Officer, serves on OptiSource's Operating Committee.
Under its membership agreement, the Company is entitled to distributions, if any are declared,
based on its purchases. The amount and timing of distributions, if any, are subject to approval by
the Manager and the Operating Committee, and a 2/3 vote of its members. The distribution that
the Company received from Optisource for its fiscal year ending March 31, 2010 is reflected in
the Company's financial statements attached hereto as Exhibit A. The Company believes that its
participation as a member of OptiSource can help in its efforts to address the financial effects of
increasing volumes of generic pharmaceuticals·.

      The Company also owns all of the outstanding capital stock of SourceOne Services, Inc.
("SourceOne''), a company which historically had contracted with suppliers of generic
pharmaceuticals and acted as a purchasing organization on behalf of RDC's customers. With the
Company having become a member of OptiSource, SourceOne is no longer an operating entity
and is inactive.

       The Company owns an approximately 0.4% interest in Pharmacy Productions, Inc., a
voluntary organization which does business as QuaJity Care Pharmacies ("Quality Care").
Quality Care is owned by the Company and by approximately 255 member phannacies.
Additionally, there are approximately 150 affiliated member pharmacies, which do not hold an
ownership interest. Quality Care was organized to provide independent pharmacies with a
common marketing identity, group advertising, promotional activities, and group purchasing,
including a rebate program under which Quality Care members earn up to an additional 4% on
generic purchases. Laurence Doud, the Company's Chief Executive Officer, has been, since its
inception, President of Pharmacy Productions, Inc. and is a pennanent member of its Board of
Directors. All Quality Care pharmacies are customers of the Company. Approximately 89% and
87 % of the Company's net sales for the four months ended July 31, 2010, and for the fiscal year
ended March 31, 2010, respectively, were to Quality Care pharmacies. Quality Care receives
payments from the Company in amounts equal to 0.25% of the purchases of the Quality Care
pharmacies from the Company. Those payments totaled $2,837,824 and $2,457,075 for the
fiscal years ended March 31, 2010 and March 31, 2009, respectively. Those payments totaled
$957,527 and $1,221,266 for each of the four month periods ended July 31, 2009 and July 31,
2010, respectively.

      RDC is also a founding member and owns approximately 11.4% of the Wholesale
Alliance, LLC, which conducts business as Pharmacy First, and is a national group of
independent regional pharmaceutical wholesalers. Phannacy First provides services to its
participating independent pharmacies through the development of market share incentive
programs that provide members the ability to earn performance~based rebates directly from
Pharmacy First. Laurence Doud serves on the Board of Managers of Wholesale Alliance.

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 Legal Proceedings

       The Company is ~ party to various other legal actions arising out of the nonnal course of
its business, including a number of collection matters. The Company believes that the ultimate
resolution of those actions will not have a material adverse effect on its financial position, results
of operations or its liquidity. During its fiscal year ended March 31, 2010, the Company settled
prior to trial one material litigation matter with a current shareholder and customer. While the
Company believes it had strong defenses to alt claims in that matter, the Company concluded
that the anticipated attorney's fees associated with conducting a trial and any appeals, as well as
the risk of an adverse ruling, warranted the settlement.

 Financial Statements

      The financial statements attached as Exhibit A to this Memorandum include the unaudited
financial statements as of and for the four months ended July 31, 20 I 0. The audited financial
statements of RDC as of and for the years ended March 31 , 2010 and 2009 have been audited by
Deloitte & Touche LLP, an independent registered public accounting finn, as stated in their
report appearing herein. Potential investors are urged to review the unaudited interim financial
statements and the audited fina.nciarstatemenfs-(togetfier willitlie noteslnereto) iti" ilieifentifefy.

Financing

        On November IO, 2006, The Company entered into a Revolving Llne of Credit (the
"Credit Facility Agreement") with Manufacturers and Traders Trust Company ("M&T Bank" or
the "Bank") pursuant to which the Company may borrow, subject to certain limitations, up to
$70,000,000. The Credit Facility Agreement provided for interest equal to the prime rate
announced from time to time by M&T Bank (3.25% at March 31, 2010} or, at the Company's
option, at various LIBOR interest rates plus 1.40% (effective rate of 1.65% at March 31, 2010).
The Credit Facility Agreement tenninates October 31, 2011 unless an event of default occurs
prior to that date. All of the Company's borrowings as of July 31, 2010 were at LIBOR interest
rates with an effective rate of 1.775%. The Company's Credit Facility Agreement also requires
the payment by RDC of certain administrative fees and unused line fees to the Bank. As of July
31, 2010, talcing into account the limitations contained in the Credit Facility Agreement, the
Company was authorized to borrow approximately $66,000,000, of which approximately
$29,000,000 was outstanding under the Revolving Line of Credit. The Company's borrowings
from M&T Bank are secured by the Company's accounts receivable, inventory and equipment,
and by an insurance policy on the life of the Company's Chief Executive Officer.

      On June 6, 2008, the Credit Facility Agreement was amended to reflect a range of interest
rates that became effective on October 1, 2008, based on the level of cash flow coverage
maintained by the Company. Under that amendment, interest rates ranged from the prime rate,
to the prime rate plus 0.25% or, at the Company's options, various LIBOR based rates (p]us
1.4% to 1.8%), depending upon the Company's then existing cash flow coverage ratio.

      On August 17, 2010 the Credit Facility Agreement was further amended to revise the
interest rates established in the June 6, 2008 amendment, and allow the Company to e)ect to pay

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interest at various LIBOR based rates plus 1.40% through and including September 30, 2010,
and at various LIBOR based rates plus 1.95% thereafter, for the remaining term of the Credit
Facility Agreement, which was extended through October 31, 2014. In addition, and among
other matters, certain of the financial covenants set forth in the Credit Facility Agreement were
amended, to increase the amounts the Company may use annually to effect redemptions of
shares, and to increase amounts the Company may loan to independent phannacies.

        Effective May I, 2003, the Company purchased its administrative and distribution center,
 located in Rochester, New York, which the Company had previously leased, at an acquisition
 price of $4,150,000, plus closing costs and expenses. In connection with its acquisition, the
 Company assumed the obligations under an existing mortgage of $3,042,626, at an interest rate
 of 7 .69%. The mortgage balance at March 31. 2010 was $1,840,350. The m.ortgage requires
 monthly payments of principal and interest in the amount of $30,949, through April 1, 2011,
 with a final "balloon" principal payment of $1,584,731 due on that date.

      In addition, the Company borrows money from shareholders, former shareholders and
other persons affiliated with the Company. The Company uses the proceeds of such loans for
general working capital and the lenders are general, unsecured creditors of the Company. As of
March 31, 2009 and March 31, 2010, the Company had borrowed from its shareholders and
others affiliated with the Company a total of approximately $5,750,510 and $6,199,199,
respectively. The Company pays interest quarterly based upon a variable rate of .5% below the
Company's borrowing rate on its bank debt. At March 31, 2010, the interest rate was 1.49% .

Competition

      The wholesale drug business is very competitive and almost all drug stores, including
pharmacies served by the Company, buy regularly from at least two wholesale drug distribution
companies. The Company faces strong competition in both price and service from national,
regional and local full-line, short-line and specialty wholesalers, service merchandisers, and from
manufacturers engaged in direct distribution.

      The Company's principal market is independent pharmacies. Throughout the Company's
market areas and much of the United States, drug store ownership is increasingly concentrated in
large chains, which negotiate volume discounts with manufacturers and large wholesalers.
Hospital phannacies and nursing homes frequently form cooperatives, which negotiate terms for
purchases from wholesalers and drug manufacturers. In the Rochester, New York area, for
example, three hospital and nursing home buying organizations dominate the sales to hospitals
and institutions. The Company's competitive strategy includes focusing on independent
phannacies, frequency of personal contacts with customers, speed and accuracy of service,
meeting price competition and providing ancillary services to members and other customers.

Regulatory Matters

       The Company's distribution center is licensed by the U.S. Food and Drug Administration
("FDA"), ·and the U.S. Department of Justice, Drug Enforcement Administration ("DEA").
Additionally. the Company is licensed by state regulatory authorities and phannacy boards for
the states in which it operates, and each state into which it ships pharmaceutical products. Its

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 operations arc subject to the regulatory jurisdiction of various federal and state agencies,
 including the FDA, DEA, the U.S. Department of Agriculture, the Environmental Protection
 Agency, the Occupational Safety and Health Administration and state pharmacy boards. Like
 other wholesale drug distributors, the Company is subject to a variety of requirements, including
 guidelines on storage, handling and records maintenance and, with respect to controlled
 substances, specific labeling, packaging and record keeping requirements. The Company is in
 compJiance with each of these regulations.


 Dividend Policv

      The Company's Preferred Stock bears a non-cumulative preferred dividend of5% per year.
 No dividend may be declared or paid for any fiscal year on the Company's Voting or Non-
 Voting Common Stock until provision is made for payment of the preferred dividend.

       The patronage dividend is calculated annually based upon the Company's earnings during
 the most recently concluded fiscal year. Once the aggregate amount of the patronage dividend
 pool has been established, it is allocated to the Company's shareholders based upon their
 purchases. The Company had insufficient earnings from which to pay dividends in a number of
 years prior to 1986, but has paid a patronage dividend in each year since 1986.

       Approximately 62.6% of the Company's sales during the fiscal year ended March 31, 2010
were to holders of its Voting Common Stock, which own or operate a licensed pharmacy.
Shareholders are eligible to receive distributions when, as and if declared by the Board of
Directors of the Company, in amounts related to the shareholder's purchases of pharmaceutical
and other products from the Company and payments to the Company for other services. These
distributions, known as "patronage dividends", totaled $5,200,000 for the fiscal year ended
March 31, 2010, with no single shareholder receiving more than $435,088 for such fiscal year.

         The following table sets forth the aggregate patronage dividends paid during the past fiv(?
years:

             Fiscal Year Ended                                 Patronage Dividend
                 March 31,           Patronage Dividend       As Percentage of Each
                                                                   Shareholder's
                                                              Purchases From RDC



                    2006                  $3,412,086                   1.00%
                    2007                  $1,100,000                  0.34%
                    2008                  $1,500,000                  0.50%
                    2009                  $2,003,973                   0.64%
                    2010                  $5,200,000                   1.31%

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          There can be no assurance that funds will be available to pay patronage dividends in any
   year.   To the extent that such funds are available, a shareholder can increase its patronage
   dividend by increasing its purchases from the Company. During the fiscal years ended March
   31, 2007, 2008 and 2009, the patronage dividend paid to shareholders, as a percentage of the
   each shareholder's purchases from RDC, declined when compared to earlier years. This decline
   resulted due to a number of factors that reduced the Company's overall profitability, including
   rising interest rates and overall operating expenses, expenses associated with the tennination of
   the Company's defined benefit pension plan, losses incurred in connection with its operations in
   New Castle, Pennsylvania, a tighter credit policy implemented by the Company, the closure of
   independent pharmacies, or the sale of independent pharmacies to national retailers. For the
   fiscal year ending March 31, 2010, the Company's overall profitability increased due to
   expanding geographic markets, increased purchases by new shareholders, stricter control of
   selling, general and administrative expenses, decreased interest expenses, and increased generic
   sales. based, in part, on new programs implemented by Quality Care which focused on growing
   generic sales volume. Certain of these positive factors were offset by increased delivery
   expenses and the continued closure of independent pharmacies or the sale of independent
   pharmacies to national retailers. There can be no assurance that these factors will not continue to
   exist, or that other factors will not exist that will negatively impact the Company's profitability
   and its ability to pay patronage dividends.

         If a subscriber in this Offering elects to pay for a portion of his Voting Common Stock by
  delivering to the Company a promissory note in the fonn attached hereto as Exhibit D, the
  subscriber win be deemed to be a shareholder of the Company upon making partial payment and
  delivery to the Company of the promissory note, the related pledge agreement and stock power
  (in the form attached hereto as Exhibit E)t and the Subscription Agreement. and as such will be
  entitled to receive patronage dividends based upon its purchases from the time it becomes a
  shareholder. However, in the event the promissory note is not repaid in full by the subscriber on
  or prior to Friday, March I8t 2011, the subscriber will not be deemed eligible to receive any
  patronage dividend previously paid or payable with respect to periods on or prior to March 31,
  2011 and will waive any rights with respect thereto. The Company will have certain rights as a
  secured creditor pursuant to the pledge agreement.

  Properties

  Rochester Distribution Center:

        RDC owns an approximately 67,000 squ.are foot office and warehouse/distribution facility
  located at 50 Jet View Drive, Rochester, New York. The building contains a separate narcotics
  vault and cage constructed and maintained in accordance with DEA standards.

         The Company moved to its Rochester distribution center location in early 2001. Prior to
  that, the Company operated for 54 years from a warehouse/distribution facility located at 320
  North Goodman Street, Rochester, New York. which has been sold by the Company.

        The Rochester facility is located on approximately l l acres in the Jet View Business Park
  in Chili. New York. The facility includes a 55,000 square foot warehouse with 24-foot ceilings,

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 together with approximately 12,000 square feet of office space. The building also includes a
 28,000 square foot mezzanine level over a portion of the space, constituting additional
 warehouse space. There is sufficient additional real property to allow for future expansion of the
 facility. The warehouse in this facility is state of the art and has an automated conveyor system.
 The first floor of the warehouse of this facility stores items that represent 83% of the Company's
 sales, and the mezzanine is arranged for "open stock picking". In addition, all invoices and
 labels are printed at the staging area. Moreover, the Company makes use of radio frequency
 technology throughout its warehouse operations. The Company has installed a state-of-the-art
 voice directed warehousing and picking system to maximize the productivity, speed, quality
 control and accuracy of its warehouse operations including stocking inventory and filling
 customer orders.       The Company believes that the improvements in this facility greatly
 modernize the Company's processes and efficiencies, allow the Company to significantly
 increase its sales volume and capacity, and will assist the Company in its efforts to achieve
 continued growth in its existing markets.

 New Castle Distribution Center:

       In December, 2005, RDC entered into an Asset Purchase Agreement to acquire certain of
the assets of Valley Drug Company, a wholly owned subsidiary of FamilyMeds, Inc. (the
"Valley Drug Acquisition"). In connection with the Valley Drug Acquisition, Valley Drug and
its landlord, Becan Development, LLC ("Becan"}, entered into an amendment to the existing
lease between Valley Drug and Becan with respect to VaUey Drug•s distribution center, located
in New Castle, Pennsylvania. A portion of the purchase price payable as part of the Valley Drug
Acquisition was not paid at the closing, and was instead payable post-closing, upon the receipt of
a third party consent required in connection with the assignment to the Company of the lease to
the New Castle distribution center. This consent was not received, and a dispute ensued
regarding the Company's rights with respect to the payment of the unpaid portion of the
purchase price, and the continued occupancy of the New Castle distribution center by the
Company. In October, 2006, the Company ceased its distribution operations from the New
Castle distribution center.

           The Company has settled its dispute regarding the New Castle distribution center and the
unpaid portion of the purchase price payable in the VaJley Drug Acquisition. As part of that
settlement, the Company made partial payment of the unpaid portion of the purchase price, and
remained responsible under the lease of ·the New Castle distribution center through the
conclusion of 2010, at a lease cost of approximately $20,000 per month. The Company is
current1y subletting the New Castle distribution center to an unaffiliated third party on a month
to month sub-tenancy. The current sub-tenant is negotiating for a possible purchase of the New
Castle distribution center from Becan. The Company is negotiating for its release of any future
obligations under the lease upon such a sale. These negotiations may include the payment of a
lump sum amount by ~DC. There can be no assurance that the New Castle distribution center
wiJl be sold to the sub-tenant, or that the Company will be able to obtain a release from its
obligations under its Jease of the New Castle distribution center on acceptable terms or at all.

      The Company is a party to agreements with taxing authorities in New York which provide
for certain tax incentives in connection with the Rochester distribution center, and which require
the maintenance by the Company of certain employment levels.

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                                       USE OF PROCEEDS

      The Company estimates net proceeds of the offering to be approximately $945,500, after
 deduction of legal fees. accounting fees, and other expenses in the aggregate amount of
 approximately $35.000, and assuming that all of the shares of Voting Common Stock offered
 hereby are sold. The Company intends to use the net proceeds of the offering for general
 working capital needs, as determined in the discretion of the Board of Directors.


                                   DIRECTORS AND OFFICERS

       The Company is managed by a nine-person Board of Directors elected by the shareholders
 of the Company. Directors serve for three-year tenns and three members of the Board are
 elected annually. Each Director must be a shareholder, and must own or operate a licensed
 pharmacy.

       The Directors elect the President, Vice President, Secretary, Treasurer and any other
 officers the Directors consider necessary. The President and Vice President must be members of
 the Board of Directors. Directors are compensated at the rate of $750 for each Board meeting
 attended, and $100 per committee meeting attended. The composition of the Company's
 conunittees as of the date of this memorandum is as described below. Committee composition is
 determined by the Board of Directors annuaJly at its July meeting.

 Directors and Executive Officers of the Company are as follows:



                   Name             Age                Title                  Term
                                                                             Ex(!ires
           Christopher K. Casey      54              Chairman              June 2011
           Richard Klenk             65               Director            June 2013
           J. Scott Miskovsky        59               Director            June 2012
           Laurence F. Doud, III     66       Chief Executive Officer,        NIA
                                              Secretary and Treasurer
           Donald Arthur, Jr.        50              President            · June 2012
           Michael Cave              59               Director            June 2012
           Joseph Lech               51               Director            June 2013
           Stephen Giroux            52               Director            June 2013
           Tom Quinlan               65               Director            June 2011
           Sally Brooks              62               Director            June 2011
           Sherwood Klein            54     Vice President and Director   June 2011
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        Christopher K. Casey serves as Chairman of the Company and has previously served
 twice as the Company's President and as its Chainnan of the Board of Directors. Mr. Casey has
 served on the Company's Board of Directors for aJl but three years since 1989. Mr. Casey is
 owner, President and phannacist of Mead Square Pharmacy in Victor, New York. Mr. Casey
 serves on the Company's Executive and Audit Committees.

       Richard Klenk has served on the Company's Board of Directors since June, 1994. He has
 previously served as the Company's President and Chairman of the Board. He is a partner in
 Summit Parle Pharmacy in Niagara Falls, New York and serves on the Company>s Accounts
 Receivables and Audit Committees, and chairs the Company's Executive Committee.

             J. Scott Miskovsky was appointed to the Board in 2002. He is the Company's first
 Director from outside New York State. He is the owner of Red Cross Pharmacy in Forest City,
 Pennsylvania. He has previously served as the Company's President and Chainnan of the Board.
 Mr. Miskovsky seives on the Company's Nominations Committee and its Banking and
 Jnveshnents Conunittee.

       Laurence F. Doud, III was elected Chief Executive Officer, Secretary and Treasurer of the
 Company in May 1991. From July 1987 to that time, Mr. Doud served as General Manager of
 the Company. Prior to that time, Mr. Doud was Vice President for Sales of Cardinal Health, Inc.
 and a predecessor company for eleven years. Mr. Doud serves on the Company's Executive,
 Insurance, Audit, Nominations, and Accounts Receivables Committees, and on its Banking and
 Investments Committee.

     Donald Arthur, Jr. serves as President of the Company. Mr. Arthur was elected to the
Company's Board of Directors in 1998. Mr. Arthur has previously served as the Company's
Chairman of the Board of Directors and as its President. He is an owner of Black Rock
Pharmacy and the Brighton Eggert Phannacy in Buffalo, New York. Mr. Arthur serves on the
Company's Executive and Audit Committees, and serves as Chairman of the Accounts
Receivable Committee and its Banking and Investments Committee.

      Michael Cave was appointed to the Board in 2002. Mr. Cave is a non-phannacist
phannacy owner. Mr. Cave owns Gowanda Pharmacy, The Care Center Phannacy, a long-term
care phannacy, and The Care Center, a durable medical equipment business all in Western New
York State. Mr. Cave currently serves on the Company's Insurance Committee and its Banking
and Investments Committee.

      Joseph Lech has been a Board member since 2007 and, therefore is the most recently
elected Board member. He is the principal owner of the Lech's Pharmacy Group, a five
pharmacy small chain located in Wyoming, Sullivan and Bradford counties in Pennsylvania. He
serves on the Company's Insurance Committee.

      Stephen Giroux. has served on the Company's Board of Directors since June 1995. Mr.
Giroux has twice previously served as the Company's Chairman of the Board of Directors and as
its President. Mr. Giroux is a partner in Middleport Family Health Center, Transit Hill
Phannacy, Smnmit Park Pharmacy, Lockport Home Medical, Rosenkrans Pharmacy, and Thee

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Barker Store, all in western New York State. Mr. Giroux is a past President of the National
Community Pharmacists Association. He serves on the Company's Insurance Committee.

     Tom Quinlan has served on the Company's Board of Directors since I 996 and is currently
a Director on the Board. Mr. Quinlan is President and pharmacist for Quinlan's Pharmacy in
Wayland, New York since 1986. Mr. Quinlan currently serves on the Company's Nominating
and Accounts Receivables Committees.

     Sally Brooks was elected to the Companys Board of Directors in 1998 and has served as
the Company's Chairman of the Board and as its President. Ms. Brooks is the first non-
pharmacist store-owner to serve on the Company's Board of Directors. Ms. Brooks owns
Livonia Pharmacy in Lakeville, New York. Ms. Brooks serves on the Company's Insurance
Committee and as Chairperson of the Nominating Committee.

      Sherwood Klein serves as a Vice President of the Board of Directors and has previously
served as the Company's President and as its Chainnan of the Board of Directors. Mr. Klein has
served on the Company's Board of Directors since 1993. He is a pharmacist and owns, in
partnership, Park Pharmacy in Salamanca, New York and Ellicottville Pharmacy in Ellicottville,
New York. He is Cbainnan of the Company's Insurance Committee.

      Mr. Doud, the Company's Chief Executive Officer, has an employment agreement, dated
effective as of April I, 2005, which extends for a tenn of nine years through March 31, 2014,
and which sets Mr. Doud's annual compensation and the method for calculating an annual bonus,
primarily based on the Company's profits. In addition, the agreement provides that in the event
of a change of control of the Company, Mr. Doud will receive a payment in an amount equal to
the aggregate price per share paid by the acquirer for one share of Voting Common Stock, one
share of Non-Voting Common Stock, and 5,962 shares of Preferred Stock of the Company.


                                   DESCRIPTION OF SECURITIES

      The Company has authorized 570,000 shares of capital stock, of which (i) 60,000 shares
are Voting Common Stock with a par value of $5 per share, (ii) 10,000 shares are Non-Voting
Common Stock with a par value of $.01 per share, (iii) 500,000 shares are Preferred Stock, with
a par value of $5 per share. Only shares of the Company's Voting Common Stock are offered
hereby. As of the date of this Confidential Summary Offering Statement, the Company has
issued and outstanding 174 shares of Voting Common Stock, 204 shares of Non-Voting
Common Stock, and 208,670 shares of Preferred Stock. The net book value per share of the
Company's Common Voting Stock as of March 31, 2010was $27,459, which is higher than the
offering price per share in this offering.

Voting Common Stock; Non-Voting Common Stock. The Company's Voting Common Stock
and Non-Voting Common Stock have the following rights and privileges:

             Voting. Each holder of the Company's Voting Common Stock is entitled to
       one vote in the election of directors and one vote in all other matters submitted to the


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           shareholders. Holders ofNon~Voting Common Stock do not have any voting rights,
           except as otherwise provided by law.

                 Preemptive Rights. The holders of the Company's Common Stock do not
           have any preemptive right to acquire any additional shares issued by the Company.

                 Ownership and Minimum Purchase Req11irements.                 Holders of the
           Company's Voting Common Stock are required to own a licensed phannacy and are
           required to make minimum annual purchases from the Company of at least
           $500,000. A shareholder who fails to meet these ownership and/or minimum
           purchase requirements is subject to redemption, as described below.

                 Dissolution. Upon dissolution of the Company, after payment of the
           Company's debts and provision has been made for the retirement of the Company's
           Preferred Stock at its par value and accruals thereon and other fixed obligations, if
           any, held by holders of Common Stock, then the holders of Voting and Non-Voting
           Common Stock are entitled to receive the net assets remaining in accordance with
           applicable law.

              Redemptioni Right of First Refusal.        The Company's Certificate of
       Incorporation and By-Laws provide that the Company may redeem any Voting
       Common Stock owned by (a) a shareholder who does not, as of the date his Voting
       Common Stock is called for redemption, own a licensed pharmacy or (b) a
       shareholder who has made for the Company during the previous fiscal year no
       purchases or purchases amounting to Jess than $500,000. Such shares may be
       redeemed at net book value, less amounts owed to the Company by such shareholder,
       plus previously declared and unpaid dividends. In addition, the Company has the
       right to purchase at net book value, less any amounts owed by a shareholder to the
       Company, plus declared and unpaid dividends, any Voting Common Stock presented
       for transfer. The Company may also refuse to consent to the transfer of any Voting
       Common Stock or Non-Voting Common Stock if the proposed transferor is indebted
       to the Company.

             Dividends; Patronage Dividends. In accordance with the Company's
       Certificate of Incorporation, the Company may pay dividends of up to 8% on its
       Voting Common Stock. These dividends may onJy be declared and paid after
       payment of accrued dividends on Preferred Stock.

              In addition, as a co-operative corporation, the Company is also authorized to
       return earnings to its shareholders based upon their patronage of the Company, in the
       fonn of "patronage dividends". After establishment of reserve funds, the Company
       may distribute its earnings and savings in the fonn of stock, cash or evidence of
       indebtedness, or in savings proportionately and equitably among shareholders on the
       basis of the amount of sales or other services rendered to or by such shareholders as
       determined from time to time by the Board of Directors. The Board's current policy
       on such "patronage dividends", and information regarding the right to receive or
       retain patronage dividends by subscribers who deliver promissory notes in payment

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      of the purchase price for Voting Common Stock, is described under the heading
      "DIVIDEND POLICY".



Preferred Stock.

             Voting. The holders of the Company•s Preferred Stock do not have any voting
      rights, except as otherwise provided by law.

            Preemptive Rights. The holders of the Company's Preferred Stock do not
      have any preemptive right to acquire any additional shares issued by the Company.

            Dividend Rights. The Preferred Stock bears a non-cumu]ative preferred dividend of
      5% per year. No dividend may be declared or paid for any fiscal year on the Company's
      Voting or Non-Voting Common Stock until provision is made for payment of the Preferred
      dividend.

             Dissol11tio11. Upon dissolution of the Company, the holders of Preferred Stock are
      entitled to receive the $5 par value per share and accrued non-cumulative dividends at the
      rate of 5% of the par value per annum until the date of retirement of their shares, before the
      payment of any amounts to the holders of Common Stock.

            Redemption; Rigl,t of First Refusal. The Preferred Stock may be called for
      redemption by the Company's Board of Directors at any time, upon 30 days' prior notice,
      at its par value, plus unpaid dividends, less amounts owed to the Company by the
      shareholder. ln addition, the Company has a right of first refusal to purchase at par value,
      plus declared .and unpaid dividends, less amounts owed to the Company, any preferred
      stock presented for transfer. The Company may also refuse to oonsent to the transfer of
      any Preferred Stock if the proposed transferor is indebted to the Company.


                               ADDITIONAL INFORMATION

      The Company will give prospective investors access to such additional infonnation as they
reasonably request in writing, including without limitation those documents described on Exhibit
B attached hereto. Notwithstanding the foregoing, the Company will not disclose any
information concerning its operations, which it believes to be proprietary, or the public
disclosure of which would harm its competitive position.




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                                  Index To Exhibits

 Exhibit A         Unaudited Financial Statements for the Four Months Ended July 31,
                   2010 and Audited Financial Statements for the Fiscal Years ended March
                   31, 2010 and 2009.

 Exhibit B         List of Available Documents

 Exhibit C         Fonn of Subscription Agreement

 Exhibit D         Form of Promissory Note

 Exhibit E         Fonn of Pledge Agreement and Irrevocable Proxy (with Stock Power)

 Exhibit F         Certificate of Incorporation and By-laws, each as amended to date




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                                  EXHIBIT A

                             FINANCIAL STATEMENTS




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DeloitteQ                                                                               Deloitte & Tou,he llP
                                                                                        2200 Chase Square
                                                                                        Rochester, NY 14604-1998
                                                                                        USA
                                                                                        Tel:+ 1 SSS 238 3300
                                                                                        fax: + 1 S85 232 2890
                                                                                        W\11,W.deloitte.<om


September 21. 20 IO


Rochester Drug Cooperative, Inc.
50 Jet View Drive
Rochester, NY I 4624

We agree to the inclusion in the Confidential Summary Offering Statement dated September 21, 20IO, of
our report. dated June 14, 2010. on our audits of the consolidated financial statement'> of Rochester Drug
Cooperative, Inc. as of March 31, 2010 and 2009, and for the years then ended.




                                                                                        t>Mmberof
                                                                                        Deloitte Touche Tohmat:w




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      Rochester Drug
      Cooperative, Inc.
     Consolidated Financial Statements as of and
     for the Years Ended March 31, 2010 and 2009,
     and Independent Auditors' Report




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ROCHESTER DRUG COOPERATIVE, INC.

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CONSOLIDATED FINANCIAL STATEMENTS AS OF AND FOR THE
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•
       Deloitte-                                                                                   Deloitte & Touche llP
                                                                                                   2200 Chase Square
                                                                                                   Ro<hester, NY 14604-1998
                                                                                                   USA
                                                                                                   Tel: + t 585 238 3300
                                                                                                   Fax: + t 585 232 2890
                                                                                                   www.deloitte.com




        INDEPENDENT AUDITORSt REPORT


       To the Board of Directors of
       Rochester Drug Cooperative, 1nc.
       Rochester, New York

       We have audited the accompanying consolidated balance sheets of Rochester Drug Cooperative, Inc. and
       subsidiary (the "Cooperative") as of March 31, 20 l O and 2009, and the related consolidated statements of
       earnings, shareholders' equity, and cash flows for the years then ended. These consolidated financial
       statements are the responsibility of the Cooperative's management. Our responsibility is to express an
       opinion on these consoltdated financial statements based on our audits.

       We conducted our audits in accordance with auditing standards generally accepted in the United States of
       America. Those standards require that we plan and perform the audit to obtain reasonable assurance about
       whether the financial statements are free of material misstatement. An audit includes consideration of
       internal control over financial reporting as a basis for designing audit procedures that are appropriate in
       the circumstances, but not for the purpose of expressing an opinion on the effectiveness of the
       Cooperative's internal control over financial reporting. Accordingly, we express no such opinion. An
       audit also includes examining, on a test basis, evidence supporting the amounts and disclosures in the
       financial statements, assessing the accounting principles used and significant estimates made by
       management, as well as evaluating the overall financial statement presentation. We believe that our audits
       provide a reasonable basis for our opinion.

       In our opinion, such consolidated financial statements present fairly, in all material respects, the financial
       position of the Cooperative as of March 31, 2010 and 2009, and the results of its operations and its cash
       flows for the years then ended in confonnity with accounting principles generally accepted in the United
       States of America.




       June 14, 2010




                                                                                                  Membetof
                                                                                                  Deloitte Touthe Tohmatsu
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                                       •·
ROCHESTER DRUG COOPERATIVE, INC.

CONSOLIDATED BALANCE SHEETS
AS OF MARCH 31, 2010 AND 2009


                                                                       2010             2009
ASSETS

CURRENT ASSETS:
 Cash and cash equivalents                                      $     3,J90,360   $         700
 Accounts receivable - net of allowance for doubtful accounts
  of$1,400,000 and $1,250,000 in 2010 and 2009, respectively        74,069,124        65,213,596
 Merchandise inventories                                            22,960;130        23,960,400
 Current portion of notes receivable                                  2,810,857        2,231,591
 Prepaid expenses and other current assets                              444,550          374,326
 Deferred tax assets                                                   686,795           413,310

      Total current assets                                          104,161,816       92,193,923

NONCURRENT DEFERRED TAX ASSETS                                          24,877

LONG-TERM PORTION OF NOTES RECEJV ABLE - Net
 of allowance for doubtful notes receivable of $500,000
 and $250,000 in 2010 and 2009, respectively                         3,197,396         3,204,030

INTANGIBLE ASSET - Net of accumulated amortization of
$105,000 and $88,000 in 2010 and 2009, respectively                    170,000          187,000

PROPERTY AND EQUlPMENT -           Net of acc·umulated
 depreciation                                                        4,822,690        4,805,635

OTHER ASSETS                                                           970,102          789,993

TOTAL                                                           $ 113,346,881     $101,180,581


                                                                                   (Continued)




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ROCHESTER DRUG COOPERATlVE, INC.

CONSOLIDATED BALANCE SHEETS
AS OF MARCH 31, 2010 AND 2009


                                                                       2010               2009
LIABILITIES ANO SHAREHOLDERS' EQUITY

CURRENT LIABILITIES:
 Mortgage payable - current portion                             $      236,243     $       223,346
 Accounts payable                                                   55,805,423          46,919,200
 Customer deposits                                                   6,199,199           5,750,510
 Accrued payroll, related taxes, and withholdings                      453,768             182,600
 Dividends payable                                                   5,252,168           2,053,658
 Other accrued expenses                                              1,667,875             969,622
 Income taxes payable                                                  560,300

       Total current liabilities                                     70,174,976         56,098,936

NONCURRENT DEFERRED TAX LIABILITY                                                          64,335

OTHER NONCURRENT LIABILITIES                                           145,013             96,108

MORTGAGE PAYABLE- Noncurrent portion                                  1,604,107          1,835,583

LONG-TERM DEBT                                                      30,000,000          33,159,390

       Total liabilities                                            101,924,096         91z254,352

SHAREHOLDERS' EQUITY:
 Preferred shares, $5 -par value - authorized 500,000 shares;
  208,670 and 214,632 shares issued and outstanding in
  2010 and 2009, respectively                                         1,043,3 50         1,073,160
 Voting common shares, $5 par value -authorized
  60,000 shares; 174 and 139 shares issued aod outstanding
  in 20 IO and 2009, respectively       ·                                   870               695
 Nonvoting common shares, $0.01 par value - authorized
  10,000 shares; 204 and 211 shares issued and ou1standing
  in 2010 and 2009, respectively                                              2                  2
 Additional paid-in capita!                                           2,410,550          1,714,253
 Retained earnings                                                    7,968,013          7,138,119

       Total shareholders' equity                                    11,422,785          9,926,229

TOTAL                                                           $113,346,881       $101,180,581


See notes to consolidated financial statements.                                        (Concluded)




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 ROCHESTER DRUG COOPERATIVE, INC.

 CONSOLIDATED STATEMENTS OF EARNINGS
 FOR THE YEARS ENDED MARCH 31, 2010 AND 2009


                                                                 2010                               2009
                                                                        Percent of                         Percent of
                                                        Amount          Net Safes          Amount          Net Sales

 NET SALES                                        $ 634,528,666           I00.00 %   $563,047,439            I00.00 %

 COST OF GOODS SOLD- Net of
  purchase discounts of$13,942,971
  and $12,,289,927 in 2010 and 2009,
  resp~tively                                         614,619,878         96.86          545,436,162         96.87

 GROSS PROFIT ON NET SALES                             19,908,788          3.14           17,6I 1,277         3.13

 SELLING, GENERAL, AND
  ADMINlSTRATIVE EXPENSES                              11,330,279           1.79          12,463,592          2.21

 DELIVERY EXPENSE                                       2,727,976          0.43           2,976,969           0.53

 DEPRECIATION AND AMORTIZATJON                           285,473           0.04             283,375           0.05

 JNTEREST EXPENSE                                        945,953           0.15            1,648,778          0.29

LEGAL SEITLEMENTS                                       (107,952)         (0.02)

OTHER JNCOME - Net                                     (1,899,869)        (0.30)          (I ,963,906)       (0.35)

EARNfNGS BEFORE PATRONAGE
 DIVIDEND AND INCOME TAXES                             6,626,928           1.04           2,202,469           0.40

FEDERAL INCOME TAX                                       449,221           0.07              87,118          (0.02)

STATE INCOME TAX                                          95,645           0.02              15,912

EARNINGS BEFORE PATRONAGE
 DIVIDEND                                              6,082,062           0.96           2,099,439           0.38

PATRONAGE DIVIDEND                                     5,200,000           0.82           2,003,973           0.36

NET EARNINGS                                      $      882,062           0.14 %    s       95,4<>6          0.02 %


See notes to consolidated financial statements.




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ROCHESTER DRUG COOPERATIVE, INC.

CONSOLIDATED STATEMENTS OF SHAREHOLDERS' EQUITY
FQR THE YEARS ENDED MARCH 31~10 ANO 2009


                                                  Nonvoting              Voting                                            Additional
                                               Common Shares        Common Shares                  Preferred Stock          Paid-In      Retained
                                               Share& Par Value     Shares Par Vi11lue          Shares       Par Value      Capital      Earnings          Total

BALANCE - March 31, 2008                           36     $ -        141      $705             $214,632    $1,073,160     $1,814,945    $7,096,311    $   9,985,121

 Stock dividend                                     36

 Stock dividend                                    140          2                                                                 (2)

 Preferred stock dividend                                                                                                                  (53,658)         (53,658)

 Redemplion ofshares                                (I)                 (2)    (10)                                         (100,690}                      (100,700)

 Net earnings for the yellT ended
  March 31, 2009
                                               -- --                --        --                                                            95 466          95,466

BALANCE - March 3 I, 2009                          211          2    139       695              214,632      1,073, 160    1,714,253     7,138,119        9,926,229

 Tssuance of common stock                                               40     200                                           999,800                      1,000,000

 Preferred stock dividend                                                                                                                  (52,168)         (52,168)

 Redemption of shares                               (7)                 (5)    {2S)              (5,962)       (29,810)     (303,503)                      (333,338)

 Net earnings for the year ended
  March 31, 2010
                                               --         --        --        --                                                           882,062         882,062

BALANCE-March 31, 2010
                                               -   204    Ll        -174      ll1Q.            $208,670    $1,043,350     $2;410,550    S 7.968,013   $11,422,785


See notes to consolidaJcd financi11l statements.




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ROCHESTER DRUG COOPERATIVE, INC.

CONSOLIDATED STATEMENTS OF CASH FLOWS
FOR THE YEARS ENDED MARCH 31, 2010 AND 2009


                                                                                      2010                 2009
OPERATING ACTIVITIES:
 Earnings before patronage dividend                                            $     6,082,062     $      2,099,439
 Adjustments to rewncile earnings before cash patronage dividend to net cash
  provided by operating activities:
  Depreciation and amortization                                                        695,872              664,968
  (Gain) loss on sale of property and equipment                                        (18,624)              62,423
  Deferred income taxes                                                               (362,697)              86,469
  Bad debt expense                                                                     413,454              353,900
  Changes in assets and liabilities:
   Increase in accounts receivable                                                  (9,005,528)          (S,229,209)
   Decrease In merchandise inventories                                               l,000,270               46,596
   Increase in prepaid expenses and other assets                                      (250,333)            (124,694)
   Increase in accounts payable                                                      8,785,047            3,689,349
   Increase in customer deposits                                                       448,689              751,698
   Increase (decrease) in accrued payroll, related taxes, and withholdings             271,168              (82,640)
   Increase ln other accruc:d expenses                                                 747, 158             31 5,293
   Increase (decrease) in income taxes payable                                         560,300             {2801983)
       Net cash provided by operating activities                                    91366,838             2,3521609
INVESTING ACTIVITIES:
 Notes receivable issued during the year                                            (4,263,014)          (1,994,900)
 Payments received on notes receivable                                               3,426,928            3,430,379
 Additions to property and equipment                                                  (703,932)            (420,267)
 Cash received on disposal of property and equipment                                    261629               72400
       Net cash (used in) provided by investing activities                          {1 1513,389)          1.087,612
HNANCJNG ACnVJTIES:
 Borrowings on note payable to bank                                                 94,117,889           I 00,951,707
 Payments on note payable to bank                                                  (97,277,279)        ( l 02.792,316)
 Payments on mortgage payable to bank                                                 (21 8,579)             (202,235)
 Issuance of shares of stock                                                         1,000,000
 Retirement ofshares of srock                                                         (232,162)            (100,700)
 Patronage dividend                                                                 (2,001,490}          (1,503,973)
 Preferred stock dividend                                                               {52,168)             {53 1658)
       Net cash used in financing activities                                        {41663,789)          (3.701 al 75)
NET INCREASE (DECREASE) IN CASH AND CASH EQUIVALENTS                                 3,189,660             (260,954)
CASH AND CASH EQUIVALENTS- Beginning of year                                               700              261 1654
CASH AND CASH EQUIVALENTS - End of year                                        $     31 190,360    $             700
SUPPLEMENTAL DISCLOSURES OF NONCASH AND FINANCING ACTIVITIES:
 Cash paid for interest                                                        $      959,103      $      1,7061938
 Cash paid for income taxes                                                    $      344.,557     $        2021996
 Payable incurred for purchase and retirement ofshares                         $       JOl,176     $


See notes to consolidated financial statements.




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ROCHESTER DRUG COOPERATIVE, INC.

NOTES TO CONSOLIDATED FINANCIAL STATEMENTS
AS OF ANO FOR THE YEARS ENDED MARCH 31, 2010 AND 2009


1.    ORGANIZATIO~ AND SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES

      Organization - The consolidated financial statements consist of Rochester Drug Cooperative, Inc. and
      its wholly owned inactive subsidiary SourceOne Services, Inc. ("SourceOne") collectively (the
      "Cooperative"). Intercompany transactions have been eliminated.

      The Cooperative is a New York Cooperative Corporation, funned in 1905 and incorporated in 1948. lts
      principal business is to warehouse, merchandise, and then distribute, on a cooperative basis, drugs,
      phannaceutical supplies, and other merchandise commonly sold in drug stores, pharmacies, and health
      and beauty stores, together with equipment and supplies commonly used in the mainte nance and
      operation of drug stores, pharmacies, health and beauty stores, and durabJe medical equipment
      businesses. The Cooperative currently distributes pharmaceutical and other related products from its
      distribution center in Rochester, NY, principally to independent pharmacies in New York, Pennsylvania,
      New Jersey, Connecticut and Ohio.

      Use of Estimates - The preparation of financial statements in conformity with accounting principles
      generally accepted in the United States of America (GAAP) requires management to make estimates and
      assumptions that affect amounts reported in the consolidated financial statements and accompanying
      notes. Actual results could differ from those estimates. Estimates include, but are not limited to, the
      allowance for doubtful accounts, the allowance for doubtful notes receivable, merchandise inventories,
      long·lived assets, and taxes.

      Fair Value of Financial Instruments - The Cooperative ' s financial instruments consist of cash,
      accounts receivable, notes receivable, accounts payable, and debt. The carrying amounts of these
      financial instruments approximate their fair value.

      Cash and Cash Equivalents - Cash and cash equivalents include cash, trade deposits, money market
      funds and fixed income securities with original maturities less than ninety days.

      Accounts Receivable - The Cooperative accounts for receivables at outstanding billed amounts, net of
      allowances for doubtful accounts. The Cooperative estimates its allowance for doubtful accounts based
      on a specific analysis of accounts that management believes are not collectible. The Cooperative
      periodically reviews the accounts included in the allowance to determine those to be written off.

      Inventories - Inventories are stated at the lower of cost or market. Cost is detennined under the last.in,
      first-out (LIFO) method.

      Notes Receivable - The Cooperative periodically issues notes to phannacies to help finance their
      start-up costs. The notes are at cost in the consolidated balance sheets and are reviewed periodically for
      colJectabiJity based on payment history and financial status. The·associated provision for uncollectible
      amounts is included within selling, general, and administrative expenses on the consolidated statements
      of earnings.




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 Intangible Asset - Intangible asset consists of a customer list acquired by the Cooperative. This asset
 is being amortized over 15 years, which is representative of the expected remaining useful life. The
 Cooperative evaluates this intangible asset for irnpainnent whenever events or changes in circumstances
 indicate that the carrying value may not be recoverable from its estimated future cash flows. No
 impainnent was indicated as of March 31, 2010 and 2009.

 Amortization expense was $ t 1,000 for each of the years ended March 3 I, 20 IO and 2009. Future
 amortization expense will be as follows: $17,000 in 2011, $17,000 in 2012, $17,000 in 2013, $17,000 in
 2014, $17,000 in 2015, and $85,000 thereafter.

 Property and Equipment - Property and equipment are stated at cost. Depreciation is computed using
 straight-line and accelerated methods over the estimated useful Jives of the assets. Maintenance, repairs,
 and renewals of minor items are expensed as incurred. Rep1acements of significant items are capitalized.
 The cost and accumulated depreciation of property and equipment sold or retired are eliminated from the
 accounting recorqs, with the related gain or loss included in other income. The estimated useful lives are
 as follows:

   Building                                                                                       40 years
   Building improvements                                                                       5-20 years
   Data processing equipment                                                                     3-5 years
   Warehouse equipment                                                                         5-10 years
   Vehicles                                                                                        3 years

The Cooperative assesses whether its property and equipment are impaired when there are events or
changes in circumstances which indicate the carrying amount of the asset may not be recoverable. No
impairment was indicated as of March 31, 2010 and 2009.

Revenue Recognition - The Cooperative recognizes revenue on shipments on the date the
merchandise is received by the customer and title transfers. Provisions for discounts, returns, and other
adjustments are provided for in the same period the related sales are recorded.

Other Income - Other income consists primarily of interest charges to past due customer accounts in
addition to interest charged on notes receivable from trade customers as described in Note 3.

Vendor Rebatest Allowances, and Chargebacks - Rebates and allowances are accounted for as a
reduction in the cost of inventory and are recognized when the inventory is sold. The Cooperative
records chargeback credits due from its vendors in the period when the sale is made to the customer.

Concentration of Credit RJsk - Financial instruments that potentially subject the Cooperative to
concentrations ofcredit risk consist primarily ofcash and trade receivables. The Cooperative places its
cash with high credit quality institutions. At times such amounts may be in excess of the Federal Deposit
Insurance Corporation insurance limits. The Cooperative has not experienced any losses in such account
and believes that it is not exposed to any significant credit risk on the accouf1l.

Income Taxes - The Cooperative accounts for income taxes by applying the asset and liability
approach. Under this method, deferred income tax assets and liabilities are established to reflect the
future tax consequences of differences between the tax and financial reporting bases ofassets and
liabilities and income tax carryforwards.




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In July 2006, the Financial Accounting Standards Board {FASB) clarified certain provisions ofFASB
Accounting Standards Codification (ASC) Topic 740, Income Tax:es (F ASB Interpretation No. 48).
These provisions create a model to address uncertainty in tax positions and prescribe a minimum
recognition thresh.old that all income tax positions must meet prior to financial statement recognition.
Any differences between the amounts recognized in the consolidated balance sheets prior to the adoption
of Topic 740 and the amounts reported after adoption are generally accounted for as a cumulative-effect
adjustment recorded to the beginning balance of retained earrings. Topic 740 was eff~ctive for the
Cooperative on April I, 2009, but did not have an impact on the Cooperative's financial position or
results of operations.

The Cooperative's policy is to recognize any interest and penalties related to unrecognized tax benefits
within the accompanying statements of earnings. Accrued interest and penalties would be included
within the related tax liability in the consolidated balance sheets. There are no interest and penalties
recognized for fiscal year 2010, and the Cooperative does not anticipate significant increases or
decreases in its uncertain tax positions within the next twelve months.

Dividend Policy - The Cooperative's preferred stock bears a noncumulative preferred dividend of 5%
per year. No dividend may be declared or paid for any fiscaJ year on the Cooperative' s voting or
nonvoting common stock until provision is made for payment of the preferred dividend. Patronage ·
dividends are calculated annually based upon the Cooperative's earnings during the most recently
concluded fiscal year. Once the aggregate amount of the patronage dividend pool has been established, it
is al located to the Cooperative's shareholders based upon their purchases. For the years ended March 3 J,
2010 and 2009, the Cooperative has declared both a preferred stock dividend and a patronage dividend
on its voting common stock.

Recent Accountiog Pronouncements - In June 2009, the FASB approved ASU 2009-01, the FASB
ASC as the single source of authoritative nongovernmental GAAP. Al I existing accounting standard
docwnents, such as FASB, American Institute of Certified Public Accountants, Emerging Issues Task
Force and other related literatJ,tre, excluding guidance from the Securities and Exchange Commission
("SEC"), have been superseded by the ASC. All other non-grandfathered, non-SEC accounting literature
not included in the ASC has become nonauthoritative. The ASC did not change GAAP, but instead
introduced a new structure that combines all authoritative standards into a comprehensive, topically
organized online database'. The ASC became effective for the Cooperative in fiscal year 2010 . There
have been no changes to the content ofthe Cooperative's consolidated financial statements or
disclosures as a result of implementing the ASC.

In May 2009, the FASB issued FASB ASC Topic 855, Subsequent Events (FASB Statement No. 165),
to establish general standards of accounting and disclosures for events that occur after the balance sheet
date, but before financial statements are issued or are available to be issued. Application of ASC
Topic 855 was required for annual financial periods ending after June 15, 2009, as disclosed in Note 13.

In October 2009, the FASB issued ASU 2009-17, Consolidations (ASC Topic 810), Improvements to
Financial Reporting by Enterprises Involved with Variable Interest Entities. This update amends the
 codification for the issuance of F ASB Statement No. 167, Amendments to F ASB Interpretation
No. 46(R). The amendments in this update replace the quantitative-based risks and rewards calculation
for determining which reporting entity, if any, has a controlling financial interest in a variable interest
entity with an approach focused on identifying which reporting entity has the power to direct the
activities of a variable interest entity that most significantly impact the entity's economic performance
and (I) the obligation to absorb losses of the entity or (2) the right to receive benefits from the entity. An
approach that is expected to be primanly qualitative will be more effective for identifying which
reporting entity has a controlling financial interest in a variable interest entity. The amendments in this



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     update also require additional disclosures about a reporting entity's involvement in variable interest
     entitie~ which will enhance the infonnation provided to users of financial statements. This update is
     effective at the start of a reporting entity's first fiscal year beginning after November 15, 2009. Early
     application is not permitted. T~e Cooperative has not evaluated the effects that the adoption of this
     standard will have, if any, on its consolidated financial statements.

2.   MERCHANDISE INVENTORIES

     Merchandise inventories at March 31, 20 l Oand 2009, consisted of the following:

                                                                                   2010                     2009

        Merchandi se inventories                                             $ 34,949,651          $33,505,935
        LIFO reserve                                                          (l l ,989,521 )       (9,545,535)

       TotaJ merchandise inventories                                         $ 22,960,130          $23 ,960,400

     The following summary infonnation for the years ended March 3 1, 20 l O and 2009, for the Cooperative
     assumes inventories are stated on a first-in, first-out basis:

                                                         2010                                   2009
                                                                Percent of                              Percent of
                                                Amount          Net Sales          Amount               Net Sales

       Net sales                           $ 634,528,666          100.00 %     $563,047,439                 100.00 o/o
       Cost of goods sold                      612,175,892          0.96        543,356,765                  96.50

       Gross profit on net sales           $ 22,352,774             3.52 %     $ 19,690,674                   3.50 %

       Eamings before patronage
        dividend and income taxes          $     9,066,371          1.43 %     $   4i l 78,836                0.74 %

     During the fiscal years e nded March 3 I , 20 IO and 2009, certain inventory quantity reductions caused a
     LIFO liquidation of LIFO inventory values. The liquidations increased earnings before patronage
     dividend and income taxes by approximately $454,041 and $16,000 in 20 l O and 2009, respectively.

3.   NOTES RECEIVABLE

     The Cooperative has notes rece ivable from trade customers at March 31, 2010 and 2009. Principal and
     interest are payable monthly, and the principal repayment terms range from one to three years. Interest
                                                                                                       at
     charged on the notes is generally based on the current prime lending rate plus 2% (5 .25% March 31,
     2010 and 2009). $176,206 and $359,702 of interest income was recorded for the years ended March 31,
     2010 and 2009, respectively. The Cooperative has obtained various collateral and unconditional
     guarantees in the event of default. The Cooperative issued notes receivable of $4,263,014 and
     $1,994,900 for the start-up and operation of customer phannacies during the years ended March 3 I,
     2010 and 2009. respectively.




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4.     PROPERTY AND EQUIPMENT

       Property and equipment at March 31, 2010 and 2009, consisted of the following:

                                                                                    2010                2009
          Land                                                                $      575,000     $      575,000
         Building and improvements                                                 3,938,238          3,934,448
         Data processing equipment                                                 5,378,060          5,352,748
         Warehouse equipment                                                       2,025,152          l,665,625
         Vehicles                                                                   408,288            418,549
         Construction in progress                                                    33,817              11,936

                                                                                  12,358,555         I 1,958,306
         Less accumulated depreciation                                            7,535,865          7,152,671

         Property and equipment -    net                                      $ 4,822,690       $ 4,805,635

       Depreciation expense was $678,872 and $647,968 for the years ended March 31, 2010 and 2009,
       respectively, of which, $410,399 and $381,593, respectively, is. included within cost of goods sold in the
       consolidated statements ofearnings for each of the years then ended.

5.     MORTGAGE PAYABLE AND LONG-TERM DEBT

       Long-term debt at March 31, 2010 and 2009, consisted of the following:

                                                                                    2010               2009
         Long-term debt                                                       $30,000,000       $33,159,390
         Mortgage payable                                                       1,840,350         2,058,929

                                                                               31,840,350        35,218,319
         Less current portion of mortgage payable                                  (236,243)          (223,346)

         Long-term mortgage payable and long-tenn debt                       $31,6041107        $ 34,994i973

       The Cooperative has a Revolving Line of Credit Agreement (the "Credit Agreement") with a bank ·
       pursuant to which the Cooperative may borrow, subject to certain !imitations, up to $70,000,000. The
       Credit Agreement was amended to reflect a range of interest rates effective October I, 2008, based on
       the level of cash flow coverage. These rates range from prime to prime plus 0.25% or LIBOR plus 1.4%
      to LJBOR plus 1.8% depending on the coverage ratio. The Credit Agreement provides for interest equal
      to the prime rate announced from time to time by the bank (3 .25% at March 31, 20 I0) or, at the
      Cooperative's option, various London lnterBank Offered Rate (LJBOR) interest rates plus 1.40%
      (effective rate of l.65% at March 31, 2010). At March 31, 2010, all of the debt was at LIBOR inten:st
      rates. The Credit Agreement terminates October 31, 2011, unless an event of default occurs prior to that
      date. The Cooperative's borrowings are secur.ed by theCooperative's accounts receivable, inventory,
      equipment, and by an insurance policy on the life of the chief executive officer. The·Credit Agreement
      afso provides for the maintenance of a financial covenant, which is a modified cash flow coverage ratio.




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       The Cooperative's mortgage payable on its administrative and warehouse facility in Rochester, NY,
       bears interest at 7.69%. The mortgage stipulates monthly payments consisting of principal and interest
       ammmting to $30,949 through April I, 201 l, with a remaining balance due at that date. Scheduled future
       principal payments of the mortgage payable are $242,965 in 2011 and $1,584,731 in 2012.

      The fair value of long-term debt approximated the canying value based on current rates available to the
      Cooperative for debt with similar maturities.

6.    CUSTOMER DEPOSITS

      Customers may deposit funds with the Cooperative. Customers receive interest on their deposits
      quarterly based on a variable rate ( 1.15% and 1.49°/o at March 31, 20 l Oand 2009, respectively).
      Deposits may be withdrawn by customers quarterly. Interest paid on customer deposits for the years
      ended March 31, 2010 and 2009, was $74,93 t and $164,986, respectively.

7.    EMPLOYEE BENEFIT PLANS

      Defined Contribution Plan -The Cooperative sponsors a defined contribution 401 (k) plan for its
      employees. All employees are eligible to participate in this plan after one year of service. The plan
      allows employees to participate by contributing a portion of their compensation subject to the annual
      contribution limit imposed by the Internal Revenue Code. The plan provides for matching by the
      Cooperative. The Cooperative's matching contributions to this plan totaled $190,875 and $183,672 for
      the years ended March 31, 2010 and 2009, respectively.

      Deferred Compensation Plan -The Cooperative sponsors a Supplemental Executive Retirement Plan
      to provide retirement and survjvor benefits for select key employees. Benefits under this plan constitute
      nonqualified deferred compensation for purposes of Section 409A of the Internal Revenue Code of 1986
      as amended together with the Treasury Regulations and other official guidance issued there under. The
      benefits for each employee are discounted from their expected payout dates and discounted at 6% to
      determine the current liability.

8.    LITIGATION SETTLEMENTS

      The Cooperative recorded income from two litigation settlements totaling $107,952 during the year
      ended March 31, 2010. The settlements resulted from the casl1 recovery of a class action claim from the
      In Re (hcon Antitrust Litigation and In Re TriCor Indirect Purchasers Antitrust LWgatio11 related to
      restraint of trade and overpricing of certain pharmaceutical products.




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9.    INCOME TAXES

      The provisions for income taxes for the years ended March 3 J, 2010 and 2009, consist of the following:

                                                                                         2010          2009

        Current tax provisions:
         Federal                                                                   $   742,976     $ 14,316
         State                                                                         164,587         2,245

                  Current tax provision                                                907,563        16,561

        Deferred tax provision (benefit):
         Federal                                                                       (293,755)      72,802
         State                                                                          (68,942)      13,667

                  Deferred tax provision {benefit)                                     (362,697)      86,469

        Tax provision                                                              $ 544,866       $1032030

      The Cooperative's deferred tax assets (liabilities) as of March 3 J, 2010 and 2009, consist of the
      following:

                                                                                        2010          2009

        Current:
         Allowance for doubtful accounts and notes                                $ 730,0 18       $ 569,400
         Inventory                                                                     341,891        19,892
         Net operating loss carryfoiwards                                                             99,564
          Partnership basis differences                                             (385,114)       (267,793)
          Other                                                                                       (7,753)

                  Net current tax asset                                                686,795       413,310

        Accrued pension                                                              227,951
        Other -     primarily basis difference in fixed assets                      (203,074)        (64,335)

                  Noncurrent tax asset                                                  24,877       (64,335}

        Net deferred tax asset                                                    $ 711,672        $ 348,975

      The Cooperative's effective tax rate and staMory tax rate differ due to state taxes. The Cooperative does
      not currently maintain a valuation allowance because realization of the deferred tax assets is considered
      more. likely than not.

      The Cooperative is subject to taxation in the US and multiple states. As of Mar.ch 31, 2010, the
      Cooperative's tax years for 2007, 2008, 2009, and 2010 are subject to examination by the tax authorities.




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   10. RELATED-PARTIES

       The Cooperative owns approximately I% of the outstanding capital stock of Pharmacy
       Productions, Inc., a voluntary organization, which conducts business as Quality Care Phannacies
       ("Quality Care"). Quality Care was organized to provide independent pharmacies with a common
       marketing identity, group advertising, promotional activities, and group purchasing. The chief executive
       officer of the Cooperative serves as the president of Pharmacy Productions, lnc. and as a permanent
       member of its board of directors. Approximately 87% of the Cooperative's net sales for each of the
       years ended March 31, 2010 and 2009 were to members of Quality Care. The Cooperative's investment
       in Quality Care is recorded under the cost method at a carrying value of$0 as of March 31, 2010 and
       2009. Quality Care receives payments from the Cooperative in amounts equal to 0.25% of all purchases
       by the Quality Care members and 3% of the generic purchases by Quality Care members, and those
       payments were $2,837,824 and $2,457,075> included in cost of goods sold on the consolidated
       statements of earnings, for the years ended March 31, 2010 and 2009, respectively.

       The Cooperative is a founding member and owns approximately 10% of Wholesale Alliance, LLC (the
       "Alliance"), which conducts business as Phannacy First. Phannacy First is a national network of retail
       community pharmacies that share one common goal; accessing incremental revenue and operational
       programs to enhance their financial foundation while using sound professional judgment and protocols.
       The chief executive officer of the Cooperative serves on the board of managers. The Cooperative's
       investment in the Alliance of$713,098 and $556,519 is recorded under the equity method and is
       included with other assets in the accompanying consolidated balance sheets as of March 31, 201 O and
       2009, respectively.

       The Cooperative is member of Optisource, LLC and industry buying group that focuses on generic
      pharmaceuticals. The Cooperative's CEO serves on the ,Board of Directors ofOptisource, LLC.
      Optisource members make purchases from suppliers based upon terms negotiated by Optisource, LLC
      for the benefit of its members .. The suppliers pay to Optisource, LLC a fee based upon sales to members
      by the generic phannaceutical suppliers. The Cooperative is entitled to distributions, if declared, based
      upon its purchases. The amount and timing of distributions, if any, are determined by th·e Board of
      Directors of Optisource, LLC.

   11. COMMITMENTS AND CONTINGENCIES

      The Cooperative ceased operations for the fonner distribution center in New Castle, PA in October
      2006, however, remains responsible for the operating lease for this distribution center. The annual rent
      under the operating lease is $204,000 annually through December 2010. From the time the Cooperative
      closed this distribution center, various subtenants have occupied the distribution center and have been
      paying the monthly rental on a month-to-month basis. The current subtenant is in negotiations with the
      landlord to purchase the facility, which would relieve the Cooperative's lease payment obligations for
      the remaining term of the l~se. Rental expense was $233,139 and $231,403 for the years ended
      March 31, 2010 and 2009, respectively. Rental income was $231,562 and $211,747 for the years ended
      March 31, 2010 and 2009, respectively.

   12. STOCK ACTIVITY

      The Cooperative engaged in a series of transactions in September 2008 that had the effect of increasing
      the number of issued and outstanding shares of nonvoting common stock. This was accomplished by
      (j) declaration of a stock dividend of one additional share of nonvoting common stock for each issued
      and outstanding share of the Cooperative's nonvoting common stock as of the record date for such
      dividend, and, following completion of such stock dividend (ii) the declaration by the Cooperative of a



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       further stock dividend of one share of nonvoting common stock for each issued and outstanding share of
       voting common stock as of the record date for such dividend. As a result of these transactions. the
       number of issued and outstanding shares of the Cooperative' s nonvoting common stock was increased
       from 36 to 2 I 2. The number of issued and outstanding shares of the Cooperative•s voting common stock
       remains unchanged as a result of the stock dividends described above.

   13. SUBSEQUENT EVENTS

       The Cooperative has evaluated all events subsequent to March 3 l, 20 IO through the date these
       consolidated financial statements were available to be issued, June 14, 2010, and has determined that
       there are no subsequent events that require disclosure.

                                                  ******




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               Rochester Drug Cooperative~ Inco
                       Unaudited Consolidated Financial Statements as of
                       and for the Four Month Period Ended July 31, 2010




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   ROCHESTER DRUG COOPERATiVE, INC.

   CONSOLIDATED BALANCE SHEET (UNAUDITED)
   AS OF JULY 31, 2010


   ASSETS

   CURRENT ASSETS:
       Cash                                                            $       584,159
        Accounts Receivable ~ net of allowance for doubtful accounts
        of $1,709,863                                                       81,372,408
        Merchandise Inventories                                             28,015,284
        Current portion of notes receivable                                  2,346,785
        Prepaid expenses and other current assets                              509,062
        Deferred income tax assets                                            711,672

              Total current assets                                         113,539,370

   LONG-TERM PORTION OF NOTES RECEIVABLE -
        Net of allowance for doubtful notes receivable of $500,000           3,150,058

   INTANGIBLE ASSET - Nat of accumulated amortization
    of $110,667                                                               164,333

   PROPERTY AND EQUIPMENT - Net of accumulated                               4,964,856
   depreciation

   OTHER ASSETS                                                               802,334

   TOTAL                                                               $ 1'22,620,951



                                                                            {Continued)




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   ROCHESTER DRUG COOPERATIVE, INC.

   CONSOLIDATED BALANCE SHEET (UNAUDITED)
   AS OF JULY 31, 2010


   LIABILITIES AND SHAREHOLDERS• EQUITY

   CURRENT UABIUTIES:
       Mortgage payable - current portion                                $        2·36,243
       Accounts payable                                                        67,021,570
       Customer d~posits                                                        7,471,190
       Accrued payroll, related taxes and withholdings                            255,094
       Dividends payable                                                           16,692
       Other accrued expenses                                                   1,155,184
       Income taxes payable                                                       180,340

                 Total current liabilities                                     76,336,513

   OTHER I\JONCURRENT LIABILITIES                                                 810,631

   MORTGAGE PAYABLE- Noncurrent portion                                         1,527,500

   LONG-TERM DEBT                                                              30.283,445

         Total Liabilities                                                    108,958,089

   SHAREHOLDERS EQUITY:
       Preferred shares. $5 par value - authorized 500,000 shares:
        208,670 shares issued and outstanding                                   1,043,350
       Voting common ·shares, $5 par value - authorized 60,000 shares:
        174 shares issued and outstanding                                             870
       Nonvoting common shares, $.01 par value - authorized
        10,000; 204 shares outstanding                                                     2
       Additional paid-in capital                                               2,410,550
       Retained Earnings                                                       10,208,090

                 Total shareholders' equity                                    13,662,862

   TOTAL                                                                 $ 122,620,951



   See notes to unaudited consolidated financial statements                  (Concluded}




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ROCHESTER DRUG COOPERATIVE, INC.

CONSOLIDATED STATEMENT OF EARNINGS (UNAUDtTED)
FOR THE FOUR MONTH PERJOO ENDED JULY 31, 2010


                                                                              Percent of
                                                           Amount             Net Sales

NET SALES                                                  $231,229,412         100.00%

COST OF GOODS SOLO Net of A



purchase discounts of $5,082,457                               224,502, 187       97.09

GROSS PROFIT ON NET SALES                                        6,727,225         2.91

SELLING, GENERAL AND
ADMINISTRATIVE EXPENSES                                          3,740,440         1.62

DELIVERY EXPENSE                                                 1,044,507         0.45

DEPRECIATION AND AMORTIZATION                                       85,270         0.04

INTEREST EXPENSE                                                  282,960          0.12

LEGAL SEITLEMENTS                                                 (509,826)       (0.22)

OTHER INCOME ~ Net                                                (598,695)       (0.26)

EARNINGS BEFORE PATRONAGE
DIVIDEND ANO INCOME TAXES                                        2,682,569         1.16

FEDERAL AND STATE INCOME TAX                                      425,600          0.18

EARNINGS BEFORE PATRONAGE
DIVIDEND                                                        2,256.969          0.98

PATRONAGE DIVIDEND

NET EARNINGS                                               $    2,256,969        0.98%

See notes to unaudited consolidated financial statements




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 ROCHESTER DRUG COOPERATIVE, INC.

 CONSOLIDATED STATEMENTS OF CASH FLOWS (UNAUDITED)
 FOR THE FOUR MONTH PE.RlOD ENDED JULY 31, 2010




OPERATING ACTIVITIES:
  Earnings before patronage dividend                                         $     2,256,969
  Adjustments to reconcile earnings. before cash patronage dividend to net
   cash provided by operating activities:
   Depreciation and amortization                                                    227.263
   Gain on sale of property and equipment                                            · {3,544)
   Bad debt expense                                                                 309,863
   Changes in assets and liabilities;
    Increase in accounts receivable                                               (7,613,147)
    Increase in merchandise inventories                                           (5,055,154)
    Decrease in prepaid expenses and other assets                                    103,256
    Increase in accounts payable                                                  11,216,147
    Increase in customer deposits                                                  1,271.991
    Decrease in accrued payroll, related taxes. and withholdings                    {198,674)
    Increase in other accrued expenses                                              152,927
    Decrease in income taxes payable                                                {379,960)
       Net cash provided by operating adivities                                   2,287,937

INVESTING ACTIVITIES:
 Notes receivable Issued during the year                                          (1,197.461)
 Payments received on notes receivable                                            1,708,871
 Additions to properly and equipment                                               (365,718}
 Cash received on disposal of propeny and equipmem                                    5.500
       Net cash (used in} provi<led by investing activities                         151 .192
flNANCIN<;, ACTIVITIES:
  Borrowings on note· payable to bank                                            20,095,139
  Payments on note payable to bank                                               (19,811,694)
  Payments on mortgage payable to bank                                               (76,607)
  Patronage dividend                                                              (5,200,000)
 Preferred stock dividend                                                            (52,168)
       Net cash used in financing activities                                      {5,045,330)
NET INCREASE (DECREASE} IN CASH                                                  (2,606,201)
CASH - Beginning of year                                                          3,190,360

CASH - End of year                                                           $      584,169

SUPPLEMENTAL DISCLOSURES OF NONCASH AND FINANCING ACTIVITIES:
 Cash paid for interest                                                      $      259.341
 Cash paid for income taxes                                                  $      sos.sea
 Payable incurred for purchase and retirement of shares                      s
See notes 10 unaudited consolklated financial statements.




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       ROCHESTER DRUG COOPERATIVE, INC.

       NOTES TO UNAUDITED CONSOLIDATED FINANCIAL STATEMENTS
       AS OF AND FOR THE FOUR MONTH PERIOD ENDED JULY 31, 2010


       1.     ORGANIZATION AND BASIS OF J>.RESENTATION

             The unaudited consolidated financial statements consist of Rochester Drug Cooperative, Jnc. and its
             wholly owned inactive subsidiary SourceOne Services, Inc. {"SourceOne,.) collectively (the
             "Cooperative"). lntercompany transactions have been eliminated.

             The Cooperative is a New York Cooperative Corporation, formed in 1905 and incorporated in 1948.
             hs principal business is to warehouse, merchandise, and then distribute, on a cooperative basis,
             drugs, pharmaceutical supplies, and other merchandise commonly sold in drug stores, pharmacies,
             and health and beauty stores, together with equipment and supplies commonly used in the
             maintenance and operation of drug stores, pharmacies, health and beauty stores, and durable medical
             equipment businesses. The Cooperative currently distributes pharmaceutical and orher related
             products from its distribution center in Rochester. NY, principally to independent phannacies in
             New York, Pennsylvania, New Jersey, Connecticut and Ohio.

            The unaudited c-onsolidated financial statements are prepared on the accrual basis of accounting in
            conformity with accounting principles generally accepted in the United States of America (GAAP).
            The preparation of financial statements in conformity with GAAP requires management to make
            estimates and assumptions. These estimates and a·ssumptions affect the reported amounts of assets
            and liabilities and disclosure of contingent assets and liabilities at the date of the financial statements
            and the reported amounts of revenues and expenses during the reporting period. Actual results could
            differ from those estimates. On an ongoing basis, management reviews its estimates based on
            currently available information. Changes in facts and circumstances may result in revised estimates.

            The unaudited consolidated balance sheet as of July 31, 2010, and the unaudited consolidated
            statement of earnings and cash flows for the four month period ended July 31, 2010, have been
            prepared by the Cooperative and have not been audited. In the opinion of management, arr
            adjustments, consisting of only nonnal recurring adjustments necessary for the fair presentation of
            the financial position, results of operation and cash flows, have been made.

            The accompanying interim unaudited consolidated financial statements should be read in
            conjunction with the audited consolidated financial statements as of March 31, 2010 and 2009, and
            for each of the years then ended. Certain infonnation and footnote disclosure normally included in
            financial statements prepared in accordance with GAAP have been omitted. The results of
            operations for the four month period ended July 3 t, 2010 are not necessarily indicative of the
            operating results for the fuJf fiscal year.                     ·

  2.        LITIGATION SETILEMENTS

            The Cooperative recorded income from a litigation settlement totaling $509,826 during the four
            month period ended July 31, 2010. The settlement resulied from the cash recovery ofa class action
            c.laim from the In re Tricor Indirect Purchasers Antitnest Litigation related to restraint of trade and
            overpricing of certain pharmaceutical products.




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   3.   RECENT ACCOUNTING PRONOUNCMENTS

        In October 2009, the FASB issued ASU 2009-17, Consolidations (ASC Topic 810), Improvements
        to Financial Reporting by Enterprises Involved with Variable Interest Entities. This update amends
        the codification for the issuance of FASB Statement No. 167, Amendments. to FASB Interpretation
        No. 46(R)- The amendments in this update replace the quantitative-based risks and rewards
        calcu[ation for determining \vhich reporting entity, if any, has a controlling financjaJ interest in a
        variable interest entity with an approach focused on identifying which reporting entity has the powe1
        to direct the activities of a variable interest entity that most significantly impact the entity's
        economic performance and (l) the obligation to absorb losses of the en6ty or (2) the right to receive
        benefits from the entity. An approach that is expected to be primarily qualitative will be more
        effective for identifying which rep.orting entity has a controlling financial interest in a variable
        interest entity. The amendments in this update also require additional disclosures about a reporting
        entity's involvement in variable interest entities) which will enhance lhe infonnation provided to
        users of financial statements. Th is update is.effective at the start ofa reporting entity's lirst fi seal
        year beginning after November 15, 2009. Early application is not pennined. The Cooperative has
        adopted this standard as of Apri I l, 20 I0, and the adoption did no1 have a material impact on its
        consolidated ·financial statements.

   4.   SUBSEQUENT EVENTS

        The Cooperative has evaluatoo all subsequent events through September 21, 2010 td ensure that the
        unaudited consolidated financial statements as of and for the four month period ended July 3.I, 20 IO
        include appropriate disclosure of events both recognized in the unaudited consolidated financi~!
        statements as of July 31, 2010, and events which occurred subsequent to Juiy 31, 20 IO but were not
        recognized in the unaudited consolidated financial statements. No subsequent events which required
        recognition or disclosure were identified.




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                                               EXHIBJTB

                                       AVAILABLE DOCUMENTS*

           Credit Facility Agreement dated November 10, 2006 between Manufacturers and Traders
           Trust Company and Rochester Drug Co-operative, Inc., and aU amendments thereto and
           agreements executed in connection therewith.

           Employment Agreement dated effective as of April 1, 2005 between Rochester Drug Co-
           operative, Inc. and Laurence F. Doud, III, and all amendments and agreements executed in
           coru1ection therewith.

           Rochester Drug Co-operative, Inc. Supplemental Executive Retirement Plan, and all
           amendments and agreements executed in connection therewith.

           Lease dated 7/26/2000 between Le Frois Development, LLC as tenant and the County of
           Monroe Industrial Development Agency ("COMIDA"), for premises commonly know as
           SO Jet View Drive (containing approximately 10.8 acres) in the Town of Chili, County of
           Monroe, State of New York (as assigned to RDC on May 23, 2003).

           Payment in Lieu of Tax Agreement dated 7/26/2000 between County of Monroe
           (COMIDA) and Le Frois Development, LLC.(the ..Pilot Agreement which Pilot
           Agreement was assumed by RDC (and consented to by COMIDA) on 5/23/03.
           Restated Mortgage Note dated S/23/03 in the amount of$3,042,625.84 by RDC as maker
           to M&T Real Estate, Inc, which mortgage note is secured by (i) a certain mortgage
           executed 7/16/00 by Le Frois Development, LLC on property located at 50 Jet View Drive
           in the Town of Chili, County of Monroe, State of New York, which mortgage was
           assumed by RDC, as mortgagor, on 5/23/03; (ii) a general assignment of rents between
           RDC and M&T Real Estate, Inc. dated 5/23/03 and (iii) an Environmental Compliance and
           Indemnification Agreement between RDC and M&T Real Estate, Inc. dated 5/23/03.
           Sublease between Valley Drug Company and RDC, as subtenant, dated 12/28/05 for
           premises located at 209 Green Ridge Road, New Castle, PA, under a Primary Lease
           between Becan Development LLC and ValJey Drug dated 1/1/04, as amended by
           Amendment No. I to Lease dated 12/21/05, and related documents, subleasing alt of
           sublandlord's right, title and interest as Tenant in and to the Primary Lease.

        Agreement of Sublease between Rochester Drug Co-operative, Jnc. and Axion dated
        December 10, 2008.

        Amended and Restated Operating Agreement of Wholesale Alliance, L.L.C. dated
        November, 2007.

        Amended and Restated OptiSource, LLC Operating Agreement, and OptiSource, LLC
        New Member Participation Agreement dated June 1, 2007.

    *      Certain agreements are subject to confidentiality restrictions, and may require the
    execution ofnon-disclosure agreements or consents ofthird parties prior to review.
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        Description: Exhibit C - Declaration of David Greenblatt, Page 67 of 176
                                   EXHIBJTC

                        FORM OF SUBSCRIPTION AGREEMENT




3S7172_5



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 SUBSCRIBER



 FEDERAL EMPLOYER lOENTIFICATION NUMBER



                             ROCHESTER DRUG CO-OPERATIVE, INC.



                                   SUBSCRJPTION AGREEMENT



                         Under Confidential Summary Offering Statement
                                   Dated September 21, 2010



 Rochester Drug Co·operative, Inc.
 50 Jet View Drive
 Rochester, New York 14624

 Attention: Board of Directors

 Ladies and Gentlemen:

      1.   The undersigned has received and read the Confidential Summary Offering
Statement dated September 21, 2010 and all of the Exhibits thereto (collectively, the "Offering
Documents"), concerning the offering made by Rochester Drug Co-operative, Inc. (the
"Company'), of thirty seven (37) shares of its Voting Common Stock, par value $5.00 per share,
(the "Shares"). The undersigned, intending to be legally bound, hereby subscribes for the Shares
described on page 6 hereof, and as payment therefor hereby tenders herewith either (i) cash or a
check backed by good, negotiable funds; in the amount set forth on page 6 hereof representing
the full payment of the subscription price, or (ii) (a) cash or a check backed by good, negotiable
funds, in the amount of $10,000, representing partial payment of the subscription price, and (b} a
fully executed and delivered Promissory Note (in the original principal amount of $16,500,
representing the balance of the subscription price) and Pledge Agreement {with Stock Power
attached) in the forms attached hereto as Annexes land 2.

      2.     This subscription is irrevocable by the Subscriber, except as otherwise set forth
herein. The Company shall have the right to reject this subscription in its sole discretion for any
reason. Upon such rejection, all funds tendered shall be returned to the undersigned, without
interest or deductions of any kind.




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       3.    The undersigned acknowledges that: (a) he has read the Offering Documents and
 has evaluated the risks of investing in the Shares; (b) he is able to bear the economic risk of such
 investment; and (c) the Shares have not been and will not be registered under the Securities Act
 of 1933, as amended (the "l 933 Act"). The undersigned represents that he has had the
 opportunity to ask questions of, and receive answers from, representatives of the Company
 concerning the tenns and conditions of this transaction and the information presented in the
 Offering Documents. Any questions raised have been answered to the satisfaction of the
 undersigned. The undersigned's decision to purchase Shares is based solely on the information
 in the Offering Documents and on the written answers to such questions as the undersigned has
 raised concerning the transaction.

       4.   By executing this Agreement, the undersigned agrees to be bound by and comply
 with the By-laws. the Certificate of Incorporation and the rules and regulations of the Company,
 as each may be amended from time to time. Without limiting the generality of the foregoing. the
 undersigned specifically agrees and acknowledges that:

                  (a) In accordance with the Company's By-laws and Certificate of Incorporation,
           shares of Voting Common Stock owned by a shareholder which does not own a licensed
           phannacy or which fails to make purchases from the Company of at least $500,000 (as
           such amount may be amended from time to time) during the preceding fiscal year (or a
           pro-rated portion of $500,000, as such amount may be amended from time to time, for any
           partial fiscal year in which the undersigned is a shareholder of the Company) are subject to
           redemption at the option of the Company, at net book value per share (as defined in the
           Company's Certificate of Incorporation and By-laws). plus previously declared and unpaid
           dividends, less amounts owed by the shareholder to the Company.

                 (b) In accordance with the Company's By-laws and Certificate of Incorporation,
           the Company is granted a first right to purchase any shares of Voting Common Stock
           presented to the Company for transfer. Any such purchase shall be at net book value per
           share (as defined in the Company's Certificate of Incorporation and By-laws) of Voting
           Common Stock plus previously declared and unpaid dividends, less amounts owed to the
           Company by the shareholder.

                  (c) ln accordance with the Company's By-laws and Certificate of Incorporation,
           the Company may refuse to consent to the transfer of Shares if a transferring shareholder is
           indebted to the Company, for purchases of inventory or otherwise, until such indebtedness
           is paid.

       5.    The undersigned acknowledges and understands that the purchase price pursuant to
the Offering of the Company's Shares is $26,500 per share, which is less than the net book value
per share of the Company's Shares as of March 31, 20l0, the conclusion of the Company's most
recently completed fiscal year. The widersigned agrees and acknowledges that the Company's
net book value per share as of the date of this Subscription Agreement, or as of March 31, 2011,
the last day of the Company•s current fiscal year, may be higher or lower than the net book value
per share as of March 31, 2010, and may be higher or lower than the purchase price for the
Shares.
                                                     2

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        Description: Exhibit C - Declaration of David Greenblatt, Page 70 of 176
       6.    The undersigned represents to the Company that it is purchasing Shares for its own
 account, for investment, and not with a view to, or for resale in connection with, any distribution
 thereof. The undersigned does not have any present intention of selling or otheiwise transferring
 the Shares subscribed for or any interest therein. The undersigned acknowledges and agrees that
 such Shares may not be sold, transferred, pledged or otherwise disposed of without registration
 under the 1933 Act and applicable state securities laws or in accordance with applicable
 exemptions therefrom. lf the undersigned is a resident of the Commonwealth of Pennsylvania,
 the undersigned agrees that it may not sell the Shares for a period of 12 months from the date of
 this Subscription Agreement except in accordance with Regulation 204.011 of the Pennsylvania
 Securities Act of 1972.

      7.    The undersigned acknowledges that no representations or promises have been made
concerning the marketability or value of the Shares. Except as otherwise set forth in this
Agreement, the Company has not agreed with or represented to the undersigned that the Shares
will be purchased or redeemed from the undersigned at any time in the future. Furthert there
have been no representations, promises or agreements that the Shares will be registered under the
1933 Act at any time in the future or otherwise qua1ified for sale under applicable securities
Jaws. The Company does not now file reports with the Securities and Exchange Commission
(the "Commission") or otherwise make available to the public such information concerning itself
as would permit its shareholders to use Rule 144 of the Rules and Regulations promulgated
under the 1933 Act ("Rule 144") for transfer of the Shares, and there is no requirement that the
Company do so in the future or take any other action to make available any other exemption
from the registration requirements of the 1933 Act.

      8.    The undersigned W1derstands and agrees that the Shares may not be sold, transferred,
pledged or otherwise disposed of in the absence of either an effective registration statement
covering the Shares under the 1933 Act and relevant state securities laws, or an exemption from
such registration requirements. The undersigned acknowledges that: (a) a notation will be made
on the appropriate records of the Company so that transfers of the Shares will not be effected on
those records without compliance with those restrictions; and (b) the Commission has taken the
position in various releases that persons who offer to selJ restricted securities such as the Shares
without reliance on Rule 144 are to be on notice that, in view of the broad remedial purposes of
the 1933 Act and of public policy which supports registration, they will have a substantial burden
of proof establishing that an exemption from registration is available for such offers or sales. In
view of the foregoing restrictions, the undersigned understands and acknowledges that it must
continue to bear the economic risk of its investment in the Shares for an indefinite period of time.

      9.    The rights and duties of the undersigned under this Subscription Agreement are not
assignable without the written consent of the Company. The provisions of this Subscription
Agreement shall be binding upon the successors, permitted assigns and legal representatives of
the undersigned.

      10. The representations and warranties made by the undersigned herein are made with
the intent that they be relied upon by the Company in determining the suitability of the
undersigned as a purchaser of the Shares. In addition. the undersigned undertakes to notify the
                                                 3

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 Company immediately_ of any change in any representation, warranty or other information
 relating to the undersigned set forth herein. The undersigned hereby agrees that such
 representations and warranties and any agreements, undertakings and acknowledgments herein
 shall survive the purchase of the Shares, and hereby inderrmifies the Company and its officers
 and directors and holds them hannless from and against any and all loss, damage, liability or
 expense, including costs and reasonable attorneys' fees, which they may incur by reason of or in
 connection with the undersigned's misrepresentation or breach of representation, warranty or
 covenant set forth herein.

       11. The undersigned represents that: (a) if it is a corporation or other entity, it is duly
 organized, validly existing and in good standing under the Jaws of the state in which it was
 fonned and has all the requisite power and authority to invest in the Shares as provided herein;
 (b) such investment does not result in any violation of, or conflict with, any term of any
 instrument to which the undersigned is bound or any laws or regulations applicable to it; (c) such
 investment has been duly authorized by aH necessary action on behalf of the undersigned; (d)
 this Subscription Agreement has been duly executed and delivered on behalf of the undersigned
 and constitutes a legal, valid and binding agreement of the undersigned; and (e) the undersigned
 has not been formed for the specific purpose of acquiring the Shares.

       12. Whenever used herein, the masculine pronoun shall include the feminine and neuter,
 as appropriate in the context.

       13. If the undersigned has elected to deliver partial payment for the Shares subscribed
 for hereby by delivery to the Company of a Promissory Note in the fonn attached hereto as
Annex I (the "Promissory Note"), the undersigned acknowledges and understands that he will
be deemed to be a shareholder of the Company upon delivery to the Company of the Promissory
Note and the related Pledge Agreement and Irrevocable Proxy (with Stock Power attached) in the
fonn attached hereto as Annex 2 {the "Pledge Agreement") and this Subscription Agreement,
and as such will be entitled to receive patronage dividends to the extent declared and paid by the
Company prior to the repayment in ful1 of the Promissory Note, in an amount detennined pro-
rata, based upon the undersigned's purchases from the Company after becoming a shareholder of
the Company. However, in the event the Promissory Note is not repaid in full by the subscriber
on or prior to March 18, 2011, or in the event of certain other events of default as set forth in the
Promissory Note, the undersigned will forfeit any patronage dividend previously paid or payable
with respect to periods on or prior to March 31, 2011, and the Company      wm  have certain rights
as a secured creditor pursuant to the Pledge Agreement. Without limiting the generality of the
foregoing, if the Promissory Note is not paid in full by March 18, 2011, the undersigned hereby
grants to the Company the right to repurchase the Shares subscribed for hereby by re-paying to
the undersigned the principal amount paid by the undersigned to the Company prior to the
delivery by the Company of notice of its intent to exercise its re-purchase rights hereunder.
Upon such repurchase by the Company, an of the undersigned's rights in and to the Shares shall
be cancelled, and the undersigned hereby forfeits and agrees to repay to the Company any
patronage dividend previously paid or payable to the undersigned by the Company with respect
to periods on or prior to March 31, 20 I 1.



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        Description: Exhibit C - Declaration of David Greenblatt, Page 72 of 176
 FOR PENNSYLVANIA RESIDENTS ONLY

 IF YOU HA VE ACCEPTED AN OFFER TO PURCHASE THESE SECURITIES MADE
 PURSUANT TO A PROSPECTUS WHICH CONTAINS A WRIITEN NOTICE
 EXPLAINING YOUR RIGHT TO WITHDRA\V YOUR ACCEPTANCE PURSUANT TO
 SECTION 207(M)(l) OF THE PENNSYLVANIA SECURITIES ACT OF 1972t YOU
 MAY ELECT, WITHIN TWO BUSINESS DAYS AFTER THE FIRST TIME YOU HA VE
 RECEIVED THIS NOTICE AND A PROSPECTUS (WHICH IS NOT MATERIALLY
 DIFFERENT FROM THE FINAL PROSPECTUS) TO WITHDRAW FROM YOUR
 PURCHASE AGREEMENT AND RECEIVE A FULL REFUND OF ALL MONIES PAID
 BY YOU. YOUR WITHDRA \.VAL WILL BE WITHOUT ANY FURTHER LIABILITY
 TO ANY PERSON. TO ACCOMPLISH THIS WITHDRAWAL, YOU NEED ONLY
 SEND A WRITTEN NOTICE (INCLUDING A NOTICE BY FACSIMILE OR
 ELECTRONIC MAIL) TO THE ISSUER (OR UNDERWRITER IF ONE JS LISTED ON
 THE FRONT PAGE OF THE PROSPECTUS) INDICATING YOUR INTENTION TO
 \.VITHDRAW.

IF YOU HA VE ACCEPTED AN OFFER TO PURCHASE THESE SECURITIES AND
HAVE RECEIVED A WRITTEN NOTICE EXPLAINING YOUR RIGHT TO
WITHDRAW YOUR ACCEPTANCE PURSUANT TO SECTION 207(M)(2) OF THE
PENNSYLVANIA SECURITIES ACT OF 1972, YOU MAY ELECT, WITHIN TWO
BUSINESS DAYS FROM THE DATE OF RECEIPT BY THE ISSUER OF YOUR
BINDING CONTRACT OF PURCHASE OR, IN THE CASE OF A TRANSACTION IN
WHICH THERE IS NO BINDING CONTRACT OF PURCHASE, WITHIN TWO
BUSINESS DAYS AFTER YOU MAKE THE INITIAL PAYMENT FOR THE
SECURITIES BEING OFFERED, TO WITHDRAW YOUR ACCEPTANCE AND
RECEIVE A FULL REFUND OF ALL MONIES PAID BY YOU. YOUR
WITHDRAWAL OF ACCEPTANCE WILL BE WITHOUT ANY FURTHER
LIABILITY TO ANY PERSON. TO ACCOMPLISH THIS WITHDRAWAL, YOU NEED
ONLY SEND A WRITTEN NOTICE (INCLUDING A NOTICE BY FACSIMILE OR
ELECTRONIC MAIL) TO THE ISSUER (OR PLACEMENT AGENT IF ONE IS
LISTED ON THE FRONT PAGE OF THE OFFERING MEMORANDUM)
INDICATING YOUR INTENTION TO WITHDRAW.




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                             Number of Shares and Purchase Price
                               (to be completed by Subscriber):


 One share of Voting Common Stock at $26,500 per share.


 Total Purchase Price= $26,500


                                          Dated:       ______, 20

                                          SUBSCRIBER:




                                          By:
                                          Title:

                                          ADDRESS OF SUBSCRIBER:




                                          DEA IDENTIFICATION NUMBER:



                                          TAX lDENTlFICATlON NUMBER:




Accepted this _ _ day of

- - - --           --
                ' 20
Rochester Drug Co-operative, Inc.


By:
       Laurence F. Doud, Ill, Chief Executive Officer

                                                   6

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                                    ANNEX 1

                          FORM OF PROMISSORY NOTE




471471_1



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         Description: Exhibit C - Declaration of David Greenblatt, Page 75 of 176
                                  ANNEX2

  FORM OF PLEDGE AGREEMENT AND IRREVOCABLE PROXY WITH STOCK POWER
                             ATTACHED




                                     8

471471_ 1



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       Description: Exhibit C - Declaration of David Greenblatt, Page 76 of 176
                                   EXHIBITD

                           }'ORM OF PROMISSORY NOTE




357172_5



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        Description: Exhibit C - Declaration of David Greenblatt, Page 77 of 176
                                           PROMISSORY NOTE


 $16,500                                                                          Dated: _ ___, 20_



                                                                                  City and State


    FOR VALUE RECEIVED, pursuant to that certain Subscription Agreement dated as of
 _ __ _ __, 20_ (che "Subscription Agreement") by and between _ _ __ _ __ _ ___,
 with an address at                                                 ("Maker,). and ROCHESTER DRUG CO-
 OPERATIVE, INC., a New York Cooperative Corporation with offices at 50 Jet View Drive, Rochester, New
 York ("Payee"), Maker promises to pay to Payee the principal sum of Sixteen Thousand Five Hundred and
 00/100 Dollars ($16,500.00), together with interest on the unpaid balance of this Note beginning as of the
 date hereof, at the per annum rate set forth below, on the following tenns:

       1.     Interest. Interest on the unpaid balance of this Promissory Note {the "Note'') shall
 accrue at a fixed rate of two and one~halfpercent (2.5%) per annum.

        2.    Payments. The indebtedness evidenced by this Note, including all accrued interest thereon,
 may be paid at any time, and from time to time, without advance notice to Payee, in whole or in part,
 between the date hereof and March 18, 2011 (the "Maturity Date"), provided that the entire unpaid
 principal balance of this Note, together with all accrued interest thereon, shatl be paid in full on or before
 the Maturity Date. All payments shall be in lawful money ofthe United States. Payments shall be made
 to Payee at Payee's addre~ set forth above, or at such other place as Payee may designate to Maker in
 writing.

       3.     Events of Default. Upon the occurrence of any of the following events of default (each, an
"Event of Default"), (i) Payee shall refund to Maker (a) any and all principal and interest payments made
by Maker pursuant to this Note prior to such Event of Default, and (b) all amounts paid by Maker to
Payee upon execution and delivery of the Subscription Agreement, without interest; (ii} the Maker's
rights in and to Shares subscribed for pursuant to the Subscription Agreement will be cancelled; and (iv)
Maker will forfeit and waive any rights to, and be required to repay, any patronage dividend
previously paid or payable with respect to periods on or prior to March 31,201 J:

                 a.                to
                       Maker fails pay the entire unpaid principal balance and accrued interest on this
           Note on or before the Matwity Date;

             b.   Maker fails to pay in accordance with Payee's credit policies, terms and conditions
       any amounts owed by Maker to Payee;

              c.     the insolvency of Maker or the appointment of a receiver or liquidator, whether
       voluntary or involuntary. for Maker or for any of its property; the filing by or against Maker of a
       petition under the provisions of any state insolvency law, or the Bankruptcy Code, as now in
       effect or hereafter amended; the making by Maker of an assignment for the benefit of its creditors;
       or the institution by or against Maker of any other type of insolvency proceeding (under
       bankruptcy laws or otherwise) or proceeding for the settlement of claims against Maker;



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                   d.     the institution of any fonnal or infonnal proceeding for the dissolution or liquidation
            of, or settlement of claims against, or winding up of the affairs of Maker;

                  e.     the taking of any judgment against Maker, which judgment is not paid, discharged,
            stayed or bonded within sixty {60) days from the entry thereof;

                   f.      the sale of all or substantially all of the assets of Maker;

                   g.      the transfer of the Maker's business, whether by stock sale or otherwise;

                  h.       any merger involving the Maker where the Mak.er is not the surviving entity;

                  i.       failure by Maker to own a licensed phannacy;

                   j.    failure by Maker to make pUIChases from Payee of at least $500,000 during any
            fiscal year of the Company ending March 31, during the term of this Promissory Note, or a pro~
            rated portion of $500,000 for any partial fiscal year in which Maker is a shareholder of
            Payee;

                  k.     any default by Maker under the Subscription Agreement;

                 I.   any default by Maker under that certain Pledge Agreement and Irrevocable Proxy
            between Maker and Payee delivered in connection with this Note (the "Pledge Agreement"); and

                  m. any default by Maker under any other agreement between Maker and Payee,
            including without limitation written or verbal agreements related to purchases of inventory or
            merchandise.

            4.    Miscellaneous.

                  a.     No Waiver. No delay or omission on the part of Payee in exercising any right
            hereunder shaU operate as a waiver of such right or of any other right of Payee, nor shall any
            delay, omission or waiver on any one occasion be deemed a bar to or waiver of the same or any
            other right on any future occasion. Maker waives presentment, demand, protest and notices of
            every kind with respect to this Note.

                   b.    Governing Law. This Note shall be governed by and construed in accordance with
            the laws of the State of New York, without reference to conflicts oflaws principles thereof. Any
            action brought by any party hereunder shall be venued in Monroe County (State of New York)
            or the Western District of New York (Federal Court), as the case may be and as designated by
            Payee, and Make.r consents to the jurisdiction of said courts. Maker hereby waives any
            defenses based upon forum non conveniens or any similar provision of law.

               c.    Notices. All notices and other conununications provided for hereunder shall be in
        writing and mailed or delivered (including by facsimile) to the party to receive the notice or
        communication at its respective address set forth above; or, as to each such party or any holder
        hereof, at such other address as shall be designated by such party or holder in a written notice to
        the other. All notices and communications shall, when mailed or sent by facsimile, be effective
        when deposited in the mail, or delivered, respectively, addressed as aforesaid.




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        Description: Exhibit C - Declaration of David Greenblatt, Page 79 of 176
                 d.    Binding Effect. The covenants and obligations of this Note shall be binding upon
           the Maker, its successors and assigns, and shall inure to the benefit of Payee, its successors and
           assigns.

                 e.    Costs. Maker agrees to pay all costs, expenses and attorneys' fees at any time paid
           or incurred by Payee in endeavoring to collect the indebtedness evidenced hereby, whether the
           same shall become due by acceleration or otherwise.

                  f.      Nature of Indebtedness. This Note evidences the indebtedness referred to in, and
           is subject to the provisions of the Subscription Agreement and the Pledge Agreement.

           IN WITNESS WHEREOF, Maker has executed this Note as of the date first above written.




                                                       By: _ _ _ _ __ __ __ __

                                                       Name: _ _ _ _ _ _ __ _ _ _ __
                                                       Its: _ _ _ _ __ _ __ __ _

 STATE OF              )
 COUNTY OF_~) SS.

        On the _ _ day of                  in the year 20__ before me, the undersigned, a Notary
Public in and for said State, personally appeared                   , to me known, who, being by
me duly sworn did depose and say the above-named person resides in                          , that
said person is the                               of                 , the _ _ _ __ __
described in and which executed the foregoing instrwnent, and that the above-named person sjgned
thereto by order of the                  of such_ _ _ _ _ __ _


                                                            Notary Public




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                                                      -3·

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       Description: Exhibit C - Declaration of David Greenblatt, Page 80 of 176
                                  EXHIBlTE

 FORM OF PLEDGE AGREEMENT AND IRREVOCABLE PROXY (WITH STOCK POWER A ITACHED)




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      Description: Exhibit C - Declaration of David Greenblatt, Page 81 of 176
                        PLEDGEAGREEMENTANDIRREVOCABLEPROXY

        THIS AGREEMENT has been made effective as of                          , 20_by and
 between ROCHESTER DRUG CO-OPERATIVE, INC., a New York co-operative corporation
 with an address at 50 Jet View Drive, Rochester, New York 14624, and _ __ _ _ _ _ __
 _ _ _ _ _with an office at                                      , (the "Debtor").

         For good and valuable consideration, the receipt ofwhjch is hereby acknowledged, the
 parties agree as follows:

                                      I.         SECURITY INTEREST

         A.      Debtor hereby pledges and grants to the Secured Party a present security interest in
 the collateral described in Article JI hereof (the "Security Interest"}, to secure payment and
 performance of all payment obligations arising out of and evidenced by that certain Promissory
 Note of Debtor dated the date hereof in favor of the Secured Party, in the principal amount of
 $16,500 {the "Note").

                                           II.     COLLATERAL

        A.      The collateral which is subject to the Security Interest and to this Agreement is al) of
the right and interest of Debtor in and to one share of the Voting Common Stock of Rochester Drug
Co-operative, Inc. (the "Pledged Share").

        B.     Debtor hereby consents to Secured Party serving as pledge holder in accordance
with this Agreement and, with a present intention of creating a security interest in the Pledged
Share in favor of Secured Party, and to perfect the Security Interest> hereby deposits with the
Secured Party the Pledged Share, as represented by the certificate issued in the name of Debtor
with a blank stock power, duly endorsed, attached.

                 III.     DEBTOR'S REPRESENTATIONS AND WARRANTIES

   Debtor represents and warrants that:

           A.     Debtor has not granted to any other party any interest in or to the Pledged Share.

           B.     Debtor is authorized to enter into this Agreement.

      C.      This Agreement is effective to vest in Secured Party the Security Interest in the
Pledged Share as set forth herein.

                                IV.          COVENANTS OF DEBTOR

           So long as any portion of the Note remains unpaid, Debtor covenants and agrees as follows:




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            A.     Debtor shall defend the Pledged Share against the claims and demands of all other
 parties.

       B.     Debtor shalJ keep the Pledged Share free from all security interests, liens or other
 encumbrances other than the Security Interest.

       C.      Debtor shall not sell, transfer, assign or otherwise dispose of its interest in and to the
 Pledged Share without the prior consent of Secured Party.

        D.      Debtor shall advise Secured Party promptly in writing, in sufficient detail, of the
 occurrence of any event which would have a material effect on the value of its interest in and to the
 Pledged Share.

            E.     Debtor shall, on Secured Party's reasonable request, execute and deliver to Secured
 Party such financing statements and other papers and do all such acts as in Secured Party's
reasonable judgment may be necessary or appropriate to establish and maintain a valid and prior
security interest in the Pledged Share. On Debtor's failure so to do, Secured Party may sign any
financing statements or other papers on Debtor's behalf.

        F.      Debtor shall promptly notify Secured Party in writing of any condition or event
 which constitutes, or would constitute with the passage of time or giving of notice or both, a default
 under this Agreement.

                                           V.       DEFAULT

            Each and any of the following events or conditions shall constitute a default hereunder:

        A.       default by Debtor under any tenn, obligation, covenant or provision contained or
referred to in this Agreement;

       B.     default by Debtor under any term, obligation, covenant or provision of that certain
Subscription Agreement dated the date hereof between Debtor and Secured Party~

           C.      default of Debtor under any term, obligation, covenant or provision of the Note;

      D.      default by Debtor under any term, obligation, covenant or pi:ovision of any other
agreement between Debtor and Secured Party, including without 1imitation written or verbal
agreements related to purchases of inventory or merchandise.

        E.       the insolvency of the Debtor; the appointment of a receiver or liquidator, whether
voluntary or involuntary, for the Debtor or for any of its property; the filing by or against the
Debtor of a petition under the provisions of any state insolvency law, or the Bankruptcy Code, as
now in effect or hereafter amended; the making by the Debtor of an assignment for the benefit of its
creditors; the institution by or against the Debtor of any other type of insolvency proceeding (under
the bankruptcy laws or otherwise) or proceeding for the settlement of claims against the Debtor;

         F.     the filing against the Debtor of a Petition for Adjudication as a bankrupt; or the
institution against the Debtor of any other type of insolvency proceeding (under the Bankruptcy


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 Code or otherwise) or of any fonnal or informal proceeding for the settlement of claims against
 Debtor, if such Petition or proceeding has not been discharged or otherwise terminated by Debtor
 within sixty (60) days from the entry thereof;

        G. · the taking of any judgment against Debtor, which judgment is not paid, discharged,
 stayed or bonded within sixty (60) days from the entry thereof;

         H.      the institution of any formal or informal proceeding for the dissolution or liquidation
 of, or settlement of claims against, or winding up of the affairs of Debtor;

           L    the sale of all or substantially all of the assets of Debtor;

           J.   the transfer of the Debtor's business, whether by stock sale or otherwise;

           K.   any merger involving the Debtor where the Debtor is not the surviving entity;

           L.   failure by Debtor to own a licensed pharmacy; and

         M.      failure by Debtor to make purchases from Secured Party of at least $500,000 during
 any fiscal year of the Secured Party, ending March 31, during the term of this Promissory Note. or
 a pro•rated portion of $500,000 for any partial fiscal year in which Debtor is a shareholder of
 Secured Party.

                  VI.       SECURED PARTY'S REMEDIES ON DEFAULT

        A.       Debtor hereby authorizes Secured Party to keep and preserve the Pledged Share in
its possession pending payment in full of the Note. Upon the occurrence of any default hereunder,
Secured Party shall promptly give to Debtor written notice describing, in reasonably
specific detail, the nature of the default. The Debtor shall have ten (10) days following its receipt of
such notice to cure any such default. If at the conclusion of the ten ( 10) day period the described
default has not been cured, Secured Party's rights and remedies with respect to the Pledged Share
shall be those of a Secured Party under the Unifonn Commercial Code as enacted in New York and
under any other applicable law, as the same may from time to time be in effect, in addition to those
rights granted herein.

        B.      Except as otherwise expressly provided in this Agreement, Debtor agrees that any
notice given by Secured Party of any intended action hereunder or in connection herewith, whether
required by the Uniform Commercial Code or otherwise, shall constitute reasonable notice to
Debtor ifsuch notice is mailed by regular or certified maiJ, postage prepaid, at least ten days prior
to such action, to Debtor's address specified herein and to any other address which Debtor has
specified in writing to Secured Party as the address at which notices hereunder shall be given to
Debtor.

       C.      No act, delay, or omission shall constitute a waiver of any of Secured Party's rights
or remedies under this Agreement, and no single or partial exercise of any right or remedy
hereunder shall preclude any other or further exercise thereof or the exercise of any other right or
remedy. A waiver by Secured Party of any rights or remedies under the terms of this Agreement on


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 any occasion shall not be a bar to the exercise of any right or remedy on any subsequent occasion.
 Secured Party may remedy any default by Debtor hereunder in any reasonable manner without
 waiving the default remedied and without waiving any other prior or subsequent default by Debtor.

                       VII.      OTHER RIGHTS OF SECURED PARTY

         A.       Debtor hereby authorizes Secured Party, at Debtor's expense, to file such financing
 statement or statements relating to the Pledged Share without Debtor's signature thereon as Secured
 Party at its option may reasonably deem necessary in order to perfect the Security Interest
 hereunder, and appoints Secured Party as Debtor's attorney-in-fact to execute any such financing
 statement or statements in Debtor's name and to perform all other acts which Secured Party
 reasonably deems necessary in order to perfect and continue the Security Interest.

                              VIII.    BENEFICIAL OWNERSHIP

         Prior to any default under the tenns of this Agreement, Debtor shall be deemed to be the
 beneficial owner of the Pledged Share and shall have all rights and benefits incident thereto, except
 as such rights may be otherwise limited pursuant to the terms of this Agreement, the Subscription
 Agreement, or any other agreement between Debtor and Secured Party. Upon the occurrence of a
 default under this Agreement, the Debtor's rights with respect to the Pledged Share shall terminate
 and all rights of beneficial ownership in the Pledged Share shall vest in the Secured Party.

                        IX.   RELEASE OF PLEDGED SHARE AND
                          TERMINATJON OF PLEDGE AGREEMENT

        Upon payment in full of all amounts owed pursuant to the Note, Secured Party shall deliver
the Pledged Share with stock power attached to the Debtor and this Agreement shall terminate.

                                X.       IRREVOCABLE PROXY

        The Debtor hereby irrevocably constitutes and appoints the Secured Party as its proxy, with
full power of substitution, for and in the Debtor's name, place and stead to attend all meetings of the
Secured Party's shareholders, and any adjournments thereof, and to vote at such meetings the
Pledged Share, which the Debtor would be entitled to vote if personally present, with discretionary
authority upon all matters which may properly come before each such meeting and with the
authority to execute consents in lieu thereof and waivers of notice in com1ection therewith. This
irrevocable proxy shall continue until amounts payable pursuant to the Note have been paid in full
and shall be legally binding upon the Debtor and any transferee of the Pledged Share. Secured
Party is a "pledgee" in accordance with Section 609(1) of the New York Business Corporation Law.

                                XI.      GENERAL PROVISIONS

        A.     All rights and remedies of Secured Party inure to the benefit of its successors or
assignst and Debtor may assert no claims or defenses against the assignee which it may have
against the Secured Party except those granted by this Agreement.



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         B.      As used in this Agreement, "Debtor" includes Debtor's successors~ assigns, receivers
 and trustees; and ''Secured Party" includes Secured Party's heirs, executors, administrators, persona)
 representatives, successors and assigns.

        C.      If any provision of this Agreement is invalid or unenforceable under any law, such
 provision is and will be totally ineffective to that extent, but the remaining provisions shaIJ be
 unaffected.

        D.      Article headings used in this Agreement are for convenience only and are to be
 given no substantive meaning or significance whatever in construing the terms and provisions of
 this Agreement.


        E.       Any notice required or pennitted by this Agreement shalJ be given to the parties at
 the address set forth above, or to either party hereto at such other address or addresses as it may
 from time to time specify in a notice given to the other party.

        F.      This Agreement and the transactions evidenced hereby shall be interpreted,
 construed, applied and enforced in accordance with the laws of the State of New York applicable to
 agreements made and to be perfonned entirely within such State, as such laws may from time to
 time be in effect and without reference to principles of conflicts of laws.

         G.     This Agreement constitutes the entire understanding among the parties with respect
to the transactions contemplated hereby; and no modification, rescission, release, amendment or
waiver ( except as provided by this Agreement) of any provision of this Agreement shall he made
except by a written agreement subscribed by Debtor and by Secured Party.

       H.      All pronouns and any variations thereof shall be deemed to refer to the masculine,
feminine, neuter, singular or plural, as the identity of the person or persons may require.

      IN WITNESS WHEREOF, the parties have duly executed this Agreement on the date first
above written.

                                              ROCHESTER DRUG CO-OPERATIVE, INC.


                                              By:_-'-------- - -- -- -- -
                                              Its:




                                              By:._ _ _ _ __ _ _ _ _ _ _ __ __
                                              Its:




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                                         STOCK POWER

         FOR VALUE RECEIVED,                                  with an office located at _ _ _ _
 _ __ _ __ __, hereby sells, transfers and assigns unto Rochester Drug Co-operative,
 Inc., a New York co-operative corporation with an office at 50 Jet View Drive, Rochester. New
 York 14624 ("RDC"), one (I) share of the Voting Common Stock ofRDC standing in its name on
 the books of RDC represented by Certificate Number                 herewith, and do hereby
 irrevocably constitute and appoint                         attorney to transfer such shares on the
 books of RDC with full power of substitution in the premises.
 Dated:_ _ _ _ _ _ __



                                              By:
                                                     - -- - - - -- -- - -- - - - -
                                              Its:
                                                     - - - -- - - -- -- -- - - - -


 Witness:._ _ _ __ __ _ _ _ __




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                                  EXHIBITF

                   CERTIFICATE OF INCORPORATION AND BY•LAWS




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                                 State ot. ~ewr York.

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                                 or. the    United Stotes, and at least one of us being a re,ident
                                 ot the State of New York, do hareby-eert1fy:                                                   ....- •



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                                                                         Inc.
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                                                SSCO~'D:       The ~urposes for which said corporatlon is ~o
                 I               be formed are to carry on a general producing. menu!acturing,
                                 !&rehousing and merchandts1ni business on the co•operative plan
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                                 as ?"cla ted in Article 7 of the aforesaid law., .. in articles in
                                 common use including drugs, ;:>harmacutical supplies, and all arti~l _s
                                 o! merchand1-se cus toC1ar1ly stocked by and sold in drug stores and
                                 pharmacies, togethe~ with equipment and supplies commonly used                                   i
                                 in the mainte:iance and operatio!'! of drug stores and pharoac1es,
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                                 all w1th1n the l1~1tat!on of the prov1s1on$ of ~rt1cle 7 o! the                                 J

                                 Co•Operative Corporations Law.                 Th!s co~?orat!on shall have the
                                 tollowtng add.1 t1onal pow.us:
                                                (a)   To do each and eve!ythint hereLn setforth as
                                 objects, p'J.fposes and powers, or other~tse, to the same extent
                                 and as fully as any natural person, •!th1n or without the State
                                 or   Ne• York, as ~rincipal agent, cont~setor or otherwise •

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                              borrowed, and :::ortgai;e 1 ts proper t y and f ::- ancht.se, to secure the'
                              payment or any such obligations.
                                            (d)    To act ~s agent or , represen t ative of nny member
                             or membe~s in nny        or    the above listed act1v t t1e~.
                                            ( e)   ':o ;rn:-~hsse, hold or othe::-w~;Se acr,u!r~, and to
                             hold, · own or exe:-c1s e all :!g!lts of 0'19Tiersh!p in and to sell,
                             transfer or ?ledge shares or the capital stock or security of any
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                             corporat1cn enizaged · tn any i.holesale drug,.1st or pharmacut'leal
                             act1v1t1es, or 1n the ;rodu~1ng, aanuractur1ng, warehousing and
                             merchan~is!~& of any ct tr.e ~ro~ucts or ~erchandtse handled by
                             this corporation.
                                            (f)    7o ~sta~l i sh reserves an~ to invest the funds
                             there!roc Li bcn:!s or !n such o t her proper·& as ~ay b~ provided
                             in the by-la~ ~       c: :he   co:~crat1on.
                                            {g)    ~o do eaeh and everythtng nec:essa:-y and suitable
                             or proper-tor the acco=pltstu:Jent ot· any one of the pur~oses or
                             the atta1ruaent of ont or .~ore         or . the   objects or ~urposes herein
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                             po!Sess all t~a po1'erJ·1 !'1gbts and ;:rt.v1leg11s necessary or
                             1nc1dental to the purposes ro~ wh1ch t r.e corporation l! organ1zedt
                            _ot_.other act!v!t1es 1n •hich it 1s engage~; and !n ajt1 t 1.on
                             Choreto, to have all or any other r i ghts, powers and pr-tvt'leges




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'   I • , ..                                                                                               ,·


                              eranted by ~he corporation       law,       or ~he State of ffe•York, except
                              whefe the.·-privilegu are in eonfl1ct or ~nco'nshtent. with ·the
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                              Corporations Law.
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                              eap1 tal stock.                                               ,
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                         I                5.    'n':e duration of the corporat 1on 1, ·to b~ perpetual.
                         I
                         I               6.     ~he ~umo~: of rt1rectors of the corporation shall

                              be nine.
                                          ?.    The names and post office address of the directors
                         ~    or the corP.orat1on until the first annual meeting or stockholders

                         j    are as follows;
                         I                        ~h~~                                      P.O. ADDRESS
                                          Immanuel J. Arndt                           1135 Culver Road
                   ,.                                                                 Rochester, Mew York

                         I               James F. Chilson                             1492 Uonroe Avenue
                                                                                      Rochester, New York
                         11
                         I                                                            582 Ch111 Avenue
                                                                                      Rochester, New York
                         I               Char le s Decarlo                            1.47 Nor th Strut
                                                                                      Rochester, New York
                                         Geo!'ge A. Klier                             692 Yaple\ Stre·e t
                        ,I                                                            Rochester, »e• ror~



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                                         .\ltred J, !Cr!eter

                                         John'!. O'Brien
                                                                                      659 Titus Avenue
                                                                                      Rochester, New York
                                                                                      )79 WLnton Rd. North
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        I·           I.                                 Charles :. v;1ng                               117 North Clinton Avecue
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                                   '                  · 8.    At least one · or the persons names as a director
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             .   ;                          is a citizen of' tne ~nited. States and a· resident ot the                     Statt-or ·:t
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                                                        9.    :lace and post office address i:;r" each            ot··tne
                                            subscribers to this certificate, ant! a state~ent ot th~ nwiiber ot
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                                                        Alfred J. Kr1eter                659 T1tu5 Avenue
                                                                                         Rochester, N,Y,                     l

                               .. I                     Charles C. 'tlltne               117 Mo. Clinton Ave,
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    ·- --                                               10.   The ·director, of this corporation need not be _

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                                                        ll.   The rollowtng provisions are included herein for

                                   I        the regulation and ~onduct of the a!ta1rs o! the corporation.
                                                        (a)   No transaction, right or liab111ty entered into,
                                            el\Joyed or incurred by or in respect to the c:o-r porat1on, shall
                                            be affected by the fact that any director or ~irector, or the
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                                            corporation ar~f or ~Y have been personally interested 1n or
                                            concerned in the sa~e; and each director of the corporatton is                                                I.




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                                            hereby ~el1eved or and from any .and all liability whtch otherwise
                                            ~lgh prevent h1m from contract1~g •1th \he eorporation ·tor the
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                                            benefit o( h1ms•l! or or any r1~mt assoe1at1on or corporation
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                                  1n such ~an.":e!" as ! ts directors may determine to                            be·   tor the
                                  advantage and best 1nterest or the corporation, and the persons
                                  for which 1t does oustness pursuant to said Att1ele 7 or the
                                  Co-Operative Ccrporatio~s Law.
                                                  12 .    All of the subscribers hereto are··of full ace,
                                  at least two-th1r~s a~e c1t1tens                 or      the United States ard at leas
                                  one 1s a resident of the State of Neo;, :i'.orki and                          or    the persons
                                  na~es as directors, at least one ls a citizen of the United State
                                  and a resident          or    :he State of New York.
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                                                                                   AMENDMENT

                                                                                           OF
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               '                                                       ROCHESrER DRUG CO-OPERATIVE.
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                                            CERTmCATE OF ,\MENJ)Mf.NT                                        .

                                                             ot the                                               ..
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                                          C:ERTIJ1CATE OF INCORPORATlON
                                                                                                    ,
                                                             · of
                                            Rochester i'>ru_a Co-Opcrati~t. Inc.

        ~                  l\Jnuacl to Section ll or the Co-optraUvt Corporations Law and
                                     Srctlon 80$ or tht Buslness Corporatloo Law

            "'
                The undersigned, Richard L. Klenk and Laurence P. Doud. m., being the President and
         the Secretary, respcttively. of Rochester DN8 Co-optratlvt, Inc.• hereby cerlify that ·

                      J.      The name of the Corporation is Roc:he.sttr Dru& Co-Optrallvt; Inc.

                      n.      The Ccnificatc or Inc01poration of the Corj,orauon wa1filt.d by   i,,; Depanmcnt
         of State on November .S, 1948. Certificates of Amendment to suc:h Certificate (?f Incorpontion
         were filt.d by the Depa.nmen( of State on April rs. 19Sl, April 4. l9SS, Sep!embu 26. 1973,
         June 16, 1989, February 14, J990, December 4, 1991, and ~arch l t, 1996.       .
 /
                 . m.        The Cenitic.:1e of Iricorporation o( the Corpomiolis'lte~et;y amended to caec,
         Che amendment, specified bdO\li, each o( which are authoriied by
         law as,d the Business Corporation l.Aw:
                                                                                 aeCocpcrative Corporations
                                                       .
                             A.· . rui\graph ~3, •   or .the Ccnificatc: 8£tnco,poralion is hereby amended to:
                      (a) rt.designa~ the Corporation'.t c.xisting class of (apilil $toc1' (common) as· '"Vonni.
                      Common Stock·; (b) create a new clan o{ Non-Voting Common Stock, par value S.01
                      per shuc:; and (C) change the aggregate number of shares which the Corporation shall
                      be authorized to muc (rom (i) l 50,000 shares, of which 60.000 arc sl\ues o! Vounr .
                      Common Stock, SS.00 par value per sh.ire, and 90,000 of which ue sharef o( c.apital
                      stock (ptt!errt.d), ID (ii) 570,000 shares, of which 60,000 are shares of Voting Common
                      Stock. SS.00 pit nlue per share, S00.000 of which ue shues of ~pital stock
                      (preferred). pu -vah1t SS.00 per sh11e, and I0.000 of l.\>hich arc shares of Non·Vo1ing
                      Common Stod,, par value S.01 per iharc. so that s.aid paragraph ~3. ~ $hall rc.1d in its
                      cnri~ty as follow,:                                        ·

                                     ·J.     The aggrcg.ue number of shares which the c-orporation shall ~ave
                           · authority to is~ue is S'70,000, of which (i) 60,000 shucs iha.ll lic Voting Common
                                                             ,.       t
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               S1ock wilh a par -,:iJuc of Sl.00 per share, (ii) 10,000 shares shaJJ be Non· Vocing     ··.·•
               Common'.'Stock with a par value of S.01 per Ulare. and (iii) 508.000 shues $hill
               be upiw !:ock (prefmcd)•• witN a par value o( SS.00 per share. The
               dcsignuion,. pri.,itegu, prefereneeJ and voting power ·or restrictions and
               quaJifi~tions of the shares of each ctiss a.re as follows:                                       ···~·
                              (a)    The Voting Common Stock and lhc owners thereof shill ,
                    • ha.ve all the voting powu of the' corporation, excc9t as otherwise
                      expressly pro-,idcd by statute. ..
                                                                                         .:.:

                              Cb) The ,apiw st~k {preterre4)" sball bd:r and recelvc a
                      preferred dividend of S% ot the pat value of such sloek. payable annually
                      ro shareholders of record at the end of the Ii~ year of the corponlion. .
               ,I     Such preferred dividend shall be non-cumulative. No dividend shall be
                      declared or paid (or any fiscal yw or part thereof, upon Common Stock
                      until provision has been made for payment o( such prefened dividend·.

                             (c)     Upon dissolution or the -corporation, the holder, of' c.apiial
                     stock {prefcned) will be entitled 10 receive 1he par value ~d accnied non•
                     cumuluivc dividend, at the ra~ o( .S ~ pu annum to tht date o( retirem~nr
                     of rheir shares, before ar.y liquidating dividends an: pald ro the holders of
                     Voti,ig Common Srock or Non•Votint Common Stock. Upon dissolution
                     of the corporation, payment o( the corporation's debts and ane, provision
                     hu beien .. made for the retirement of the. corporaJion     's capjtaJ     stock
                     out.standing, if 3ny, at par, and accruals theuon, ~d other fixed
                     obligations, If iny, held by members, holders or the corpora11ol''i Voting
                     Common Stock and Non.Voling Common Stock sh~bc entitled to
                     rcc:eive the net asse<s rc:ma.ininc in accordance wirh Section I 7 of the New
                     York Cooperative Corporations Law..

                             (d) All capita.I stock (prc(erre4) or any part 1hcrcof. miy be called
                     ror redemption by order of the board or di.teccors,     at ariy lintc, upon 30
                     days wrieten notice to the a.spective shareholder in whkh event che coipo·
                     ration sha.ll pay to the respective shareholder the par value of such caJ[ed
                     uock plus the S'- prefmed dividend payable at the end of the then
                     current corporation !isc.il year. less any amounts ow~ by the Corporition
                     co such 3hucholdcr. No additional dividend sha.11 atcnie, be da:lared, or
                     paid, on such called sroclc, sub~uent to !he.end of sue~ fiscal yw.·

.,   .                      (t) Any Voting Common Stock owned by (a) a Stlucnotdcr whc.>
                     docs not, u of the date his Voting Common Stock is n.Uc.d ror
                     rcdtmprion, own a liunscd phannaey or {b) a Shareholder who hu made
                     from 1he Corpontion dunni the preceding fisc.al yw no purth~s or
                                                       d- .



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                             • purch:l1es amoun1ine co lcu thil\ 1115,000 m.iy be C&Jlt.d for rcckmption,
                               by order of lhe Board or Direc1on, Ill nctsbook vaJue ()en any amount
                               owed ro lhe Corponlion by such ~hucholdtr) ··p1u1 any p~vtously
                               declared and unpud dividends, upon 30 days written noti(e mJjled t0 the
                               respective Shareholder; No di;idend Jhnl acc:rve, be declared or paid on
                               such caJlc.d stock subsequent to 1he upiration of said 30 day period. As ·
                               used in' this Paiagnph 3(e), net book value shall be computed in
                                iccordance with gener1Uy 1cup1cd a«.0unllnJ principles and a«ouni'ing
                                polic:cs (includint accounting ror invcn1ory) followed by the "corponoon
                                dunn,:lhc prcc.eding fiscal yw, and shall be ca.lculaw3 on th~ ba.sil of the
                               Corporition's b~anci· sheet for the prcading fiscal yw. Por purpose$
    '                          of determining nC! book value per share, the number O( shares o( Voon&
                               Common Stock a.nd ~on Voting Common Stock outsWtdins a., of the end ·
                               of 1he Corporation's precedln1 fisa.l yw s~all be used.

                                      (0       If a shareholder or either Vo1in& Commorf StO(k, Non
                               Voting Common Stock or capital stock (pn:(crrcd) shall be Indebted ro the
                               Corporatio·n 1 the Boud of Diro:iors may refuse to consent 10 the truufer
                               o(his stock unlil .su~h indebledne.u is pa.id.

                                        Cg)    The Corporation shall nave lhe nrsr  right <o purchase at net
                               book value (as defined in So:tion ){c) above). less any {mounts owu by
                               such Shucholder 10 the Corpon.tion 1 plus any declared and unpiid
                               c.ommon stock'dividends 1hercon, any Volin, Common Stock presented
                               for transfer, providin& wrirrcn notice of the exercise o( such righl is giYen
                               10 1he respo:Civc Shueholder within 4, days \ftcr such presentation. The
                               Corporation sl\all ha-.,e the first right to purchase at pu value. plus any
/
                               ~o:larcd and unpaid preferted ,tock dividc~di.Jhe~n. less any amounu
                               owed by such Shareholder to 1he Corporilion, any capital s1ocJc
                               (prc(encd) presented for transfer, providi.ritten nociu of Che exercise
                               of such right is given to lhc rcspecllve Shareholder within 4S days lfter
                               such presentation. E.lch unificare of stoc:lc shlll have a copy or the
                               subslallcc of 1h~ section written.or printed-thereon:- • -            ·· · -

                                        (h) The Board or m_r~1on m~y. rroin time lo time, sell v,y Md
                               tJI of the unissued capital stock of the Corporation, whether tl,c same be
                               any of the original authorutd upital or a.ny incruse thereof, wilhouc lint
                               offerin& the same co shareholders then uistint, Vld u id Boa.rd llt.y
                               rcmict a purchue, u.le, dimibution, l/asufcr, owning ancf hoJdlng o!
                               s<oclc a., fully and 10 the u1ent 1uthoritcd by statute.

                  JV.   The Corponrion is prese11t1rau1horited 10 issue 60,000 shares of capital stock
           (common), pu 't'a.lue SS.00 (which 1hucs are re.dcsignitcd u ·voting Common S1~lc-), of


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             .. ..
               which S6 sh.arcs ue Issued and ouut1ndl111, and 90,000 shues of eapital .uock (preferred), par.
               value $S.00 per st\ue, oC whidl no sha.ru arc issued and outswidiftg. The 56 shares of Votinc
              Common S1ock which are presently issuc4 and ou1swiding shlll.be cha.need lnto: (J) .!CS shuc,
         " ~of VotlnJ Common Stock; (ii) S6 sha,es of Non-Voting Common Stock; 1nd (Hl) 333,872 shares
              ~I capltal stock (pre(cncd), at lhe nte of one share '?f Voting Common StocJr, one share or Non-
            . Votlni Common SIDCk an(. 5,962 shares of upital stoek (p~fcrrtd) for each share or \'orlnJ
           · Common S1oclc currently im1ed and ouutandlna, The ,9,9C• shares of Vorina Common Stock
              which ue presently auchoriud but unlssued shill be unchanged and shall remain authorized but
              unluucd. The Coll)Orition is addln1 9,944 shares of Non•VotinJ Common Slock which· will
              be aulhoriud bat unissu~ and the Corpo,.tion is addins 166,121 sharc.1 of capical, sl.o(k
              (p~fcm:d} whlc:h will be a~lhoriud but ~niuued .
    •
                         V.      This amendment o! tb~Corpo~tion's Cemfic..ate of JncorporatJon wu authortzed .
                by the wte o( the Boud of Dircciors fo~lowed by the a(firmativc vote of at Jwt two-lllird1 oJ
         ,      lhe sh.a.rdtolders voting thcrron at a special mc::t.Ling or the Corporation's shareho,lders, dutr
               ·a.lted and held on Oclober 13, 1991.                      .        .
                                                     l
              ~         IN WI1Nl:SS WHF.REOF, we have lianed this Ccnifieai.e this t31h day or October,


                                 --·                            ~..L[·u
                  1991 and hereby affirm 1he tn.Jth of !he statcmenu cont&inc,d be,t,;n under penalties of perjury.



                                                                (Richlpd L ~enk~idei;,;
                                                                ~a.-..._       '\.     ~ 'J1;t'""
                                                                 uurcn" F. Doud,         m, Secretary
                                                                                   •
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                                                             AFFIDAVIT

                               #



    •            STA~ OF NEW l'ORK                                   ..
              COUNTY OF MONROE                     ss:

                                                                                                                                .
                    uurcn<:e F. Doud. Iii, being duly sworn. deposes and says;

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•            •      t.    f ;,.m   tl!t Sec::-d,".ry c.f Roche.st.et Drug Co·Opcralivc, Inc.• :1 New York
              Cooperative Corporation (the ·corporation•)•
                                                         •
    ~               2. 1 have been aulhoriz:ed to exccuu: a.nd file I.he ro~going Certificate of    .
              Amendment to the Certificaic of lneorpon.1ion of the Corporation by chc vora required -~y
              Article 2 o( the Cooperative Corporations Law of tht Stace of New York(· Article l9) and in
        .1    the manner prescribed in Anic:lc 2•

             ..      3.     I make t?1is affidavit pursuant to Al1icle 2 10 induce che New York Department of

              Corporation.                                            Q
              S1.1te to file the CenUicate of Amendment to the Cenificate of Incorporation of the

                                                                                      -~,-.             I'

                                                                           0-.,-, .....   ~Ji;.:sr-
                                                                      Laurence F. Doud, m, Sec:rewy
                                                                      Rochester Drug Co-Operative, lnc.
                                                                                          ,     ',;),
                                                                                                                           •:

              Swom to before me this
              &L__day o( CXtober, 1998.                                         .
                                                                                     .
                                                                                    .... - -I



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           · STATE OF' NfiW YORK

       •     COUNTY OF MONROE                     ss:                                    .....


                      Rich.ltd L. J<ltnlr. being duly swom, deposes and says:


                  I.     I am the President of Rochester Drug Co-Operative:, Inc., a New York
             Cooper.ative Corporation ({he '!'Corporation•) .
                  •
                2.    I have l>ccn auuioriud to cx~tc and file lhe fottgoing Ccrtific.au: or
           Amendment to the Ccniticate or Jncorporatil>!' of lhe Corpontion by lhe votes n:,quircd by
        ~ An.icle l of 1hc Cooperative Corporations Law of the Stat&! of New York{. Anicle i9) and in
         · the manner prescribed in Article 2.                                                        :

                        t.·
            ,I
                  l.          l m.uce chis amdavi1 pursuant to Anic:lc l to induce I.he New York Depan.mcnt of
            S1atc to    me the Certificate or Amendment ro the Cetlificate of Incorporation of the
                                                                ~

                                                             /~~v,· "1;:L:.L/.
            Corporation.                                                            ;/               •



                                                             Richard L. Klenk. Pn:lidcnt
                                                             Roehesler ONg Co-Operative. Inc.


           Swo3 to before me rhis
       · • .; 7 day or October, 199~.
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           ~ N~        Public                            •

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 ..uivi ~ lON   OF CORPORATIONS ANO STATE RECORDS                                                     ALBANY, NY 12231-0001

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 ENTITY NAME: ROCHESTER DRUG CO-OPERATIVE, INC.


 DOCUMENT TYPE : AMENDMENT (DOMtSTIC COOPERAl'IVE)                                                                   COUNTY: MONR
                    PROVISIONS
 SERVICE COMPANY: CORPORATION S6RV1CE COMPANY                                                                  SERVICE CODE: 45
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                                                                                              ..
                                     CERT[F[CATE OF AMENDMENT

                                                    of tho

                                   CERTIFICAT£ OF INCORPORATION

                                                     of

                                     Rochestu Drvs Co-Opentive, Inc.

                      Pumam to SectlDA 12 of the Co-operative Corporatioaa Law and
                             Seetion 80, of the Busiuea Corporation Law

          The- undenipd, Donald Arthur. Jr. and Laute11cc F. Doud, Ill. bc:iDs the Prelidcnt and
     S c ~ , n:spectiv~ly, of llocbester Drue Co-operative. Inc., hereby certify that:

             L       The name of the Corporation is Rochester Drug Co-()penltivc, lac.

             II.    Tho Cmificate ofla'10tp0tatioa of the Co,poradon wu fiJed by the Department
     of S1*te OD November ,, 1948. Catiticatoa ofAmondmmt to sudl Catiflcat.e of Incorpontion
     were tiled by 1he Depamuem ofState on April 15, 1~2. April 4, 19S.5, Septanber 26, 1973,
     1we 16. 1989, February 14. 1990, Dccomber ... 1991. Mirch 11 .. 1996 and November 9. 1998.

             m.     The Cmtific:ate.oflDc:oJpOnlion ofthe C«pmatioa ls bcnby amended to effect
                    anu:ndmenta spccified below, ead1 of which are au1hamzd by the Cooperative
                    Corporationa IIIJd the Buainoa1 Ccnpontion Law:

                    A.      Paragraph ..3(c),. of the Certificate oflllcarpontfoo ia bcrcby ammdcd to
             increaae the current level of amsual purchuea hm $175,000.00 10 $300,000.00, IO that
             said PU'llgraph MJ(c)" aball read in its entnty u followa:

                             3(o). Aliy Voting Common Stock owned by (a) a Shateholdtz who docs
                             not, u of tho date hit Voting Common Stock ia caJJcd for ttdcq,tioa,
                            own a I f ~ pharmacy or (b) a Shareholder wbo bu mado th>m the
                            Corporation cfurina the prcccdmg fiscal year no purobasel or purchases
                            amounting to less than $300,000.00 may bo called for redempti°' by
                            order of tho Board ofDirecton, 11 oot-book value (less any amount owed
                            to the Cmporation by such abmholder) pJu, any pieviouaJy ~lated w1
                            unpaid divideo&. upon 30 da)'I wriUcn notice mailed to the n:spective
                            Shareholder. No dividend ~ball accrue, be declared or paid on IUClh called
                            stock subsequent to the expiration of said JO day pmod. AJ used in lhia
                           Plllllgraph 3(e), net book value shall be contputcd in accordance with
                           geaenlly accepled accounting principles and accountma policiea
                           (including w:ounting for inventory) followed by the Corpon1tion durina
                           the preceding fiscal yeu, and shall be calculated on tbe basis of the



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                                                                                          ..
                           QJrpontioo'a balance shcot for the preceding fiscaJ year. For purposes of
                           determining net book value per share, tbe number of sham, of Voting
                           Ccmrnou Stock and Noa Voting Commoo Stock outstanding u of tho end
                           of tho Corporation's ~ g fiscal year shall bo uaed.
                                                                             .•
             IV. Tbi1 amendment of the Corporation's Certificate of Incorporation wu aulhorized
     by tho voio of tho Board ofl>iredon followed by the affirmative vote oCat leut two-thirds of
     the shareholders voting themm at a special meeting of the Corporation'• shareholden, duly
     called and held on June 9. 2002.

            JN WITNESS WHBREOP, we havD sicned this Certificate thi1 9* day ofJUMt 2002 and
     hereby affirm the truth of the statemcoll con~tned hae• pcaaldca       or ·




                                               LalllWC P. Doud, DI. Ssrctary




     Case 2-20-20230-PRW, Doc 1651-3, Filed 09/21/22, Entered 09/21/22 15:51:50,
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 .
NT BY: O;                                     1 t e 2a2 4118;                            JUL -25-02 9 :59;   PAGE 5/7




                                                AFFJDAYII

      STATB OF NEW YORK )

      COUNTY OF MONR.OB .) ii:

             Law-eoce F. Doud, m, being duly sworn, deposes and says:

             1.     l am the Sccrewy ofRochester Dmg Co-Operative, Inc., a New York
      CooperanvoCorporadOJl(du,·'Ccporadonj.
              2.      I havo been authorized to execute and fllo the foreac,ms Certificate ol
      Amendment to dJc Ccnificate ofIDcorponlion ot1he Cmporatioo by the voeca n,quired by
      Article 2 of the Cooperative Corporadona Law of the State ofNew Yark ("Aniclo 2") and in tbe
      mannar prcacnbod ia Articlo 2.
              3. . I ~ this ·affidavit p ~ t to Article 2 to ~duco the New Ya.rk Dcpartmont of
      State·to filo tba Certificate of Ameiukaont to tho Certificate of lncorpontion oftho Cmponlion.




     ~m to before me this
     E!, day of June, 2002.



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     Case 2-20-20230-PRW, Doc 1651-3, Filed 09/21/22, Entered 09/21/22 15:51:50,
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,T BY: O;                                      718 2B2 411Bj           JUL·25·02 9.:59;                  PAGE 8/7




                                                MfIDAVIT

     STATE OF NEW YORK )

     CO~ OP MQNROB ) ss: .

             Donald Aithur. Jr.> bciq duly swom, depoaa and a&)'I:

            l.    I am tho President of Rocllma Drug Co-Operative. Inc., a New Yode
     Cooperative Corporation (tho "Coponltioa")!

             2.      I bava been nthorizcd to cucuto IDd filo the foregoing Certificate of
     Amendment to 8- c.afilicatc of IDco,poraLion oCtbe Corpontioo by the·votes iequired by
     Article 2 of the Coopcntive Corporations Law oftho State o!New YOik , Article l j and In the
     mume:r pte1mocd in Artie:!• 2.
             3.       I make~ affidavit punumt to Ar1iclo 2 to Induce the New YOik ~ of
     Siato to file tho Certific:ato ofAmendment to the Certificate of lncorporatioa oftbo Colporation.




    Sworn to before me this
    ~ day ofJune, 2002.




                                      BERNARD 0. LeVINl
                                   Nota,y PubNc. Stait d Hew 'ttJrtt
                                        No. 02LE7610855        A /
                                      ~bl*NMIIO.'Jt.¥~




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                                                         0 8 u ~ \ 9 0 0 0 <Jn)
                          CERTIFICATE OF AMENDMENT

                                        OF
                        ROCHESTER DRUG CO-OPERATIVE, INC.



           Section 12 of the Cooperative Corporation Law         and
           Section 805 of the Business Corporation Law




     -..                                                      STATE OF N~~ORK
                                                             DEPARTMENT Of- STATE




                                                                              ~
                                                                              c::.
    Filer:      Bilgore, Reich, Levine, Kroll   &   Kantor                   """
                950 Reynolds Arcade Building
                16 East.Main Street
                Rochester, NY
    CUst. Ref#723964Jba
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Case 2-20-20230-PRW, Doc 1651-3, Filed 09/21/22, Entered 09/21/22 15:51:50,
      Description: Exhibit C - Declaration of David Greenblatt, Page 154 of 176
          State of New York } ss:
          Department of State }


         I hereby c-ertify rhat ,he annexed cop1 has been compared with tlie original document in 1h, custody of rl1, Secretary
         of Stau and that the :same is a true copy ofsaid original.

                   Witness my hand and seal of the Department of State on       November 6, 2006




                                                                                 Special Deputy Secretary ofState


OOS. t286 (Rev. 11/0S)




   Case 2-20-20230-PRW, Doc 1651-3, Filed 09/21/22, Entered 09/21/22 15:51:50,
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                                        sa5262411B
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                                                                        ofthe

         ·-.... -· .....                               CER11FICATE OF JNCOT{PORATION

                                                                         · of

                                                          Rochester 0_!11g Co-Operative, Inc.

                                       P,usuant to S~ion 12 oftbc Co-opciative Coq,ora1ions                       Law and
                                                 Section 805 or th~ Business Corporation Law                          ·

                           The undersigned. James Mct.augblin and Laurence F. Do~d. m, being the p;;,ident an4
                    Secret&()', respectively, of RocheJter Drug Co-operativ~. lne., hereby cemfy rbat:

                               l.     The name oftbe Corporation is Rochencr Drug Co-Op~tivc, tnc:.                                          ·-
                            11      The Certifi~ate ofJneorporation of th~Corporation WU filed bfthe Department of
                    State on November .5, 194&. Certificates of Amendment to such Certificate of!neotporation
                   ·were filed by the Department of State on April 15, l9S2. April 4, 19SS, September 26; 1973,
                    June J6, 1989, February 14. 1990. Oi:ccmbcr4, 1991, Mtarcb 11, 1996, November 9, 1998, and
                    August 1, 2002.                                                     •                    ·

                               m.     The Cettificatc.oflneorporatioo of the Corpora~on is bmby amended to effect
                                      amendments specified below, each ofwbich are autborizcd by me Cooperative
                                      Co,porationi and the Business Corporation Law:            ·

                                      A.       Paragraph "3(e)""o(tbe Cenificate o(Ttlco'Porarion is hm:by amc:nded to                               ·-
                               increase thc.cU1Tmt level of annual pun:hia5cs from 1300,000:00 to $S00.000.00, so that
-·· · ,-., .......,. ·.·-.·-   said"Paragriiph "3(e)" shall read ira its entirety as f~llows:

                                              l(c:).   Any Voting Co_mmon Stock owned by(~)• Sbareboldcr who don
                                              not, as. of lb• ~te his Voting Common Stock is c~lcd for redemption, own
                                              a Hccnscd pb~nnacy or (b) a Shareholder who has made from the
                                              Col'l'oration during the preceding fiscal yC2r no purchases or purchases . '
                                              amoUllring to less than SSOO,OO(i.OO may be eailed for ~emP.tion, by
                                              order of the Board of Directors. at net•book: value.(less anya.mouot owed
                                              :o.1hc Corporation by such lharcholder) ptus any previously dccJarcd and
                                              unp;ud dividends. upon JO diJys written nonce mailed.to the. re.,pecrive
                                              Shareholder :-.1o dw1dcnd shall atcrue, be declared oi paid Ort such called
                                              sto~k subscquenl to the c:itpiration of said JO day perio4. As 11.Kd in. this
                                              Paragrnpb .3(t), net book value ,hall be computed in aceordlllc:c with
                                              scncrally a.c:ccpccd accounting pril'lcipl~ and aeeountin11 policf,,




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•

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                                                        (includin1 9'Councing for inventor)'} followi:d ~ the Co,wndo.n during
                                                        the prcc;cdiag fiscal )UI'. and 5ha1J be calcula,tecl on. the bub of the. ·
                                                        CorpoRtion·s balance shed for $c prccedma-fiacal year... For purposes·of
                                                        detcnnining net book nlue per Jb.anl, the number ofihare11'o!Votin1
                                                        ComRloP Stock                    and
                                                                              Non Voting.Common Stbclt QUts1andiniu of the end ·
                                                        oftbe ColJ)ORtion's preceding fi1cal year shaU be u58d.

                              rv.        !ltjs amendment oftbe Corporatiorls Cmificatc of Incorporation w15 authorized
                    • by the.vote of the Bevel of Directors followed by the afflnnari)"e vote of. at lecst tw~thirdsoflhc
                      sbarl!nolders votinf lhacoil at a special meeting oflhe Corponrion'a ·sbareholden,.duly called
                      and held on Ju~., •. 200,.                            . ~.     .     ·    _               ·~                                            JF-··                       ·, -:




                             IN· WITNESS WHEREOF, we have signed this:Catifieate thil ..LL day of~ioo, .                                                                              ·4 :.

                      md. hereby affinn die ttuth of the Sf:8,tc:mectlll contained h ~ un~a p~ahi~ of~ul')'.
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r                                                                       BIL~ RE'fCH                             ?~-            04/85




                                                                   AFFIDAYII

                    STATE. OF NEW YORK )

                    COUNTY Of MONROB ) ss:
                                Laurence F. Doud, JD, bein8 duly sworn, depo5e$ and say,:

     - -- ......,         t.      l am tho S"retary of Rochester Drug Co-Operative, J.nc.• a New York                                                     .. :'!'"
                    Cooperative Co(J)Oration (tho "Coporation"). .       •

                            2.          --··
                                    I have been authorized to ex~ute and filf;.. the foregoing Cettificatc of Amendment
                    to the Certificate ofhu:ozporatloD of the Corpo.ration by the votes required-by Artie!~ 2 o(the
                    Cooperative COTpORtlons Law of the State ofNcw Yorlc: ("Article 2") arid in tbes manner
                    prescribed io Anicte·2._                   .               ··

                              j,        t make tbu affida11it pursuant to ~rtic~ 2 to indu~e the Nc:w Yodc Department of- - - -
                    Staie to
                           ... fili: cbe Cefflf\catc
                                          . ~                                       - of Incorporation
                                                     of Amendment .to the Certificate     .            of th& CorporatiC?ft,
                                                                                                                                                             ..
                                                                        ~ , -.. C"~ -~ r-v:
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                     -·    _   . ..!!.-~-
                                                                         ~          -~. "U..Jt,,;:.                                              ..
                                                                    Laurence f; .Doud, m.
                                                                                        Secretary
                                                                                                                                                          -;•.



                                                                    Rochester Drug Co-Operative, Inc.


                    Sworn i:o before.me this
                    I ' day of -fwle, 2005.
                    _,a.                ~       f_'f"'

                    ~.U~
                                                                                                               ............_.. _... _... _,~ .   ··-

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          STAT.E OF NEW YORK ) /1.,._
                         "w.~Jr
          COUNTY OF 0 ~ A ) ss:

         James McLaughli.n; being duly sworn. dcpos~ and uys:

                l.     I am ~ P):e&ident of Rochester Drug Co-<>,cnti_yp, Inc., a New York -'
        , -C~perative Corporation (~e "C~oralton").      . . ,        · . :. . .                            .
                                                                                                            •    #



       :· ·      2.      I have been. authorized to ~ecute ~d file ·the foregoing ~em1icatc of Ainandtncat
         to the Certificate oHncorporaiion of.the Corporation by tho •otes ~qlfiroc:l by .Attiele 2 o! the
         Cooperad.ve Corporalion., Law oftbe State of New York ("Article 2">'snd in the manner· ·
         prcscnoed in Article 2.                                       ·· ··· •· ··- ·· ·            ·

                 3. . J make this affidavit p.ursuant to Article 2 to induce the.New York Oep111ment      of
         State co fjJe tbD Certificate of Amendment to !h~ Ccnfltcatt offncoq,or11oon of the Corporation.




                                                                                                                                           .... .
         Sworn to before me this
                                                                                                                             .                    .
         ~day of ~',2~7:;-                                                                                             . ··:;·....       .. :


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                    (',,                                           CERTIFICATE OF AMENDMENT

                                                                                -    -····· OF    ··- ·                                          ··-..-~-..

                           · ·..                    1
                                                         ROCHBSTER DRUG CO~OPERATIVE, INC.
                     Un~er section 12 of the co-Operative Corporations Law and
                            Section SOS of the.Business Corporation Law


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                                                                                             SJATE OF MEW YORK
                                                                                           l)f PARTMENJ-OF SlATE
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     N~ Y. S. DEPARTMENT OF STATE
     DIVISION OF CORPORATIONS AND STATE RECORDS                          ALBANY, NY 12231-0001

                                          FILING RECEIPT
     ENTITY NAMB: ROCHESTER DRUG CO-OPERATIVE, INC.
     DOCUMENT TYPE: AMENDMENT (DOMESTIC COOPERATIVE}                                  COUNTY: MONR
                      PROVISIONS


     FILED:09/19/2008 DURATION:*********           CASH#:080919000089 FILM #:080919000080

        FILER:
        BILGORS REICH LEVINE KROLL &
        KANTOR, 950 REYNOLDS. ARCADE BLDG.
        16 EAST MAIN STRE~T
        RICHESTER, NY 14614
        ADDRESS FOR PROCESS:




        REGISTERED AGENT:




    SERVICE COMPANY: CORPORATION SERVICE COMPANY - 45                          SERVICE COOE: 45

    FEES           120.00                                                    PAYMENTS         120.00
    FILING          60.00                                                    CASH              0.00
    TAX               o .·oo                                                 CHECK             0.00
    CERT              o.oo                                                   CHARGE            0.00
    COPIES          10.00                                                  DRAHDOWN          120.00
    HANDLING        50.00                                                      OPAL            0.00
                                                                             REFUND            0.00

   723.964JBA                                                                 DOS-1025 (04/2007)

·------------------·-------·-- .-·-··-..· --···· .... . .. .- ··--- . .-·--·4--·-.. ··-·---·--·--~--···
       Case 2-20-20230-PRW, Doc 1651-3, Filed 09/21/22, Entered 09/21/22 15:51:50,
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     .
     ~


•

                           STATE OF NEW YORK
                          DEPARTMENT OF STATE

                I hereby certify that the annexed copy has been compared with the
         original document in the custody of the Secretary of State and that the same
         is a true copy of said original.




                                               WITNESS my hand and official seal of the
                                               Department of State. at the City of Albany, on
                                               September 19. 2008.




                                               Paul LaPoint.e
                                               Special Deputy Secretary of State




         Rev. 06/07




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       '   ,
•


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                                                                       oso91 goo o ofo
      DRAW DOWN                             CERTIFICATE OF AMENDMENT

                                                              of the

                                          CERTCFICATE OF INCORPORATION

                                                                  of
                                             Rochester Drug Co-Operative, Inc.

                             Pursuant to Section 12 oftbo Cooperative Corporations Law and
                                      Section 80S of the Business Corpomt.i.on Law

                      The undersigned, Rieb~ L Klenk. being the President and LaW'\mcc F. Doud, m being
               the Secretary, respectively. of Rochester Drug Co-Operative, Inc., hc~by certify that

                     I.     The name of me Corporation is RQChest~ Drug Co-Operative. Inc.

                     U.     The Certificate of Incorporation of the Corporation was 6led by the Department
                            of State on Novembers. 1948.

                     Ill.   The Certific:a= of Incorporation of tho Corporation is hereby amended to effect
                            the amendment specified below, which is authorized by the Cooperative
                            Corporations and Business Corporation Law:

                            A. Paragraph "8(cY" is added to tho Certificate of Incorporation to permit tho
                               Board of Dire<;tors to dl'1ribnte shares of any class or series of its capital stod
                               to holders:of the same or any other class or series of its capital stoclc,. so that
                               said Paragraph "8{c)0 shall reed in its eatimy as follows:            ·

                               8(c). The Board of Directors ma.y. from time to time, distn'bute the shares <>f
                               any class or series of its capital stock to holders of the same or any other class
                               or series of its cap.ital stock.

                     IV.    This amendment of the Corporation's Certificate of Incorporation was authorized
                            by the vote of tho Board ofDi.rectors followed by the affirmative vote of at least
                            two-thirds of the members voting thereon at a special meeting of the
                            Corporation•s members, duly called and held on September_, 2008.




    Case 2-20-20230-PRW, Doc 1651-3, Filed 09/21/22, Entered 09/21/22 15:51:50,
          Description: Exhibit C - Declaration of David Greenblatt, Page 163 of 176
..   .   ....




                                  IN WITNESS WHEREOF, we have signed th.is Certificate this 16 day of September,
                                                                                                                                .      .
                           2008 and hereby affirm the truth of the statement contained herein Wlder penalties of perjwy


                                                                                                                          (4/1.;;i.LJ
                                                                                                                          Richard L ICleok, Presideot




                                                                                                                          Laurence F. Doud, Ill,. Secretary




          .. ..   ...... ·-· ----- ..··-·-··-· _........................   -· .........................   ~   .........


     Case 2-20-20230-PRW, Doc 1651-3, Filed 09/21/22, Entered 09/21/22 15:51:50,
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...




                                                           AFFIDAVIT


                STATE OF NEW YORK             )

                COUTNY OF MONROB              ) ss;

                       ruchard L. Klenk. being duly sworn. deposes and says:

                      l.     I am the President of Rochester Drug Co-Operative, Ioc-> a New York
                Cooperative Corporation (the ..C01p0tation").

                        2.      1 have beeo authorized to execute and file the foregoing Certificate of
                Amendment to the Certificate oflneorpomtion ofthe Corporation by tbe votes required by
                Article 2 of the Cooperative Colpomtions Law of the State of New Yolk ('~Article 2") and in the
                manner prescribed in Articlo 2.                                               ·

                        3.       I make this affidavit pursuan.t to A.mete 2 to induce the New York Depanmcnt of
                State to file the Certificate of Amendment to the Certificate of Incorporation of the Corporation.




                                                            01-dt
                                                            · Richard L Klenk, President
                                                              R.o(hester Drug Co-Operative, Inc.


                Swom to before me dili.
                & day of September. 2008.




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...




                                                        AFFIDAVIT


             STATE OF NEW YORK              )

             COUTNY OF MONROE              ) ss:

                    Laurence F. Dou~ m. being duly sworn. deposes and says:

                   1.      I am the Secretary of Rochester Drug Co-Operative, Inc., a New Yorlt
             Cooperative Corporation (the "Corporation"').

                     2.      J have·been authorized to execute and tile the foregoing Certifieate of
             Amendment to the Certificate oflncorporatloo of the Cmpo.mtion by the votes required by
             Article 2 of the Cooperative Corporations Law of tho State ofNew Yoik ("Article< 2") and in the
             manner prescribed in Article 2.                                                         ·

                     3.       I make this affidavit pursuant ro Articl.o 2 to induec the New York Department of
             Steto to filo the Certificat.o of Amendment to tho C~cate of Incorporation of tho Corporation.




                                                          Laurence P. Doud. ID, Secrcbu:y
                                                          Rochester Drug Co-Opemive, Inc.


            Sworn to before me thia
            /& day of September, 2008.




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                           AMENDED AND RESTATED
                 BY-LAWS OF ROCHESTER DRUG COOPERATIVE, INC.

                                  As last Amended June 5, 2005


                                             ARTICLE   I

                                       Statement of Policy

         Section I •This corporation is organized under the Cooperative Corporations Law
 primarily for the mutual benefit of its members and patrons and not to make profits for itself as ·
 such. The object ofthis Corporation is to promote the interest of retail phannacists, by operating
 a wholesale organization which shall purchase and maintain a reasonable inventory, and sell
 merchandise to retail phannacies. Any earnings and savings shall be distributed, upon a uniform
 basis, among Stockholders according to the amount of purchases by each Stockholder, the
 compensation from each Stockholder received by this Corporation for other services rendered to
 each such Stockholder and such other basis determined in good faith by the Board of Directors.
 The rate of distribution may be graduated upon a uniform basis according to the amount of
 purchases and compensation from each Stockholder. It shall be the policy of this Corporation to
 give patronage dividends to Stockholders annually or at such time as th~ Board of Directors may
 determine in the fonn of cash, capital stock or evidence of indebtedness. The Corporation shall
 pay such dividends on capital stock and establish and maintain such reserves and earned surphis
 as may be authorized by law and ordered by the Board of Directors.


                                            ARTICLE   II

                                     Meeting of Stockholders

         Section 1. The annual meeting of Stockholders of this Corporation shall .be held at the
 office of the Corporation on the first Tuesday in June of each year or.at such Qther time and place
 as the Board of Dfrecfors niay designate, for theelection  of Directors and such other business as
 may properly come befure said meeting. Notice of the time, place and object of such meeting
 shall be given by mailing at least ten days previous to the date, postage paid, a copy of such
 notice addressed to each Stockholder at his residence or place of business as the same shall
 appear on the books of the Corporation.

       Section 2. Special meetings of Stockholders, other than those regulated by statute, may be
caUed at any time by a three quarters vote of the Directors. It shall also be the duty of the
President to call such meetings whenever requested in writing to do so by the Stockholders
owning a majority of the capital stock. A notice of every special meeting stating the time, place
and object thereof, shall be given by mailing, postage prepaid, at least ten days before such
meeting, a copy of such notice addressed to each Stockholder at his residence or place of
business as the same shall appear on the books of the Corporation.




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       Section 3.      The Corporation's Voting Common Stock and/or the owners thereof shall
have all the voting power of the Corporation, except as otherwise expressly provided by statute.
Holders of the Corporation's Non-Voting Common Stock and capital stock (preferred) may be
present and have the privilege of the floor at any Stockholder meeting, but, except as above
provided, shall not have the privilege of voting. At all meetings of Stockholders, except as
otherwise provided by statute, not less than eight percent (8%) of the holders of the Corporation's
Voting Common Stock shall be present in person in order to constitute a quorum.

       Section 4.       At the annual meeting of the Stockholders, the following shall be the order
of business, so far as consistent with the purpose of the meeting, viz:

                   FIRST:            Calling the Roll;
                   SECOND:           Appointment of two tellers of election;
                   THIRD:            Proof of proper notice of meeting;
                   FOURTH:           Reading of Secretary-Treasurer;
                   FIFTH:            Election of Directors;
                   SIXTH:            Miscellaneous business.

        Section 5. At all meetings of Stockholders only such persons shall be entitled to vote who
appear as Stockholders qualified to vote upon the particular matter of election upon the transfer
books of the Corporation for ten days immediately preceding such meeting, and each
Stockholder shall be entitled to one vote on any questions or in any election unless the manner of
voting is otherwise prescribed by statute. Voting shall be by written ballot on the election of
directors and on any questions required to be voted by statute, and whenever ten percent of the
qualified voters present at the meeting demand a written ballot. All other voting shall be viva
voce, except that a stock vote shall be by ballot, each of which sha11 state the name of the
Stockholder voting and the number of shares owned by him. When authorized by statute,
representatives of Stockholders shall be pennitted to vote.

         Section 6. Stockholders may vote for Directors by absentee ballot at any annual meeting.
Such bajlot shall be upon a fonn, enclosed in a sealed plain envelope, which envelope shall be
enclosed in a secona envelope endorsed "Ballot for Directors" with the signature of the
Sto~kholder ~ereon, and shall be filed with ti.le Secretlll)' pt;'ior to. the ~mal meeting. The blank
ballot form. plain envelope and covering envelope shall be furnished by the Secretary upon
request at any time after the notice of meeting has been given to Stockholders. In case the
Stockholder or representative is present at the meeting, such ballot may be returned prior to the
voting, upon request. At the election of Directors, the secretary shall announce the names of the
Stockholders casting absentee ballots, and after covering envelopes have been inspected by the
tellers, shall open the same and deliver the plain inside envelopes containing the ballot$ to the
tellers, who shall count the ballots therein with the other ballots from Stockholders and
representatives present and voting. In case the baUoting results in no election. or the elected
Director refuses to serve, the Stockholders and representatives present shall cast further ballots,
in which no absentee voting shall be permitted. until the vacancy is filled.




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                                              ARTICLE Ill

                                               Directors

         Section 1. The affairs of the Corporation shall be managed by a Board of nine Directors,
 of whom five shall constitute a quorum. At the first Annual Meeting of the Stockholders held in
 the year 19797 three Directors shall be elected for a term of one year; three Directors for a term
 of two years; and three Directors for a full tenn of three years; to succeed the nine Directors
 named in the Certificate oflncorporation. Each director shaU be a Stockholder who owns or
 operates a licensed pharmacy, except that any Director serving on the Board of Directors as of
 March 1, 1991 who is not a Stockholder owning a licensed pharmacy may continue to serve on
 the Board until his current tenn expires. · In all other cases. when a Director ceases to be a
 Stockholder who owns or operates a licensed pharmacy at any time during his term, he shall be
 removed as a rnrector by the Board of Directors and his vacancy filled as provided in Section 5
 of this Article Ill.

          Section 2. Three Directors thereafter shall be elected annually by a majority of the votes
 cast at such election, for a term of three years, at each annual meeting of the Stockholders. the
 Directors so elected to take the place of the three Directors whose terms are presently expiring.
 The tenns of the newly elected Directors shall begin at the first meeting of the Directors
 following such election. and they shall hold office until the election and qualification of their
 successors. The Directors shall elect a President, a Vice President. a Secretary, a Treasurer. and
 any subordinate officers they consider necessary. The office of President and Vice President
 shall be fi.11ed by Directors. The offices of Secretary and Treasurer, and any subordinate offices,
 may be fiJled by persons outside the Directors and any one person may hold two such offices.

        Section 3. The regular meeting of the Board of Directors shall be held on the first
 Tuesday on or after the twelfth of each month, or at such other time as the President may order.
 Meetings of the Board of Directors shall be called by the Secretary when ordered by the
 President, or upon the written demand of three Directors, by giving notice thereof to each
 Director, either verbally, by telephone, by telegram, by telefax, or in writing, sent to his usual
 place of business or residence, in sufficient time for him to attend the meeting from either of said
 addresses in a reasonable manner. Unless otherwise ordered by a Stockholders meeting, the ·
 Directors shall receive a fee for each Board meeting established by the Board of Directors each
 year equal to the sum of (a) five times the average wage paid per hour for a relief pharmacist in
 the Rochester are~ plus (b) 15% of the amount detennined in (a).

         Section 4. The immediate past President of the Corporation shall be ex officio Chairman
 of the Board of Directors and shaJI share in all its deliberations until the expiration of the term of
 office of his successor, but shall have no vote on any questions coming before the Board. The
 compensation for serving as Chairman and attending meetings of the Board shall be the same as
 paid to elected Directors.

        Section 5. Vacancies in the Board of Directors shall be filled for the unexpired term by a
 majority vote of the Directors at any Special or Regular Meeting.




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         Section 6.    Any Director who misses three consecutive Board Meetings may be
removed by a majority vote of the Directors at any Special or Regular Meeting. provided
adequate notice of such proposed removal be sent to all Directors. Any such vacancy shall be
filled jn accordance with the provisions of Article Ill, Section 5.

        Section 7.     In case the entire Board of Directors shall die or resign, any Stockholder
may call a meeting in the same manner that the President may call such meeting, and Directors
for each unexpired term may be elected at such special meeting in the manner provided for their
election at the annual meetings.

       Section 8.      The Board of Directors may adopt such rules and regulations for the
conduct of their meetings and management of the affairs of the Corporation, as they may deem
proper, not inconsistent with the laws of the State of New York or these By-Laws.

        Section 9.     The Board of Directors, by resolution, may authorize the Treasurer and/or
other officers of the Corporation, to sign checks, drafts, notes and orders for the payment of
money in the name of the Corporation.


                                           ARTICLE   IV

                                             Officers

       Section 1. The President shall preside at all Stockholders' meetings and in the absence or
incapacity of the Chairman of the Board, at all meetings of the Board of Directors, and shall
perform the usual duties assigned to the office of President, and such other duties as may be
imposed by these By· Laws or direction of the Board of Directors.

        Section 2. The Vice President shall, in the absence or incapacity of the President, perform
the duties of that officer.

       Section 3. The Secretary shall keep the minutes of the meetings of Stockholders and of
the Board of Directors. He shall attend to the giving and serving of all notices of the
Corporation. He shall have charge of such books and papers as the Board of Directors may
direct. He shall also keep a stock-book containing the names of all persons who are
Stockholders of the Corporation, showing the address, the number of shares held by them
respectivelyt the time they respectively become the owners thereof, and the amount paid thereon.
He shall also attend to such correspondence as may be assigned to him, and perfonn all the
duties incidental to his office.

        Section 4. The Treasurer shaJl have the care and custody of all the funds and securities of
the Corporation and deposit the same in the name of the Corporation in such bank or banks as the
Directors may elect He shall keep the books of account which shall at all times by subject to
inspection by the Board of Directors. He shaU give a bond in an amount to be determined from
time to time by the Board of Directors, the expense of procuring which shall be paid by the




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 Corporation. He shall make a report at each annual meeting of Stockholders. at meetings of the
 Board of Directors. and whenever requested by the Board of Directors to do so.Section 4. The
 Treasurer shall have the care and custody of all the funds and securities of the Corporation and
 deposit the same in the name of the Corporation in such bank or banks as the Directors may
 elect. He shall keep the books of account which shall at all times by subject to inspection by the
 Board of Directors. He shall give a bond in an amount to be detennined from time to time by the
 Board of Directors, the expense of procuring which shall be paid by the




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         Corporation. He shall make a report at each annual meeting of Stockholders, at meetings
 of the Board of Directors, and whenever requested by the Board of Directors to do so.

      . Section 5. The Board of Directors shall create any subordinate or additional offices and
 shall prescribe the duties of each office, which duties shall not be inconsistent with the duties
 assigned to the President, Vice President. Secretary and Treasurer of these By-Laws.


                                            ARTICLE V

                                           Capital Stock

         Section 1. The Corporation shall have authority to issue such shares of capital stock as
 shall from time to time be authorized by the Corporation's Certificate of Incorporation. ·

         Section 2. Shares of Common Stock shall be offered by the Corporation for sale and
 purchase only to a person, firm or Corporation as the Board of Directors shall in its discretion
 deem prudent and in the best interests of the Corporation, all in accordance with law, but only to
 a person, firm or Corporation who or which owns or operates a licensed pharmacy. The
 purchase price and tenns of purchase for any shares of the Corporation's Common Stock issued
 by the Corporation shall be detennined in good faith by the Board of Directors. Subscriptions to
 the capital shall be paid to the Treasurer. Certificates of stock shall be numbered and registered
 in the order in which they are issued, and shall be signed by the President or Vice President and
 by the Treasurer, and the seal of the Corporation shall be affixed thereto.

         Section 3. Transfers of shares of stock shall only be made upon the books of the
 Corporation by the holder in person, or by the holder of a power of attorney duly e'lecuted and
 acknowledged and filed with the Secretary of the Corporation, and on the surrender of the
 certificate of such shares.

         Section 4. Any Voting Common Stock of the Corporation which is owned by (a) a
 Stockholder who does not, as of the date his Voting Common Stock is called for redemption,
 own a licensed pharmacy or (b) a Stockholder who has made from the Corporation during the
 preceding fiscal year no purchases or purchases amounting to less than $500,000 may be called
 for redemption by order of the Board of Directors, at net book value, less any amounts owed by
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 such Stockholder to the Corporation, plus previously declared and unpaid dividends, upon 30
 days written notice mailed to the respective Stockholder. No dividend shall accrue, be declared
 or paid on such called stock subsequent to the expiration of said 30 day period. As used in this
 Article V. Section 4, net book value shall be computed in accordance with generally accepted
 accounting principles and accounting policies (including accounting for inventory) followed by
 the Corporation during the precedi.ng fiscal year> and shall be calculated on the basis of the
 Corporation's balance sheet for the preceding fiscal year. For purposes of detennining net book
 value per share, the number of shares of Voting Common Stock and Non. Voting Common Stock
 outstanding as of the end of such fiscal year shall be used.

         Section 5. If a Stockholder of either Voting Common Stock, Non-Voting Common Stock
 or capitaJ stock (preferred) shall be i~debted to the Corporation, the Board of Directors may


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refuse to consent to the transfer of his stock until such indebtedness is paid. The Corporation
shall have the first right to purchase at net book value (as defined in Section 4 above), less any
amounts owed by such Stockholder to the Corporation, plus any declared and unpaid common
st.o ck dividends thereon, any Voting Common Stock presented for transfer, providing written
notice of the exercise of such right is given to the respective Stockholder within 45 days after
such presentation. The Corporation shall have the first right to purchase at par value, plus any
declared and unpaid preferred stock dividends thereon, any capital stock (preferred) presented
for transfer, providing written notice of the exercise of such right is given to the respective
Stockholder within 45 days after such presentation. Each certificate of stock shall have a copy or
the substance of this section written or printed thereon.


                                            ARTICLE VI

                                        Trading Privileges

        Section l. The Board of Directors, for the purpose of providing adequate funds to conduct
the business of the Corporation, may borrow money upon bonds, certificates of indebtedness,
and notes of the Corporation, and may adopt regulations prescribing the amount of such
obligations which a person must hold in order to purchase goods from the Coiporation in a
prescribed amount.

       Section 2.

        (a) This Corporation must sell goods to Stockholders, subject to such tenns, conditions,
rules and regulations as the Board of Directors may from time to time adopt.

        (b) This Corporation may, in its discretion, seU its goods to any person, firm, or
corporation who or which is not a Stockholder, subject to such tenns, conditions, rules· and
regulations as the Board of Directors may from time to time adopt.

        Section 3.      If any Stockholder or customer shall violate any of these By- Laws or any
rules or regulations of this Corporation, or shall cease to be in good standing, or elect to
discontinue business, bis trading privileges shall immediately cease and terminate, and shall be
restored only by a majority vote of the Board of Directors.


                                           ARTICLE VII

                                          Indemnification

        Section I. To the full extent authorized or pennitted by law, the Corporation shall
indemnify any person made. or threatened to be made, a party to any action or proceeding,
whether civil, at law, in equity, criminal, administrative, investigative or otherwise, including
any action by or in the right of the Corporation, by reason of the fact that he, his testator or
intestate, whether before or after adoption of this Article, is or was a director or officer of the
Corporation, or is serving or served any other corporation, or any partnership, joint venture, trust,
employee benefit plan or other enterprise in any capacity, at the request of the Corporation,
against all judgments fines penalties, amounts paid in settlement (provided the Corporation shaH
BY-LAWS of RDC 6-05 • EXHIBIT F.rtf
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 have consented to such settlement, which consent shall not be unreasonably withhe]d by it} and ·
 reasonable expenses, including attorneys' fees and costs or investigation, incurred by any such
 person with respect to any such threatened or actual action or proceeding, and any appeal therein,
 provided only that (a) acts of such person which were material to the cause of action so
 adjudicated or otherwise disposed ofwere not (i) committed in bad faith or (ii) were not the
 result of active and deliberate dishonesty, and (b) he did not personally gain in fact a financial
 profit or other advantage to which he was not legally entitled.

         Section 2. All expenses reasonably incurred by a person in connection with a threatened
 or actual action or proceeding with respect to which such person is or may be entitled to
 indemnification under this Article ·s hall be advanced or promptly reimbursed by the Corporation
 to him in advance of the final disposition of such action or proceeding, upon receipt of an
 undertaking by him or on his behalf to repay the amount of such advances, if any, as to which he
 is ultimately found not to he entitled to indemnification or, where indemnification is granted, to
 the extent such advances exceed the indemnification to which he is entitled.

         Section 3.

 Not later than thirty (30) days following final disposition of an action or proceeding with respect
 to which the Corporation has received written request by a person for indemnification pursuant
 to this ArticJe, if such indemnification has not been ordered by a court, the Board of Directors
 shall meet and find whether the director or officer met the standard of conduct set forth in
 Section 1 of this Article, and if it finds that be did, or to the extent it so finds~ shaJl authorize
 such indemnification.
         (a) Such standard shall be found to have been met unless (i) a judgment or other final
 adjudication adverse to such person establishes that (A) acts of the director or officer were
 committed in bad faith or were the result of active and deliberate dishonesty and were materia1 to
 the .cause of action so adjudicated, or (B} he personally gained in fact a financial profit or other
 advantage to which he was not legally entitled; or (ii} ifno judgment or other final adjudication
 is obtained, the Board finds in good faith that, if it had been disposed of by judgment or other
 final adjudication, such judgment or other final adjudication would have been adverse to him and
 would have established (A) or (B) above.

         (b) If indemnification is denied because of such a finding by the Board in the absence of
 a judgment or other final adjudication, such action by the Board shall in no way affect the right
 of the person seeking such indemnification to make application therefor in any court having
 jurisdiction thereof, and in such action or proceeding the issue shall be whether the director or
 officer met the standard set forth in Section I, the Board shall then grant such indemnification,
 and shall also grant to the person entitled to such indemnification, indemnification of the
 expenses incurred by him in connection with the action or proceeding resulting in the judgment
 or other final adjudication that such standard of conduct was met.

           (c) A finding by the Board pursuant to this Section that the standard of conduct set forth
   in Section 1 has been met shall mean a finding (i) by a quorum consisting of directors who are
   not parties to such action or proceeding, or, (ii) if such a quorum is not obtainable, or, if
 · obtainable, such a quorum is unable to make such a finding and so directs. (A) by the Board
   upon the written opinion of independent legal counsel that indemnification is proper in the
  circumstance because the applicable standard of conduct has b~ met, or (B) by the

 BY-LAWS ofRDC 6-05 -·EXHIBIT F.nf

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   shareholders upon a finding that such standard has been met, such action by the Board or
   shareholders to be taken as promptly as is practicable.

           Section 4.      This Article shall be deemed to constitute a contract between the
   Corporation and each director and each officer of the Corporation who serves as such at any time
   while this Article is in effect. No repeal or amendment of this Article, insofar as it reduces the
   extent of any director's or officer's right of indemnification, shall without his written consent be
   effective as to such person with respect to any event, act or omission occurring or allegedly
   occurring prior to the end of the term of office (for whatever reason) he is serving as director or
   officer of the Corporation when such repeal or amendment is adopted. No amendment of the
   Business Corporation Law or the Cooperative Corporation Law shall, insofar as it reduces the
   permissible extent of any director's or officer's right of indemnification under this Article, be
   effective as to such.person with respect to any event act or omission occurring or allegedly
   occurring prior to the effective date of ~ch amendment. This Article shall be binding on any
   successor to the Corporation, including any corporation or other entity which acquires all or
   substantially all of the Corporation's assets.

            Section 5.     The Corporation may, but need not, maintain insurance insuring the
   Corporation or persons entitled to indemnification under Section 1 of this article for liabilities
   again.st which they are entitled to indemnification under this Article or insuring such persons for
   liabilities against which ihey are not entitled to indemnification under this Article.

           Section 6.     The indemnification provided by this Article shall not be deemed
   exclusive of any other rights to which a director or officer of the Corporation may be entitled
   other than pursuant to this Article. The Corporation is authorized to enter into agreements with
   any of its directors or officers providing them rights to the provisions therefor in this Article to
   the full extent pennitted by law.


                                              ARTICLEVIIl

                                                    Seal

           The seal of the Corporation shall be in the fonn of a circle and shall bear the following
   inscription "Rochester Drug Co-Operative, Inc.• Incorporated 1948" and such other inscriptions
   as may be authorized by the Board of Directors.




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                                         ARTICLE IX

                                        Amendments

        These By-Laws may be repealed or amended·by the affinnative vote of two-thirds of the
members voting thereon at a meeting held after due written notice setting forth the proposed ·
action and the purpose of the meeting. Such notice shall be given by the Secretary on order of
the Board of Directors or pursuant to resolution adopted at any annual meeting of the
Corporation. A certified copy of such amended By-Laws shall be filed by the Secretary in the
Department of Agriculture and Markets and shall talce effect upon the date of such filing and
copies thereof shal1 be available for the member at the office of the Secretary upon request.




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